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 Fill in this information to identify the case:

 Debtor name                                ASTRALABS Inc

 United States Bankruptcy Court for the:
                                Western District of Texas

 Case number (if known):                23-10164                                                                                      ✔ Check if this is an
                                                                                                                                      ❑
                                                                                                                                         amended filing

Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                               12/15
An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this form for the
schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any amendments of those
documents. This form must state the individual’s position or relationship to the debtor, the identity of the document, and the date. Bankruptcy Rules 1008
and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in connection with
a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



          Declaration and signature

         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another individual
         serving as a representative of the debtor in this case.
         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

         ❑     Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

         ❑     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

         ❑     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

         ❑     Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

         ❑     Schedule H: Codebtors (Official Form 206H)

         ❑     A Summary of Assets and Liabilities for Non-Individuals (Official Form 206A-Summary)

         ✔
         ❑     Amended Schedule Conversion Schedules

         ❑     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

         ❑     Other document that requires a declaration




         I declare under penalty of perjury that the foregoing is true and correct.



         Executed on     07/27/2023
                          MM/ DD/ YYYY
                                                                            ✘ /s/ Nihar Patel
                                                                                Signature of individual signing on behalf of debtor


                                                                                Nihar Patel
                                                                                Printed name


                                                                                Debtor Representative
                                                                                Position or relationship to debtor



Official Form B202                                 Declaration Under Penalty of Perjury for Non-Individual Debtors
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                                                  210
 Fill in this information to identify the case:

 Debtor name                                ASTRALABS Inc

 United States Bankruptcy Court for the:
                                Western District of Texas

 Case number (if known):                23-10164                                                                                   ✔ Check if this is an
                                                                                                                                   ❑
                                                                                                                                      amended filing

Official Form 206A/B
Schedule A/B: Assets — Real and Personal Property                                                                                                               12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include all property in
which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have no book value, such as
fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired leases. Also list them on Schedule G:
Executory Contracts and Unexpired Leases (Official Form 206G).
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write the debtor’s
name and case number (if known). Also identify the form and line number to which the additional information applies. If an additional sheet is attached,
include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset schedule or
depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the debtor’s interest, do not deduct
the value of secured claims. See the instructions to understand the terms used in this form.


 Part 1: Cash and cash equivalents


  1.   Does the debtor have any cash or cash equivalents?
       ❑ No. Go to Part 2.
       ✔ Yes. Fill in the information below.
       ❑
       All cash or cash equivalents owned or controlled by the debtor                                                                  Current value of debtor's
                                                                                                                                       interest

  2.   Cash on hand

  3.   Checking, savings, money market, or financial brokerage accounts (Identify all)
       Name of institution (bank or brokerage firm)             Type of account                  Last 4 digits of account number
       3.1 Pacific Western Bank                                     Checking account                        0177                                   $110,824.23

       Additional Page Total - See continuation page for additional entries                                                                       $310,890.15

  4.   Other cash equivalents (Identify all)
       None

  5.   Total of Part 1
                                                                                                                                                    $421,714.38
       Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.



 Part 2: Deposits and prepayments


  6.   Does the debtor have any deposits or prepayments?
       ❑ No. Go to Part 3.
       ✔ Yes. Fill in the information below.
       ❑
                                                                                                                                       Current value of debtor's
                                                                                                                                       interest
  7.   Deposits, including security deposits and utility deposits
       Description, including name of holder of deposit
       7.1 3423 Holdings, LLC                                                                                                                          $42,000.00




Official Form 206A/B                                        Schedule A/B: Assets — Real and Personal Property                                          page 1
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Debtor        ASTRALABS Inc                                                                                      Case number (if known)            23-10164
             Name


  8.   Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
       Description, including name of holder of prepayment

       None


  9.   Total of Part 2
                                                                                                                                                       $42,000.00
       Add lines 7 through 8 (including amounts on any additional sheets). Copy the total to line 81.



 Part 3: Accounts receivable


  10. Does the debtor have any accounts receivable?
         ❑ No. Go to Part 4.
         ✔ Yes. Fill in the information below.
         ❑

                                                                                                                                          Current value of debtor's
                                                                                                                                          interest

  11. Accounts Receivable

         11a. 90 days old or less:                                      -                                           = ...... ➔
                                     face amount                            doubtful or uncollectible accounts



         11b. Over 90 days old:                    $0.00                -                  $0.00                    = ...... ➔                        $829,650.58
                                     face amount                            doubtful or uncollectible accounts


  12. Total of Part 3
                                                                                                                                                      $829,650.58
         Current value on lines 11a + 11b = line 12. Copy the total to line 82.



 Part 4: Investments


  13. Does the debtor own any investments?
         ❑ No. Go to Part 5.
         ✔ Yes. Fill in the information below.
         ❑

                                                                                                         Valuation method used for        Current value of debtor's
                                                                                                         current value                    interest

  14. Mutual funds or publicly traded stocks not included in Part 1
         Name of fund or stock:

         None


  15. Non-publicly traded stock and interests in incorporated and unincorporated
      businesses, including any interest in an LLC, partnership, or joint venture
         Name of fund or stock:                                                     % of
                                                                                    ownership:
         15.1 8 Myles Inc                                                              2.00%                                                           (Unknown)


         Additional Page Total - See continuation page for additional entries                                                                                 $0.00




Official Form 206A/B                                         Schedule A/B: Assets — Real and Personal Property                                           page 2
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Debtor       ASTRALABS Inc                                                                               Case number (if known)            23-10164
             Name



  16. Government bonds, corporate bonds, and other negotiable and non-negotiable
      instruments not included in Part 1
         Describe:

         16.1 Warrants (4,135)                                                                                                                 (Unknown)


  17. Total of Part 4
                                                                                                                                                      $0.00
         Add lines 14 through 16 (including any additional sheets). Copy the total to line 83.



 Part 5: Inventory, excluding agriculture assets


  18. Does the debtor own any inventory (excluding agriculture assets)?
         ✔ No. Go to Part 6.
         ❑
         ❑ Yes. Fill in the information below.

         General description                                Date of the last        Net book value of   Valuation method used     Current value of debtor's
                                                            physical inventory      debtor's interest   for current value         interest
                                                                                    (Where available)


  19. Raw materials

         None

  20. Work in progress

         None

  21. Finished goods, including goods held for resale

         None

  22. Other inventory or supplies

         None

  23. Total of Part 5
         Add lines 19 through 22 (including any additional sheets). Copy the total to line 84.                                                        $0.00


  24. Is any of the property listed in Part 5 perishable?
         ✔ No
         ❑
         ❑ Yes
  25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
         ✔ No
         ❑
         ❑ Yes
  26. Has any of the property listed in Part 5 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑ Yes


 Part 6: Farming and fishing-related assets (other than titled motor vehicles and land)




Official Form 206A/B                                         Schedule A/B: Assets — Real and Personal Property                                   page 3
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Debtor       ASTRALABS Inc                                                                               Case number (if known)            23-10164
             Name



  27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?
         ✔ No. Go to Part 7.
         ❑
         ❑ Yes. Fill in the information below.

         General description                                                       Net book value of    Valuation method used     Current value of debtor's
                                                                                   debtor's interest    for current value         interest
                                                                                   (Where available)


  28. Crops — either planted or harvested

         None


  29. Farm animals Examples: Livestock, poultry, farm-raised fish

         None


  30. Farm machinery and equipment (Other than titled motor vehicles)

         None

  31. Farm and fishing supplies, chemicals, and feed

         None


  32. Other farming and fishing-related property not already listed in Part 6

         None

  33. Total of Part 6
         Add lines 28 through 32. Copy the total to line 85.                                                                                          $0.00


  34. Is the debtor a member of an agricultural cooperative?
         ✔ No
         ❑
         ❑ Yes. Is any of the debtor's property stored at the cooperative?
             ❑ No
             ❑ Yes

  35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?
         ✔ No
         ❑
         ❑ Yes
  36. Is a depreciation schedule available for any of the property listed in Part 6?
         ✔ No
         ❑
         ❑ Yes
  37. Has any of the property listed in Part 6 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑ Yes


 Part 7: Office furniture, fixtures, and equipment; and collectibles




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Debtor       ASTRALABS Inc                                                                               Case number (if known)            23-10164
             Name



  38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?
         ❑ No. Go to Part 8.
         ✔ Yes. Fill in the information below.
         ❑

         General description                                                       Net book value of    Valuation method used     Current value of debtor's
                                                                                   debtor's interest    for current value         interest
                                                                                   (Where available)


  39. Office furniture

         39.1 Desks (100)                                                                  (Unknown)    Fair Market Value                       $5,000.00


         Additional Page Total - See continuation page for additional entries                                                                   $7,050.00

  40. Office fixtures

         None


  41. Office equipment, including all computer equipment and
      communication systems equipment and software

         41.1 Printer (1)                                                                  (Unknown)    Fair Market Value                          $50.00


         Additional Page Total - See continuation page for additional entries                                                                   $7,500.00

  42. Collectibles Examples: Antiques and figurines; paintings, prints or
      other artwork; books, pictures, or other art objects; china and crystal;
      stamp, coin, or baseball card collections; other collections,
      memorabilia, or collectibles

         None


  43. Total of Part 7
                                                                                                                                               $19,600.00
         Add lines 39 through 42. Copy the total to line 86.

  44. Is a depreciation schedule available for any of the property listed in Part 7?
         ✔ No
         ❑
         ❑ Yes
  45. Has any of the property listed in Part 7 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑ Yes


 Part 8: Machinery, equipment, and vehicles


  46. Does the debtor own or lease any machinery, equipment, or vehicles?
         ✔ No. Go to Part 9.
         ❑
         ❑ Yes. Fill in the information below.
         General description                                                       Net book value of    Valuation method used     Current value of debtor's
         Include year, make, model, and identification numbers (i.e., VIN, HIN,    debtor's interest    for current value         interest
         or N-number)                                                              (Where available)




Official Form 206A/B                                           Schedule A/B: Assets — Real and Personal Property                                 page 5
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Debtor        ASTRALABS Inc                                                                                  Case number (if known)            23-10164
             Name



  47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm
      vehicles

         None


  48. Watercraft, trailers, motors, and related accessories Examples:
      Boats, trailers, motors, floating homes, personal watercraft, and fishing
      vessels

         None


  49. Aircraft and accessories

         None


  50. Other machinery, fixtures, and equipment (excluding farm machinery
      and equipment)

         None


  51. Total of Part 8
                                                                                                                                                          $0.00
         Add lines 47 through 50. Copy the total to line 87.

  52. Is a depreciation schedule available for any of the property listed in Part 8?
         ✔ No
         ❑
         ❑ Yes

  53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑ Yes


 Part 9: Real Property


  54. Does the debtor own or lease any real property?
         ✔ No. Go to Part 10.
         ❑
         ❑ Yes. Fill in the information below.

         General description                                    Nature and extent of Net book value of     Valuation method used      Current value of debtor's
         Include street address or other description such as    debtor's interest in debtor's interest     for current value          interest
         Assessor Parcel Number (APN), and type of property     property             (Where available)
         (for example, acreage, factory, warehouse, apartment
         or office building), if available


  55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has interest

         None


  56. Total of Part 9
                                                                                                                                                          $0.00
         Add the current value on lines 55.1 through 55.3 and entries from any addition sheets. Copy the total to line 88.

  57. Is a depreciation schedule available for any of the property listed in Part 9?
         ✔ No
         ❑
         ❑ Yes
Official Form 206A/B                                            Schedule A/B: Assets — Real and Personal Property                                    page 6
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Debtor       ASTRALABS Inc                                                                               Case number (if known)            23-10164
             Name


  58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑ Yes


 Part 10: Intangibles and Intellectual Property


  59. Does the debtor have any interests in intangibles or intellectual property?
         ❑ No. Go to Part 11.
         ✔ Yes. Fill in the information below.
         ❑

         General description                                                       Net book value of    Valuation method used     Current value of debtor's
                                                                                   debtor's interest    for current value         interest
                                                                                   (Where available)


  60. Patents, copyrights, trademarks, and trade secrets

         None

  61. Internet domain names and websites

         61.1 www.astralabs.com                                                            (Unknown)                                                  $1.00


         Additional Page Total - See continuation page for additional entries                                                                         $1.00

  62. Licenses, franchises, and royalties

         None

  63. Customer lists, mailing lists, or other compilations

         None


  64. Other intangibles, or intellectual property

         None

  65. Goodwill

         None


  66. Total of Part 10
                                                                                                                                                      $2.00
         Add lines 60 through 65. Copy the total to line 89.

  67. Do your lists or records include personally identifiable information of customers? (as defined in 11 U.S.C. §§ 101(41A) and 107)
         ✔ No
         ❑
         ❑ Yes
  68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?
         ✔ No
         ❑
         ❑ Yes
  69. Has any of the property listed in Part 10 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑ Yes

Official Form 206A/B                                           Schedule A/B: Assets — Real and Personal Property                                 page 7
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Debtor        ASTRALABS Inc                                                                              Case number (if known)            23-10164
             Name




 Part 11: All other assets


  70. Does the debtor own any other assets that have not yet been reported on this form?
         ✔ No. Go to Part 12.
         ❑
         ❑ Yes. Fill in the information below.

                                                                                                                                  Current value of debtor's
                                                                                                                                  interest

  71. Notes receivable
         Description (include name of obligor)

         None


  72. Tax refunds and unused net operating losses (NOLs)
         Description (for example, federal, state, local)

         None


  73. Interests in insurance policies or annuities

         None


  74. Causes of action against third parties (whether or not a lawsuit has been filed)

         None


  75. Other contingent and unliquidated claims or causes of action of every nature,
      including counterclaims of the debtor and rights to set off claims

         None


  76. Trusts, equitable or future interests in property

         None


  77. Other property of any kind not already listed Examples: Season tickets,
      country club membership

         None


  78. Total of Part 11
                                                                                                                                                      $0.00
         Add lines 71 through 77. Copy the total to line 90.

  79. Has any of the property listed in Part 11 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑ Yes




Official Form 206A/B                                           Schedule A/B: Assets — Real and Personal Property                                 page 8
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Debtor        ASTRALABS Inc                                                                                                          Case number (if known)            23-10164
              Name


 Part 12: Summary


         Type of property                                                                    Current value of                            Current value
                                                                                             personal property                           of real property


  80. Cash, cash equivalents, and financial assets. Copy line 5,
      Part 1.                                                                                             $421,714.38

  81. Deposits and prepayments. Copy line 9, Part 2.                                                        $42,000.00

  82. Accounts receivable. Copy line 12, Part 3.                                                          $829,650.58

  83. Investments. Copy line 17, Part 4.                                                                              $0.00

  84. Inventory. Copy line 23, Part 5.                                                                                $0.00

  85. Farming and fishing-related assets. Copy line 33, Part 6.                                                       $0.00

  86. Office furniture, fixtures, and equipment; collectibles. Copy
      line 43, Part 7.                                                                                      $19,600.00

  87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                       $0.00


                                                                                                                                ➔                              $0.00
  88. Real property. Copy line 56, Part 9..........................................................................

  89. Intangibles and intellectual property. Copy line 66, Part 10.                                                   $2.00

  90. All other assets. Copy line 78, Part 11.                                          +                             $0.00



  91. Total. Add lines 80 through 90 for each column......                          91a.                $1,312,966.96         + 91b.                           $0.00



                                                                                                                                                                          $1,312,966.96
  92. Total of all property on Schedule A/B. Lines 91a + 91b = 92 .................................................................................................




Official Form 206A/B                                                    Schedule A/B: Assets — Real and Personal Property                                                 page 9
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Debtor       ASTRALABS Inc                                                                             Case number (if known)            23-10164
            Name



          Additional Page


       All cash or cash equivalents owned or controlled by the debtor                                                           Current value of debtor's
                                                                                                                                interest

  3.   Checking, savings, money market, or financial brokerage accounts - Continued
       Name of institution (bank or brokerage firm)        Type of account                  Last 4 digits of account number
       3.2 Pacific Western Bank                                 Checking account                        7932                                   $100.00

       3.3 Pacific Western Bank                                 Checking account                        0060                               $130,438.66

       3.4 SVB                                                  Checking account                        5517                                   $341.49

       3.5 Pacific Western Bank                                 Checking account                        8056                               $180,010.00


                                                                                                  Valuation method used for     Current value of debtor's
                                                                                                  current value                 interest

  15. Non-publicly traded stock and interests in incorporated and unincorporated
      businesses, including any interest in an LLC, partnership, or joint venture - Continued
         Name of fund or stock:                                              % of
                                                                             ownership:
         15.2 FYNCR Inc.                                                        2.00%                                                        (Unknown)

              Joule Case II EB (THE "SPV") a series of Wefunder SPV,
         15.3 LLC                                                               2.00%                                                        (Unknown)

         15.4 Ponto LLC                                                         2.00%                                                        (Unknown)

         15.5 Ruben Oliver LLC                                                  2.00%                                                        (Unknown)

         15.6 SuperPhone                                                        2.00%                                                        (Unknown)

         15.7 Univoice Corporation                                              2.00%                                                        (Unknown)

         15.8 Vitality RX                                                       2.00%                                                        (Unknown)

         15.9 Watershed Medical, Inc.                                           2.00%                                                        (Unknown)

         15.10 Kingscrowd Shares (2,167,610                                     100.00%                                                      (Unknown)


         General description                                                  Net book value of      Valuation method used      Current value of debtor's
                                                                              debtor's interest      for current value          interest
                                                                              (Where available)

  39. Office furniture - Continued
         39.2 Chairs (100)                                                              (Unknown)     Fair Market Value                       $4,500.00

         39.3 Filing Cabinets (5)                                                       (Unknown)     Fair Market Value                          $50.00

         39.4 Tables (10)                                                               (Unknown)     Fair Market Value                       $2,500.00

  41. Office equipment - Continued
         41.2 Monitors (150)                                                            (Unknown)     Fair Market Value                       $7,500.00

         General description                                                  Net book value of      Valuation method used      Current value of debtor's
                                                                              debtor's interest      for current value          interest
                                                                              (Where available)

  61. Internet domain names and websites - Continued
         61.2 https://newchip.com/                                                      (Unknown)     Fair Market Value                             $1.00




Official Form 206A/B                                    Schedule A/B: Assets — Real and Personal Property                                    page 10
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 Fill in this information to identify the case:

     Debtor name     ASTRALABS Inc

     United States Bankruptcy Court for the:                 Western                 District of             Texas
                                                                                                   (State)
     Case number (if known):      23-10164                                                                                                           ✔ Check if this is an
                                                                                                                                                     ❑
                                                                                                                                                          amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                  12/15

Be as complete and accurate as possible.

1.     Do any creditors have claims secured by debtor’s property?
       ❑ No. Check this box and submit page 1 of this form to the court with debtor’s other schedules. Debtor has nothing else to report on this form.
       ✔ Yes. Fill in all of the information below.
       ❑
     Part 1:        List Creditors Who Have Secured Claims

 2.     List in alphabetical order all creditors who have secured claims. If a creditor has more                           Column A                        Column B
        than one secured claim, list the creditor separately for each claim.                                               Amount of claim                 Value of collateral
                                                                                                                           Do not deduct the value         that supports this
                                                                                                                           of collateral.                  claim

2.1 Creditor’s name                                          Describe debtor’s property that is subject to a
                                                             lien                                                                           $663,000.00              unknown
         Apex Funding Source, LLC

        Creditor’s mailing address
         3050 Biscayne Blvd Suite 502
         Miami, FL 33137
                                                             Describe the lien
        Creditor’s email address, if known                   Merchant Cash Advance

                                                             Is the creditor an insider or related party?
        Date debt was                    1/26/2023           ✔ No
                                                             ❑
        incurred
                                                             ❑ Yes
        Last 4 digits of                                     Is anyone else liable on this claim?
        account
        number
                                                             ❑ No
                                                             ✔ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                                                             ❑
        Do multiple creditors have an interest
        in the same property?                  As of the petition filing date, the claim is:

        ✔ No
                                                             Check all that apply.
        ❑
        ❑ Yes. Specify each creditor, including this         ❑ Contingent
                 creditor, and its relative priority.        ❑ Unliquidated
                                                             ✔ Disputed
                                                             ❑




 3.     Total of the dollar amounts from Part 1, Column A, including the amounts from the                                             $1,898,224.25
        Additional
        Page, if any.


Official Form 206D                                      Schedule D: Creditors Who Have Claims Secured by Property                                                 page 1 of 3
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Debtor      ASTRALABS Inc                                                                          Case number (if known) 23-10164
           Name




  Part 1:         Additional Page                                                                                   Column A                       Column B
                                                                                                                    Amount of claim                Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially
                                                                                                                    Do not deduct the value        that supports this
 from the
                                                                                                                    of collateral.                 claim
 previous page.

2.2 Creditor’s name                                   Describe debtor’s property that is subject to a
                                                      lien                                                                           $715,823.00            unknown
      Iruka Capital

     Creditor’s mailing address
      162 Elmora Ave #211
      Elizabeth, NJ 07202
                                                      Describe the lien
     Creditor’s email address, if known               Merchant Cash Advance

                                                      Is the creditor an insider or related party?
     Date debt was                                    ✔ No
                                                      ❑
     incurred
                                                      ❑ Yes
     Last 4 digits of                                 Is anyone else liable on this claim?
     account
     number
                                                      ❑ No
                                                      ✔ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                                                      ❑
     Do multiple creditors have an interest
     in the same property?                  As of the petition filing date, the claim is:

     ✔ No
                                                      Check all that apply.
     ❑
     ❑ Yes. Have you already specified the            ❑ Contingent
               relative priority?                     ❑ Unliquidated
          ❑ No. Specify each creditor, including      ✔ Disputed
                                                      ❑
                   this creditor, and its relative
                   priority.



          ❑ Yes. The relative priority of creditors
                   is specified on lines




Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                   page 2 of 3
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Debtor      ASTRALABS Inc                                                                          Case number (if known) 23-10164
           Name




  Part 1:         Additional Page                                                                                   Column A                       Column B
                                                                                                                    Amount of claim                Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially
                                                                                                                    Do not deduct the value        that supports this
 from the
                                                                                                                    of collateral.                 claim
 previous page.

2.3 Creditor’s name                                   Describe debtor’s property that is subject to a
                                                      lien                                                                           $519,401.25            unknown
      U.S. Small Business Administration

     Creditor’s mailing address
      200 W. Santa Ana Blvd 740
      Santa Ana, CA 92701
                                                      Describe the lien
     Creditor’s email address, if known               Secured SBA loan

                                                      Is the creditor an insider or related party?
     Date debt was                                    ✔ No
                                                      ❑
     incurred
                                                      ❑ Yes
     Last 4 digits of                                 Is anyone else liable on this claim?
     account
                                                      ✔ No
                                                      ❑
     number
                                                      ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     Do multiple creditors have an interest
     in the same property?                  As of the petition filing date, the claim is:

     ✔ No
                                                      Check all that apply.
     ❑
     ❑ Yes. Have you already specified the            ❑ Contingent
               relative priority?                     ❑ Unliquidated
          ❑ No. Specify each creditor, including      ❑ Disputed
                   this creditor, and its relative
                   priority.



          ❑ Yes. The relative priority of creditors
                   is specified on lines




Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                   page 3 of 3
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 Fill in this information to identify the case:

 Debtor name                                ASTRALABS Inc

 United States Bankruptcy Court for the:
                                Western District of Texas

 Case number (if known):                23-10164                                                                                   ✔ Check if this is an
                                                                                                                                   ❑
                                                                                                                                      amended filing

Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                             12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured
claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets
- Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases(Official Form 206G). Number the entries
in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1: List All Creditors with PRIORITY Unsecured Claims

  1.    Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507)
        ❑ No. Go to Part 2.
        ✔ Yes. Go to line 2.
        ❑
 2.    List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
       with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                              Total claim                  Priority amount

2.1 Priority creditor’s name and mailing address             As of the petition filing date, the claim is:    $97.17                        $97.17
                                                             Check all that apply.
       Massachusetts Department of Revenue
                                                             ❑ Contingent
       PO Box 7090                                           ❑ Unliquidated
       Boston, MA 02204-7090
                                                             ❑ Disputed
                                                             Basis for the Claim:
       Date or dates debt was incurred


                                                             Is the claim subject to offset?
       Last 4 digits of account                              ✔ No
                                                             ❑
       number                                                ❑ Yes
       Specify Code subsection of PRIORITY unsecured
       claim: 11 U.S.C. § 507(a) (8)
       Priority creditor’s name and mailing address          As of the petition filing date, the claim is:
2.2                                                          Check all that apply.
                                                             ❑ Contingent
                                                             ❑ Unliquidated
                                                             ❑ Disputed
                                                             Basis for the claim:
       Date or dates debt was incurred


                                                             Is the claim subject to offset?
       Last 4 digits of account
                                                             ❑ No
       number
                                                             ❑ Yes
       Specify Code subsection of PRIORITY unsecured
       claim: 11 U.S.C. § 507(a)




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             Name

 Part 2: List All Creditors with NONPRIORITY Unsecured Claims

  3.     List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured
         claims, fill out and attach the Additional Page of Part 2.
                                                                                                                                       Amount of claim

3.1 Nonpriority creditor’s name and mailing address                         As of the petition filing date, the claim is:              $304,000.00
                                                                            Check all that apply.
       1000 Solano Drive
                                                                            ❑ Contingent
       1000 Solano Drive                                                    ❑ Unliquidated
                                                                            ❑ Disputed
       Austin, TX 78750
                                                                            Basis for the claim: Employee
                                                                            Is the claim subject to offset?
       Date or dates debt was incurred                                      ✔ No
                                                                            ❑
       Last 4 digits of account number
                                                                            ❑ Yes

3.2 Nonpriority creditor’s name and mailing address                         As of the petition filing date, the claim is:              $8,000.00
                                                                            Check all that apply.
       2938 Westlake Cove Dr
                                                                            ❑ Contingent
       2938 Westlake Cove Dr                                                ❑ Unliquidated
                                                                            ❑ Disputed
       Austin, TX 78746
                                                                            Basis for the claim: Investor Note
                                                                            Is the claim subject to offset?
       Date or dates debt was incurred                                      ✔ No
                                                                            ❑
       Last 4 digits of account number
                                                                            ❑ Yes

3.3 Nonpriority creditor’s name and mailing address                         As of the petition filing date, the claim is:              $8,000.00
                                                                            Check all that apply.
       360X Music AG
                                                                            ❑ Contingent
       Revaler Strasse 99                                                   ❑ Unliquidated
                                                                            ❑ Disputed
       10245 Berlin, Germany,
                                                                            Basis for the claim: Investor Note
                                                                            Is the claim subject to offset?
       Date or dates debt was incurred                                      ✔ No
                                                                            ❑
       Last 4 digits of account number
                                                                            ❑ Yes

       Nonpriority creditor’s name and mailing address                      As of the petition filing date, the claim is:              $7,500.00
3.4                                                                         Check all that apply.
       3Common Inc.
                                                                            ❑ Contingent
       46 Sunset Blvd                                                       ❑ Unliquidated
       Winnipeg, Manitoba                                                   ❑ Disputed
       Canada, R2M0X4                                                       Basis for the claim: Investor Note
                                                                            Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
                                                                            ❑ Yes

       Date or dates debt was incurred

       Last 4 digits of account number




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           Name




 Part 2: Additional Page

3.5 Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $420.00
                                                                       Check all that apply.
      Aaron William Naft
                                                                       ❑ Contingent
      4306 N Quinlan Park Road Apt 3201                                ❑ Unliquidated
                                                                       ❑ Disputed
      Austin, TX 78732
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
      Date or dates debt was incurred                                  ✔ No
                                                                       ❑
      Last 4 digits of account number
                                                                       ❑ Yes

3.6 Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $1,666.66
                                                                       Check all that apply.
      Abdelkader Hamdoune
                                                                       ❑ Contingent
      373 Belmont Street #4                                            ❑ Unliquidated
                                                                       ❑ Disputed
      Oakland, CA 94610
                                                                       Basis for the claim:
                                                                       Is the claim subject to offset?
      Date or dates debt was incurred                                  ✔ No
                                                                       ❑
      Last 4 digits of account number
                                                                       ❑ Yes

3.7 Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $10,800.00
                                                                       Check all that apply.
      ActivArmor
                                                                       ❑ Contingent
      2828 Granada Blvd                                                ❑ Unliquidated
                                                                       ❑ Disputed
      Pueblo, CO 81005
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
      Date or dates debt was incurred                                  ✔ No
                                                                       ❑
      Last 4 digits of account number
                                                                       ❑ Yes

      Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:              $10,000.00
3.8                                                                    Check all that apply.
      Adam Perlman
                                                                       ❑ Contingent
      220 North Wind Ct                                                ❑ Unliquidated
                                                                       ❑ Disputed
      Ponte Vedra Beach, FL 32082
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
      Date or dates debt was incurred                                  ✔ No
                                                                       ❑
      Last 4 digits of account number
                                                                       ❑ Yes




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             Name




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3.9      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:              $7,500.00
                                                                       Check all that apply.
         Adam Yoke
                                                                       ❑ Contingent
         1541 Ford Avenue                                              ❑ Unliquidated
                                                                       ❑ Disputed
         Redondo Beach, CA 90278
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.10 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $3,750.00
                                                                       Check all that apply.
         Addison Jacoby
                                                                       ❑ Contingent
         1011 E 5th Street unit 1526                                   ❑ Unliquidated
                                                                       ❑ Disputed
         Austin, TX 78702
                                                                       Basis for the claim:
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.11 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $270.00
                                                                       Check all that apply.
         Adrianna Bertoia
                                                                       ❑ Contingent
         4701 Walnut Street                                            ❑ Unliquidated
                                                                       ❑ Disputed
         Oakland, CA 94619
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:              $8,000.00
3.12                                                                   Check all that apply.
         Adventureland Toy Emporium LLC
                                                                       ❑ Contingent
         1344 Carroll Ave                                              ❑ Unliquidated
                                                                       ❑ Disputed
         Los Angeles, CA 90026
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes




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3.13 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $12,056.00
                                                                       Check all that apply.
         Adwait Muthal
                                                                       ❑ Contingent
         7 Wainwright Rd Unit 80                                       ❑ Unliquidated
                                                                       ❑ Disputed
         Winchester, MA 01890-2381
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/11/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.14 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $8,000.00
                                                                       Check all that apply.
         AiDLT Global Limited
                                                                       ❑ Contingent
         30 Dredge Court                                               ❑ Unliquidated
                                                                       ❑ Disputed
         Milton, Ontario, Canada L9T8T1,
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.15 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $8,000.00
                                                                       Check all that apply.
         AKA Exchange Ltd.
                                                                       ❑ Contingent
         9 Rue de Maupertuis                                           ❑ Unliquidated
         St Clement                                                    ❑ Disputed
         JE2 6NG                                                       Basis for the claim: Investor Note
         United Kingdom
                                                                       Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
                                                                       ❑ Yes


         Date or dates debt was incurred

         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:              $10,000.00
3.16                                                                   Check all that apply.
         Albert Balady
                                                                       ❑ Contingent
         208 Ackerman Ave                                              ❑ Unliquidated
                                                                       ❑ Disputed
         Ho Ho Kus, NJ 07423-1006
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/18/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number




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             Name




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3.17 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $1,500.00
                                                                       Check all that apply.
         Aldo de Jong
                                                                       ❑ Contingent
         299 Glenalake Ave #2301                                       ❑ Unliquidated
                                                                       ❑ Disputed
         Toronto, ON M6P4A6 Canada,
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.18 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $2,000.00
                                                                       Check all that apply.
         Alexander Clarence McIntosh
                                                                       ❑ Contingent
         1047 East Spazier Ave. Apt. # L                               ❑ Unliquidated
                                                                       ❑ Disputed
         Burbank, CA 91502
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/12/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.19 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $6,000.00
                                                                       Check all that apply.
         Alexander Monsell
                                                                       ❑ Contingent
         4489 E Florida Ave                                            ❑ Unliquidated
                                                                       ❑ Disputed
         Denver, CO 80222
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:              $7,410.80
3.20                                                                   Check all that apply.
         Alexander Seery
                                                                       ❑ Contingent
         925 Rolfe Place                                               ❑ Unliquidated
                                                                       ❑ Disputed
         Alexandria, VA 22314
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/31/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number




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             Name




 Part 2: Additional Page

3.21 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $18,660.00
                                                                       Check all that apply.
         Alexander Seery
                                                                       ❑ Contingent
         925 Rolfe Place                                               ❑ Unliquidated
                                                                       ❑ Disputed
         Alexandria, VA 22314
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.22 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $1,000.00
                                                                       Check all that apply.
         Alexandra Cherwa aka Jonathan Cherwa
                                                                       ❑ Contingent
         15907 91st Ave Ct E                                           ❑ Unliquidated
                                                                       ❑ Disputed
         Puyallup, WA 98375
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/11/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.23 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $2,500.00
                                                                       Check all that apply.
         Alexandre Sylvestre
                                                                       ❑ Contingent
         609 Tower Dr.                                                 ❑ Unliquidated
                                                                       ❑ Disputed
         Edgewater, NJ 07020
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/31/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:              $8,000.00
3.24                                                                   Check all that apply.
         Alijah Pacina
                                                                       ❑ Contingent
         3216 Lasker Avenue                                            ❑ Unliquidated
                                                                       ❑ Disputed
         Waco, TX 76707
                                                                       Basis for the claim: Services Performed
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes




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 Part 2: Additional Page

3.25 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $7,500.00
                                                                       Check all that apply.
         Alladin Ammouri
                                                                       ❑ Contingent
         2445 Avis Street                                              ❑ Unliquidated
                                                                       ❑ Disputed
         Mesquite, TX 75149
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.26 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $4,000.00
                                                                       Check all that apply.
         Altelium Ltd
                                                                       ❑ Contingent
         Office 4, Perch Studios, Wesley Lane                          ❑ Unliquidated
         Bicester, United Kingdom, OX26 6JU                            ❑ Disputed
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number

3.27 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $12,000.00
                                                                       Check all that apply.
         Alyve Medical Inc
                                                                       ❑ Contingent
         600 S Cherry Street Suite 115                                 ❑ Unliquidated
                                                                       ❑ Disputed
         Denver, CO 80246
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:              $12,000.00
3.28                                                                   Check all that apply.
         Amalfi Jets Inc.
                                                                       ❑ Contingent
         30851 Agoura Road Suite 305                                   ❑ Unliquidated
                                                                       ❑ Disputed
         Agoura Hills, CA 91301
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes




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 Part 2: Additional Page

3.29 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $11,150.00
                                                                       Check all that apply.
         Andrew Maniaci
                                                                       ❑ Contingent
         3905 Black Granite Drive                                      ❑ Unliquidated
                                                                       ❑ Disputed
         Austin, TX 78744
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.30 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $10,000.00
                                                                       Check all that apply.
         Andrew Ryan
                                                                       ❑ Contingent
         c/o Ron Satija                                                ❑ Unliquidated
         Hayward PLLC                                                  ❑ Disputed
         7600 Burnet Rd Suite 530                                      Basis for the claim:
                                                                       Is the claim subject to offset?
         Austin, TX 78757                                              ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number

3.31 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $17,500.00
                                                                       Check all that apply.
         Andromeda360
                                                                       ❑ Contingent
         6001 W Parmer Lane Suite 370 897                              ❑ Unliquidated
                                                                       ❑ Disputed
         Austin, TX 78727
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:              $1,000.00
3.32                                                                   Check all that apply.
         Angel Johnson
                                                                       ❑ Contingent
         2220 Leesborough Drive                                        ❑ Unliquidated
                                                                       ❑ Disputed
         Silver Spring, MD 20902
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes




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3.33 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $2,000.00
                                                                       Check all that apply.
         Anthony Eseau Flores Kuffo
                                                                       ❑ Contingent
         91 Red River Street                                           ❑ Unliquidated
                                                                       ❑ Disputed
         Austin, TX 78701
                                                                       Basis for the claim: Wage Claim
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.34 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $10,000.00
                                                                       Check all that apply.
         Anthony Runnels
                                                                       ❑ Contingent
         12024 Rock Creek Ct.                                          ❑ Unliquidated
                                                                       ❑ Disputed
         Hawthorne, CA 90250
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/18/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.35 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $10,000.00
                                                                       Check all that apply.
         Anthony Runnels
                                                                       ❑ Contingent
         12024 Rock Creek Ct.                                          ❑ Unliquidated
                                                                       ❑ Disputed
         Hawthorne, CA 90250
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:              $30,000.00
3.36                                                                   Check all that apply.
         Anthony Veloso
                                                                       ❑ Contingent
         730 Mason Road                                                ❑ Unliquidated
                                                                       ❑ Disputed
         Jefferson, MA 01522
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/26/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number




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3.37 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $5,000.00
                                                                       Check all that apply.
         Antonello Loddo
                                                                       ❑ Contingent
         205 Ridge Ave                                                 ❑ Unliquidated
                                                                       ❑ Disputed
         Gettysburg, PA 17325
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/26/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.38 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $10,000.00
                                                                       Check all that apply.
         Anu Santhanagopal
                                                                       ❑ Contingent
         12 Brittany Way                                               ❑ Unliquidated
                                                                       ❑ Disputed
         Kendall Park, NJ 08824
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/31/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.39 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $1,000.00
                                                                       Check all that apply.
         Anuj Jain aka Anmol Jain
                                                                       ❑ Contingent
         620 W 42n ST Apt S06G                                         ❑ Unliquidated
                                                                       ❑ Disputed
         New York, NY 10036
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/15/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:              $10,680.88
3.40                                                                   Check all that apply.
         Aramark Refreshments Services, LLC
                                                                       ❑ Contingent
         Attn: Hawley Troxell Ennis & Hawley LLP                       ❑ Unliquidated
                                                                       ❑ Disputed
         PO Box 1617                                                   Basis for the claim:
         Boise, ID 83701                                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number




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3.41 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $20,000.00
                                                                       Check all that apply.
         Archilyse AG
                                                                       ❑ Contingent
         c/o Matthias Standfest                                        ❑ Unliquidated
                                                                       ❑ Disputed
         Flelastrasse 31B                                              Basis for the claim: Investor Note
         8047 Zurich, Switzerland ,                                    Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number

3.42 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              unknown
                                                                       Check all that apply.
         Arianna Violante
                                                                       ❑ Contingent
         7203 Bassett Court                                            ❑ Unliquidated
                                                                       ❑ Disputed
         Austin, TX 78704
                                                                       Basis for the claim: Wage Claim
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.43 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              unknown
                                                                       Check all that apply.
         Arik Paran
                                                                       ❑ Contingent
         866 Helena Dr.                                                ❑ Unliquidated
                                                                       ❑ Disputed
         Sunnyvale, CA 94087
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:              $9,000.00
3.44                                                                   Check all that apply.
         Arturo Benedicto Llano
                                                                       ❑ Contingent
         10 Juan Luna, UP Campus                                       ❑ Unliquidated
                                                                       ❑ Disputed
         Diliman, Quezon City, Philippines 1101-00,
                                                                       Basis for the claim:
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes




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3.45 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $9,000.00
                                                                       Check all that apply.
         Arturo Benedicto M. Llano
                                                                       ❑ Contingent
         10 Juan Luna, UP Campus,                                      ❑ Unliquidated
         Diliman, Quezon City,                                         ❑ Disputed
         Metro Manila                                                  Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
                                                                       ❑ Yes

         Date or dates debt was incurred      08/16/2022

         Last 4 digits of account number

3.46 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $1,000.00
                                                                       Check all that apply.
         Arun Kotte
                                                                       ❑ Contingent
         3905 Idlebrook Drive                                          ❑ Unliquidated
                                                                       ❑ Disputed
         Frisco, TX 75034
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.47 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $4,253.96
                                                                       Check all that apply.
         Astralabs Inc
                                                                       ❑ Contingent
         979 Springdale Rd.                                            ❑ Unliquidated
         Suite #123                                                    ❑ Disputed
                                                                       Basis for the claim: Investor Note
         979 Springdale Rd. Suite #123
                                                                       Is the claim subject to offset?
         Austin, TX 78723                                              ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:              $20,000.00
3.48                                                                   Check all that apply.
         Astralabs Inc
                                                                       ❑ Contingent
         979 Springdale Rd.                                            ❑ Unliquidated
         Suite #123                                                    ❑ Disputed
                                                                       Basis for the claim: engagement fee
         979 Springdale Rd. Suite #123
                                                                       Is the claim subject to offset?
         Austin, TX 78723                                              ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number




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3.49 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $15,000.00
                                                                       Check all that apply.
         Astralabs Inc
                                                                       ❑ Contingent
         979 Springdale Rd.                                            ❑ Unliquidated
         Suite #123                                                    ❑ Disputed
                                                                       Basis for the claim: Investor Note
         979 Springdale Rd. Suite #123
                                                                       Is the claim subject to offset?
         Austin, TX 78723                                              ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number

3.50 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $6,000.00
                                                                       Check all that apply.
         Astralabs Inc
                                                                       ❑ Contingent
         979 Springdale Rd.                                            ❑ Unliquidated
         Suite #123                                                    ❑ Disputed
                                                                       Basis for the claim: Investor Note
         979 Springdale Rd. Suite #123
                                                                       Is the claim subject to offset?
         Austin, TX 78723                                              ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number

3.51 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $7,500.00
                                                                       Check all that apply.
         Astralabs Inc
                                                                       ❑ Contingent
         979 Springdale Rd.                                            ❑ Unliquidated
         Suite #123                                                    ❑ Disputed
                                                                       Basis for the claim: Investor Note
         979 Springdale Rd. Suite #123
                                                                       Is the claim subject to offset?
         Austin, TX 78723                                              ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:              $6,000.00
3.52                                                                   Check all that apply.
         Astralabs Inc
                                                                       ❑ Contingent
         979 Springdale Rd. Suite #123                                 ❑ Unliquidated
                                                                       ❑ Disputed
         Austin, TX 78723
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes




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3.53 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $4,000.00
                                                                       Check all that apply.
         Astralabs Inc
                                                                       ❑ Contingent
         979 Springdale Rd. Suite #123                                 ❑ Unliquidated
                                                                       ❑ Disputed
         Austin, TX 78723
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.54 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $6,000.00
                                                                       Check all that apply.
         Astralabs Inc
                                                                       ❑ Contingent
         979 Springdale Rd. Suite #123                                 ❑ Unliquidated
                                                                       ❑ Disputed
         Austin, TX 78723
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.55 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $5,000,000.00
                                                                       Check all that apply.
         Astralabs Inc
                                                                       ❑ Contingent
         979 Springdale Rd. Suite #123                                 ❑ Unliquidated
                                                                       ❑ Disputed
         Austin, TX 78723
                                                                       Basis for the claim: Investments
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:              $6,000.00
3.56                                                                   Check all that apply.
         Astralabs Inc
                                                                       ❑ Contingent
         979 Springdale Rd.                                            ❑ Unliquidated
         Suite #123                                                    ❑ Disputed
         979 Springdale Rd. Suite #123                                 Basis for the claim:
                                                                       Is the claim subject to offset?
         Austin, TX 78723                                              ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number




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3.57 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $522,150.00
                                                                       Check all that apply.
         Astralabs Inc
                                                                       ❑ Contingent
         979 Springdale Rd.                                            ❑ Unliquidated
         Suite #123                                                    ❑ Disputed
                                                                       Basis for the claim: Money Loaned
         979 Springdale Rd. Suite #123
                                                                       Is the claim subject to offset?
         Austin, TX 78723                                              ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number

3.58 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $5,000,000.00
                                                                       Check all that apply.
         Astralabs Inc
                                                                       ❑ Contingent
         979 Springdale Rd.                                            ❑ Unliquidated
         Suite #123                                                    ❑ Disputed
         979 Springdale Rd. Suite #123                                 Basis for the claim:
                                                                       Is the claim subject to offset?
         Austin, TX 78723                                              ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number

3.59 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $1,090.00
                                                                       Check all that apply.
         Astralabs Inc
                                                                       ❑ Contingent
         979 Springdale Rd.                                            ❑ Unliquidated
         Suite #123                                                    ❑ Disputed
         979 Springdale Rd. Suite #123                                 Basis for the claim:
                                                                       Is the claim subject to offset?
         Austin, TX 78723                                              ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:              $110.00
3.60                                                                   Check all that apply.
         Astralabs Inc
                                                                       ❑ Contingent
         979 Springdale Rd. Suite #123                                 ❑ Unliquidated
                                                                       ❑ Disputed
         Austin, TX 78723
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes




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3.61 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $5,527.50
                                                                       Check all that apply.
         Astralabs Inc
                                                                       ❑ Contingent
         979 Springdale Rd. Suite #123                                 ❑ Unliquidated
                                                                       ❑ Disputed
         Austin, TX 78723
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.62 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $7,000.00
                                                                       Check all that apply.
         Astralabs Inc
                                                                       ❑ Contingent
         979 Springdale Rd.                                            ❑ Unliquidated
         Suite #123                                                    ❑ Disputed
         979 Springdale Rd. Suite #123                                 Basis for the claim:
                                                                       Is the claim subject to offset?
         Austin, TX 78723                                              ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number

3.63 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $6,000.00
                                                                       Check all that apply.
         Athletes to Athletes
                                                                       ❑ Contingent
         c/o The Lott Firm, PLLC                                       ❑ Unliquidated
                                                                       ❑ Disputed
         501 Congress Ave Suite 150                                    Basis for the claim: Refund
         Austin, TX 78701                                              Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:              $5,500.00
3.64                                                                   Check all that apply.
         Austin Crowder
                                                                       ❑ Contingent
         1200 Treadwell Street Apt 219                                 ❑ Unliquidated
                                                                       ❑ Disputed
         Austin, TX 78704
                                                                       Basis for the claim: Wage Claim
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
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                                                                       ❑ Yes




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3.65 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $7,000.00
                                                                       Check all that apply.
         Austin Lortie
                                                                       ❑ Contingent
         11978 Sunshine Park Drive N                                   ❑ Unliquidated
                                                                       ❑ Disputed
         Willis, TX 77318
                                                                       Basis for the claim:
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.66 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $10,000.00
                                                                       Check all that apply.
         Avinash Reddy Desireddy
                                                                       ❑ Contingent
         16304 FM 1325 APT 7315                                        ❑ Unliquidated
                                                                       ❑ Disputed
         Austin, TX 78728
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/25/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.67 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $2,500.00
                                                                       Check all that apply.
         Baiping Guo
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
                                                                       ❑ Disputed
         8 Mooney Street                                               Basis for the claim: Rev. Share Note
                                                                       Is the claim subject to offset?
                                                                       ✔ No
         Lane Cove North NSW 2066 Australia,
                                                                       ❑
                                                                       ❑ Yes
         Date or dates debt was incurred

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         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:              $2,500.00
3.68                                                                   Check all that apply.
         Baiping Guo
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
                                                                       ❑ Disputed
         8 Mooney Street                                               Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
                                                                       ✔ No
         Lane Cove North NSW 2066 Australia,
                                                                       ❑
                                                                       ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number




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3.69 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              unknown
                                                                       Check all that apply.
         Beau Horner
                                                                       ❑ Contingent
         12604 Duckcreek Ct.                                           ❑ Unliquidated
                                                                       ❑ Disputed
         Austin, TX 78729
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.70 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $11,500.00
                                                                       Check all that apply.
         Belofte International Inc
                                                                       ❑ Contingent
         27 Altamawr Avenue                                            ❑ Unliquidated
                                                                       ❑ Disputed
         Lawrence Township, NJ 08648
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.71 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $497.75
                                                                       Check all that apply.
         Benjamin Slack
                                                                       ❑ Contingent
         6289 Riverstone Dr                                            ❑ Unliquidated
                                                                       ❑ Disputed
         Columbus, OH 43228
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:              $0.00
3.72                                                                   Check all that apply.
         Benjamin Slack
                                                                       ❑ Contingent
         6289 Riverstone Dr                                            ❑ Unliquidated
                                                                       ❑ Disputed
         Columbus, OH 43228
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes




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3.73 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $5,000.00
                                                                       Check all that apply.
         Billy Jack Linsley
                                                                       ❑ Contingent
         16 Bodine Street                                              ❑ Unliquidated
                                                                       ❑ Disputed
         Wellsboro, PA 16901
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/16/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.74 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $12,000.00
                                                                       Check all that apply.
         Bonne et Filou Inc
                                                                       ❑ Contingent
         1178 Broadway 3rd Floor #1390                                 ❑ Unliquidated
                                                                       ❑ Disputed
         New York, NY 10001
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.75 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $2,000.00
                                                                       Check all that apply.
         Bradford Chan
                                                                       ❑ Contingent
         2540 Wexford Ave.                                             ❑ Unliquidated
                                                                       ❑ Disputed
         South San Francisco, CA 94080
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/18/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:              $30,000.00
3.76                                                                   Check all that apply.
         Bradley G Kessler / Kessler Realty Holdings Inc.
                                                                       ❑ Contingent
         1621 Northland Ave                                            ❑ Unliquidated
                                                                       ❑ Disputed
         Lakewood, OH 44107
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      09/05/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number




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3.77 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $5,000.00
                                                                       Check all that apply.
         Bradley Robertson
                                                                       ❑ Contingent
         550 Oak Grove Ave. Unit 122                                   ❑ Unliquidated
                                                                       ❑ Disputed
         Menlo Park, CA 94025
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/23/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.78 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $5,000.00
                                                                       Check all that apply.
         Bradley Robertson
                                                                       ❑ Contingent
         550 Oak Grove Ave. Unit 122                                   ❑ Unliquidated
                                                                       ❑ Disputed
         Menlo Park, CA 94025
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      11/10/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.79 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              unknown
                                                                       Check all that apply.
         Brandon Greenburg
                                                                       ❑ Contingent
         865 West End Avenue 5E                                        ❑ Unliquidated
                                                                       ❑ Disputed
         New York, NY 10025
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:              $2,999.00
3.80                                                                   Check all that apply.
         Brian Klick
                                                                       ❑ Contingent
         15010 Whitetail Way                                           ❑ Unliquidated
                                                                       ❑ Disputed
         Gaithersburg, MD 20878
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes




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3.81 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $1,790.00
                                                                       Check all that apply.
         Brian Lee
                                                                       ❑ Contingent
         3760 N Fremont Unit 1                                         ❑ Unliquidated
                                                                       ❑ Disputed
         Chicago, IL 60613
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.82 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $323,416.00
                                                                       Check all that apply.
         Brian Lee
                                                                       ❑ Contingent
         3760 N Fremont Unit 1                                         ❑ Unliquidated
                                                                       ❑ Disputed
         Chicago, IL 60613
                                                                       Basis for the claim:
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.83 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $0.00
                                                                       Check all that apply.
         Bruce Masterson
                                                                       ❑ Contingent
         944 Enfield                                                   ❑ Unliquidated
                                                                       ❑ Disputed
         Northbrook, IL 60062
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:              $8,098.29
3.84                                                                   Check all that apply.
         Bryan Finks
                                                                       ❑ Contingent
         4011 Briones Street                                           ❑ Unliquidated
                                                                       ❑ Disputed
         Austin, TX 78723
                                                                       Basis for the claim:
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes




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3.85 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $1,427,972.16
                                                                       Check all that apply.
         Bryan Finks
                                                                       ❑ Contingent
         4011 Briones Street                                           ❑ Unliquidated
                                                                       ❑ Disputed
         Austin, TX 78723
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.86 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $6,000.00
                                                                       Check all that apply.
         b-Science.net GmbH
                                                                       ❑ Contingent
         Traenkebachstrasse 38                                         ❑ Unliquidated
                                                                       ❑ Disputed
         8712 Staefa, Canton Zurich, Switzerland,
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.87 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $20,000.00
                                                                       Check all that apply.
         BSDCD Limited
                                                                       ❑ Contingent
         13/F Cheong Sun Tower                                         ❑ Unliquidated
         118 Wing Lok St, Sheung Wan                                   ❑ Disputed
         Hong Kong                                                     Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
                                                                       ❑ Yes

         Date or dates debt was incurred

         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:              $9,075.58
3.88                                                                   Check all that apply.
         Calvin Green
                                                                       ❑ Contingent
         108 S Mustang Avenue                                          ❑ Unliquidated
                                                                       ❑ Disputed
         Cedar Park, TX 78613
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes




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3.89 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $10,000.00
                                                                       Check all that apply.
         Cameron Resnick
                                                                       ❑ Contingent
         870 North 28th Street 101                                     ❑ Unliquidated
                                                                       ❑ Disputed
         Philadelphia, PA 19130
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/31/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.90 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $276,881.33
                                                                       Check all that apply.
         Camilo Andres Clavijo Vanegas
                                                                       ❑ Contingent
         17787 Adrift Road                                             ❑ Unliquidated
                                                                       ❑ Disputed
         Winter Garden, FL 34787
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.91 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $6,375.00
                                                                       Check all that apply.
         Campy BV
                                                                       ❑ Contingent
         238 Klokgebouw 5617AC Eindhoven                               ❑ Unliquidated
                                                                       ❑ Disputed
         The Netherlands,
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:              $19,300.88
3.92                                                                   Check all that apply.
         Capitol Vending and Coffee Company
                                                                       ❑ Contingent
         c/o Cleveland R Burke                                         ❑ Unliquidated
         Holland & Knight LLP                                          ❑ Disputed
                                                                       Basis for the claim: Investor Note
         100 Congress Ave Suite 1800
                                                                       Is the claim subject to offset?
         Austin, TX 78701                                              ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number




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3.93 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $5,000.00
                                                                       Check all that apply.
         Carey Walker
                                                                       ❑ Contingent
         PO Box 54966                                                  ❑ Unliquidated
                                                                       ❑ Disputed
         Tulsa, OK 74155-4966
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.94 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $3,000.00
                                                                       Check all that apply.
         Caribou Inc.
                                                                       ❑ Contingent
         172 Creek Path Ave                                            ❑ Unliquidated
                                                                       ❑ Disputed
         Oakville, Ontario, Canada, L6L 6T5,
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.95 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $2,000.00
                                                                       Check all that apply.
         Carl Lumma
                                                                       ❑ Contingent
         367 Los Gatos Blvd                                            ❑ Unliquidated
                                                                       ❑ Disputed
         Los Gatos, CA 95032
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred       08/12/2022              ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:              $150,000.00
3.96                                                                   Check all that apply.
         Carl Russo
                                                                       ❑ Contingent
         707 Willow Ave. Unit #2                                       ❑ Unliquidated
                                                                       ❑ Disputed
         Hoboken, NJ 07030
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred       08/18/2022              ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number




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3.97     Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $7,612.00
                                                                       Check all that apply.
         Carmeanna Eberly
                                                                       ❑ Contingent
         828 E 47th Place                                              ❑ Unliquidated
                                                                       ❑ Disputed
         Chicago, IL 60615
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.98     Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $21,037.56
                                                                       Check all that apply.
         Casey Melcher
                                                                       ❑ Contingent
         1635 N Water St. Apt 602                                      ❑ Unliquidated
                                                                       ❑ Disputed
         Milwaukee, WI 53202
                                                                       Basis for the claim: exacInvestor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/18/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.99     Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $6,000.00
                                                                       Check all that apply.
         Cassidee Collier
                                                                       ❑ Contingent
         3 Stuyvesant Oval Apt 10H                                     ❑ Unliquidated
                                                                       ❑ Disputed
         New York, NY 10009
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $20,000.00
3.100                                                                  Check all that apply.
         Cenports Commerce Inc
                                                                       ❑ Contingent
         2530 Berryessa Rd #332                                        ❑ Unliquidated
                                                                       ❑ Disputed
         San Jose, CA 95132
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes




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3.101 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $1,750.00
                                                                       Check all that apply.
         Cesar Antonio Valencia
                                                                       ❑ Contingent
         14888 SW 104 Street Unit 17                                   ❑ Unliquidated
                                                                       ❑ Disputed
         Miami, FL 33196
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.102 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $1,580,557.94
                                                                       Check all that apply.
         CFT Clear Finance Technology Corp.
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         1200-33 Yonge Street,
         Toronto, Ontario,                                             ✔ Disputed
                                                                       ❑
         M5E 1G4, Canada                                               Basis for the claim: Merchant Cash Advance
                                                                       Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
                                                                       ❑ Yes

         Date or dates debt was incurred      06/22/2022

         Last 4 digits of account number

3.103 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $10,000.00
                                                                       Check all that apply.
         Chad Doyle
                                                                       ❑ Contingent
         3450 Crestmoor Dr.                                            ❑ Unliquidated
                                                                       ❑ Disputed
         San Bruno, CA 94066
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/31/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $9,000.00
3.104                                                                  Check all that apply.
         Chagit Productions Inc
                                                                       ❑ Contingent
         591 Constitution Ave Suite B                                  ❑ Unliquidated
                                                                       ❑ Disputed
         Camarillo, CA 93012
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes




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3.105 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $2,500.00
                                                                       Check all that apply.
         Chaisson-Browne LLC
                                                                       ❑ Contingent
         35 Fiddlehead Rd                                              ❑ Unliquidated
                                                                       ❑ Disputed
         Oxford, CT 06478
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/11/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.106 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $5,000.00
                                                                       Check all that apply.
         Chang Ting Zou
                                                                       ❑ Contingent
         48 Woodview Dr.                                               ❑ Unliquidated
                                                                       ❑ Disputed
         Brewster, MA 02631
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/11/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.107 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $4,290.32
                                                                       Check all that apply.
         ChekRite
                                                                       ❑ Contingent
         6013/6 Parkland Blvd                                          ❑ Unliquidated
                                                                       ❑ Disputed
         Brisbane, Qld 4000, Australia,
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            unknown
3.108                                                                  Check all that apply.
         Christina Hong
                                                                       ❑ Contingent
         12407 Bexley                                                  ❑ Unliquidated
                                                                       ❑ Disputed
         Houston, TX 77099
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes




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3.109 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $30,000.00
                                                                       Check all that apply.
         Christopher Fast
                                                                       ❑ Contingent
         45 Meriam Street                                              ❑ Unliquidated
                                                                       ❑ Disputed
         Wakefield, MA 01880
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/23/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.110 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $5,000.00
                                                                       Check all that apply.
         Christopher Fontaine
                                                                       ❑ Contingent
         7814 Bradenton Drive                                          ❑ Unliquidated
                                                                       ❑ Disputed
         Charlotte, NC 28210
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/12/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.111 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $2,627.92
                                                                       Check all that apply.
         Christopher Seabolt
                                                                       ❑ Contingent
         3404 Tree Summit Parkway                                      ❑ Unliquidated
                                                                       ❑ Disputed
         Duluth, GA 30096
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $18,600.00
3.112                                                                  Check all that apply.
         Clac des Doigts
                                                                       ❑ Contingent
         128 Rue la Boetie,                                            ❑ Unliquidated
         Paris, France                                                 ❑ Disputed
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number




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3.113 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $2,250.00
                                                                       Check all that apply.
         Clifford Locks
                                                                       ❑ Contingent
         33 Old Field Hill Road Unit # 12                              ❑ Unliquidated
                                                                       ❑ Disputed
         Southbury, CT 06488
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.114 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $20,000.00
                                                                       Check all that apply.
         Clinetic, Inc.
                                                                       ❑ Contingent
         630 Davis Drive                                               ❑ Unliquidated
                                                                       ❑ Disputed
         Morrisville, NC 27560
                                                                       Basis for the claim: Guarantee Claim
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.115 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $4,000.00
                                                                       Check all that apply.
         CMT Scanner
                                                                       ❑ Contingent
         1/19 Virginia Street                                          ❑ Unliquidated
                                                                       ❑ Disputed
         Geebung, QLD 4034, Australia,
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $10,000.00
3.116                                                                  Check all that apply.
         Cody Pahalad
                                                                       ❑ Contingent
         352 Brighton Ave Apt 203                                      ❑ Unliquidated
                                                                       ❑ Disputed
         San Francisco, CA 94112
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes




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3.117 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $5,750.01
                                                                       Check all that apply.
         Constantine Trikas
                                                                       ❑ Contingent
         840 Fulton Street Apt. 704                                    ❑ Unliquidated
                                                                       ❑ Disputed
         Brooklyn, NY 11238
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/23/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.118 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $3,000.00
                                                                       Check all that apply.
         Cordtz Tuatoo
                                                                       ❑ Contingent
         417 Swift Fox Run                                             ❑ Unliquidated
                                                                       ❑ Disputed
         Crestview, FL 32536
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/12/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.119 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $7,500.00
                                                                       Check all that apply.
         Coventry Capital Partners, LLC
                                                                       ❑ Contingent
         306 Landing Lane                                              ❑ Unliquidated
                                                                       ❑ Disputed
         Chestertown, MD 21620
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/17/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $18,432.18
3.120                                                                  Check all that apply.
         CRC Insurance Services
                                                                       ❑ Contingent
         1 Metroplex Drive Suite 400                                   ❑ Unliquidated
                                                                       ❑ Disputed
         Birmingham, AL 35209
                                                                       Basis for the claim: Unpaid Insurance Policy
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes




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3.121 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $4,000.00
                                                                       Check all that apply.
         Cristian I Crisan
                                                                       ❑ Contingent
         15408 Fisher Island Dr.                                       ❑ Unliquidated
                                                                       ❑ Disputed
         Austin, TX 78717
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/17/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.122 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $3,564.31
                                                                       Check all that apply.
         Crystle Rauch
                                                                       ❑ Contingent
         6701 Lakewood Rd                                              ❑ Unliquidated
                                                                       ❑ Disputed
         Stanwood, WA 98292
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.123 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $4,253.96
                                                                       Check all that apply.
         Curt Bromm
                                                                       ❑ Contingent
         5785 Open Fields Drive                                        ❑ Unliquidated
                                                                       ❑ Disputed
         Whitestown, IN 46075
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/18/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $2,615.47
3.124                                                                  Check all that apply.
         Cynthia Ochoa
                                                                       ❑ Contingent
         600 E FM 1626 #9208                                           ❑ Unliquidated
                                                                       ❑ Disputed
         Austin, TX 78748
                                                                       Basis for the claim:
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes




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3.125 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $4,631.70
                                                                       Check all that apply.
         Dan Smith
                                                                       ❑ Contingent
         8021 N Padova Pl.                                             ❑ Unliquidated
                                                                       ❑ Disputed
         Tucson, AZ 85741
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/15/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.126 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            unknown
                                                                       Check all that apply.
         Daniel Anguiano
                                                                       ❑ Contingent
         252 Mulberry Lane                                             ❑ Unliquidated
                                                                       ❑ Disputed
         Rockwall, TX 75032
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.127 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $41,666.56
                                                                       Check all that apply.
         Daryl W Campbell
                                                                       ❑ Contingent
         3353 River Valley Dr.                                         ❑ Unliquidated
                                                                       ❑ Disputed
         Richland, WA 99354
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/23/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $12,000.00
3.128                                                                  Check all that apply.
         David Clark
                                                                       ❑ Contingent
         13022 Reata Ridge Dr                                          ❑ Unliquidated
                                                                       ❑ Disputed
         Parker, CO 80134
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes




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3.129 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $1,482.16
                                                                       Check all that apply.
         David Fisher
                                                                       ❑ Contingent
         832 Kristin Ln                                                ❑ Unliquidated
                                                                       ❑ Disputed
         Williamstown, NJ 08094
                                                                       Basis for the claim: Money Loaned
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/11/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.130 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $41,666.56
                                                                       Check all that apply.
         David Huie
                                                                       ❑ Contingent
         842 Harbor Island Dr.                                         ❑ Unliquidated
                                                                       ❑ Disputed
         Newport Beach, CA 92660
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/28/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.131 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $6,000.00
                                                                       Check all that apply.
         Dawn Audio LLC
                                                                       ❑ Contingent
         3035 St Ann Street Apt A                                      ❑ Unliquidated
                                                                       ❑ Disputed
         New Orleans, LA 70119
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $2,716.00
3.132                                                                  Check all that apply.
         Dhruv Patel
                                                                       ❑ Contingent
         1401 Art Dilly Drive Apt #355                                 ❑ Unliquidated
                                                                       ❑ Disputed
         Austin, TX 78702
                                                                       Basis for the claim: Wage Claim
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes




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3.133 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $8,000.00
                                                                       Check all that apply.
         Dhruv Sampat
                                                                       ❑ Contingent
         301 Gough Street Apt #1                                       ❑ Unliquidated
                                                                       ❑ Disputed
         San Francisco, CA 94102
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.134 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $38,750.00
                                                                       Check all that apply.
         Diego Mauro Cogno
                                                                       ❑ Contingent
         65b Cromford Road                                             ❑ Unliquidated
         SW18 1PA,                                                     ❑ Disputed
         London, UK                                                    Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
                                                                       ❑ Yes

         Date or dates debt was incurred      08/12/2022

         Last 4 digits of account number

3.135 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $20,000.00
                                                                       Check all that apply.
         DKMC, Inc.
                                                                       ❑ Contingent
         1435 Yellowheart Way                                          ❑ Unliquidated
                                                                       ❑ Disputed
         Hollywood, FL 33019
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $4,339.83
3.136                                                                  Check all that apply.
         Dmitry Gozman
                                                                       ❑ Contingent
         228 Park Avenue S. Ste 25520                                  ❑ Unliquidated
                                                                       ❑ Disputed
         New York, NY 10003
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes




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3.137 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $5,000.00
                                                                       Check all that apply.
         Domunus
                                                                       ❑ Contingent
         655 East 14th Street Apt. 9A                                  ❑ Unliquidated
                                                                       ❑ Disputed
         New York, NY 10009
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.138 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $6,000.00
                                                                       Check all that apply.
         Dropshop Technologies Inc
                                                                       ❑ Contingent
         320 E 57 St Apt 4E                                            ❑ Unliquidated
                                                                       ❑ Disputed
         New York, NY 10022
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.139 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $4,000.00
                                                                       Check all that apply.
         Dylan Mulrooney
                                                                       ❑ Contingent
         1217 Tudor House Rd                                           ❑ Unliquidated
                                                                       ❑ Disputed
         Pflugerville, TX 78660
                                                                       Basis for the claim:
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $1,090.00
3.140                                                                  Check all that apply.
         Dysleximedia Llc
                                                                       ❑ Contingent
         414 Nassau Parkway                                            ❑ Unliquidated
                                                                       ❑ Disputed
         Oceanside, NY 11572
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes




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3.141 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $2,333.00
                                                                       Check all that apply.
         Ebonee Miller
                                                                       ❑ Contingent
         7176 W Oromia Way                                             ❑ Unliquidated
                                                                       ❑ Disputed
         West Valley City, UT 84128
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.142 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $3,111.93
                                                                       Check all that apply.
         Edward Wei
                                                                       ❑ Contingent
         3318 Cloverdale Street                                        ❑ Unliquidated
                                                                       ❑ Disputed
         Houston, TX 77025
                                                                       Basis for the claim: Unpaid Wages
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.143 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $720.00
                                                                       Check all that apply.
         Eli M Blatt
                                                                       ❑ Contingent
         PO Box 61473                                                  ❑ Unliquidated
                                                                       ❑ Disputed
         North Miami Beach, FL 33160
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $6,250.00
3.144                                                                  Check all that apply.
         Emilija Dimitrovski
                                                                       ❑ Contingent
         Lange Zeile 12,                                               ❑ Unliquidated
         90419 Nuremberg                                               ❑ Disputed
         Germany                                                       Basis for the claim: Rev. Share Note
                                                                       Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
                                                                       ❑ Yes

         Date or dates debt was incurred

         Last 4 digits of account number




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3.145 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $7,500.00
                                                                       Check all that apply.
         Endavu Group ApS
                                                                       ❑ Contingent
         Sturlasgade 12B                                               ❑ Unliquidated
         2300 Copenhagen                                               ❑ Disputed
         Denmark                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
                                                                       ❑ Yes

         Date or dates debt was incurred

         Last 4 digits of account number

3.146 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $12,000.00
                                                                       Check all that apply.
         Equivesto Inc
                                                                       ❑ Contingent
         7945 Oldfield Road Unit 19                                    ❑ Unliquidated
                                                                       ❑ Disputed
         Niagra Falls, Ontario, Canada L2G0Z4,
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.147 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $18,400.00
                                                                       Check all that apply.
         Eric Lee
                                                                       ❑ Contingent
         6620 Wickliff Trail                                           ❑ Unliquidated
                                                                       ❑ Disputed
         Plano, TX 75023
                                                                       Basis for the claim:
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/26/2022               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $1,001.00
3.148                                                                  Check all that apply.
         Eric Steinlicht
                                                                       ❑ Contingent
         736 West Bel Esprit Circle                                    ❑ Unliquidated
                                                                       ❑ Disputed
         San Marcos, CA 92069
                                                                       Basis for the claim:
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes




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3.149 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $10,134.00
                                                                       Check all that apply.
         ErleaDx Pte Ltd
                                                                       ❑ Contingent
         BLK #856 Tampines St 82 #09-269                               ❑ Unliquidated
                                                                       ❑ Disputed
         Singapore 520856,
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.150 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $30,000.00
                                                                       Check all that apply.
         Erwin M Arnold
                                                                       ❑ Contingent
         155 Schiesshausstrasse                                        ❑ Unliquidated
                                                                       ❑ Disputed
         Neuberg, Germany 86633,
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.151 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $35,541.74
                                                                       Check all that apply.
         Ethan Brandt
                                                                       ❑ Contingent
         301 E 4th St                                                  ❑ Unliquidated
                                                                       ❑ Disputed
         Huxley, IA 50124
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/12/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $6,000.00
3.152                                                                  Check all that apply.
         Evan Johnson and Ejohnson RD LLC
                                                                       ❑ Contingent
         3 Revere Drive                                                ❑ Unliquidated
                                                                       ❑ Disputed
         Ridgefield, CT 06877
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/20/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
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3.153 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $12,000.00
                                                                       Check all that apply.
         Eventuall, Inc.
                                                                       ❑ Contingent
         6515 W Sunset Blvd Suite 430                                  ❑ Unliquidated
                                                                       ❑ Disputed
         Los Angeles, CA 90028
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.154 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $6,000.00
                                                                       Check all that apply.
         Exceptional Heroes, LLC
                                                                       ❑ Contingent
         560 N Bullard Ave Suite 49                                    ❑ Unliquidated
                                                                       ❑ Disputed
         Goodyear, AZ 85338
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.155 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $5,000.00
                                                                       Check all that apply.
         Fan Fair INC
                                                                       ❑ Contingent
         4316 NE 119th Street                                          ❑ Unliquidated
                                                                       ❑ Disputed
         Oklahoma City, OK 73131
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $7,500.00
3.156                                                                  Check all that apply.
         Fashion Constellate
                                                                       ❑ Contingent
         P.O. Box 6                                                    ❑ Unliquidated
                                                                       ❑ Disputed
         Lake Junaluska, NC 28745
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes




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3.157 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $9,692.29
                                                                       Check all that apply.
         Fernando Moreno Cortina
                                                                       ❑ Contingent
         2401 Aldrich St Apt 367                                       ❑ Unliquidated
                                                                       ❑ Disputed
         Austin, TX 78723
                                                                       Basis for the claim: Unpaid Wages
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.158 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $35,000.00
                                                                       Check all that apply.
         Fernando Moreno Cortina
                                                                       ❑ Contingent
         2401 Aldrich St Apt 367                                       ❑ Unliquidated
                                                                       ❑ Disputed
         Austin, TX 78723
                                                                       Basis for the claim: Wage Claim
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.159 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $1,391,098.50
                                                                       Check all that apply.
         Fernando Moreno Cortina
                                                                       ❑ Contingent
         2401 Aldrich St Apt 367                                       ❑ Unliquidated
                                                                       ❑ Disputed
         Austin, TX 78723
                                                                                            Limit disclosing
                                                                                            information that is
         Date or dates debt was incurred                                                    entitled to privacy, such
                                                                                            as healthcare
         Last 4 digits of account number                                                    information. Vested ISO
                                                                                            compensation
                                                                                            (supposedly it was
                                                                       Basis for the claim: changed to RSUs)
                                                                       Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $131,472.34
3.160                                                                  Check all that apply.
         Fernando Moreno Cortina
                                                                       ❑ Contingent
         2401 Aldrich St Apt 367                                       ❑ Unliquidated
                                                                       ❑ Disputed
         Austin, TX 78723
                                                                                            Limit disclosing
                                                                                            information that is
         Date or dates debt was incurred                                                    entitled to privacy, such
                                                                                            as healthcare
         Last 4 digits of account number                                                    information. Assigned
                                                                                            shares (not stock
                                                                                            options) to Fernando
                                                                                            Moreno Cortina during
                                                                       Basis for the claim: his time at Astralabs
                                                                       Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
                                                                       ❑ Yes




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3.161 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $131,472.34
                                                                       Check all that apply.
         Fernando Moreno Cortina
                                                                       ❑ Contingent
         2401 Aldrich St Apt 367                                       ❑ Unliquidated
                                                                       ❑ Disputed
         Austin, TX 78723
                                                                                            Limit disclosing
                                                                                            information that is
         Date or dates debt was incurred                                                    entitled to privacy, such
                                                                                            as healthcare
         Last 4 digits of account number                                                    information. Assigned
                                                                                            shares (not stock
                                                                                            options) to Fernando
                                                                                            Moreno Cortina during
                                                                       Basis for the claim: his time at Astralabs
                                                                       Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
                                                                       ❑ Yes
3.162 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $5,000.00
                                                                       Check all that apply.
         Filipe Peerally
                                                                       ❑ Contingent
         8820 Theriot Rd                                               ❑ Unliquidated
                                                                       ❑ Disputed
         Peyton, CO 80831
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/19/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.163 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $5,000.00
                                                                       Check all that apply.
         Filipe Peerally
                                                                       ❑ Contingent
         8820 Theriot Rd                                               ❑ Unliquidated
                                                                       ❑ Disputed
         Peyton, CO 80831
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      11/15/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $2,500.00
3.164                                                                  Check all that apply.
         Filipe Peerally
                                                                       ❑ Contingent
         8820 Theriot Rd                                               ❑ Unliquidated
                                                                       ❑ Disputed
         Peyton, CO 80831
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      11/14/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number




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3.165 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $5,000.00
                                                                       Check all that apply.
         Franshesca Castoria
                                                                       ❑ Contingent
         2 Hearthwood Court                                            ❑ Unliquidated
                                                                       ❑ Disputed
         Manahawkin, NJ 08050
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/13/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.166 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $8,425.00
                                                                       Check all that apply.
         Frederic W. Corwin III
                                                                       ❑ Contingent
         26 Boswell Rd.                                                ❑ Unliquidated
                                                                       ❑ Disputed
         Reading, MA 01867
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/11/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.167 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $200.00
                                                                       Check all that apply.
         Frida Elizabeth Ramos Martinez
                                                                       ❑ Contingent
         Rinconada del Acueducto 265                                   ❑ Unliquidated
                                                                       ❑ Disputed
         El Palomar, Tlajomulco de Zuiga, Jalisco, Mexico,
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $5,000.00
3.168                                                                  Check all that apply.
         Fundream SRL
                                                                       ❑ Contingent
         Viale Francia N.30 -                                          ❑ Unliquidated
                                                                       ❑ Disputed
         71122 Foggia Italy,
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes




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3.169 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $7,500.00
                                                                       Check all that apply.
         Fyrefish Technologies Ltd
                                                                       ❑ Contingent
         13 Grenfell Cres                                              ❑ Unliquidated
         Markham, ON, CANADA                                           ❑ Disputed
         L3P1S6                                                        Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
                                                                       ❑ Yes

         Date or dates debt was incurred

         Last 4 digits of account number

3.170 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $2,500.00
                                                                       Check all that apply.
         Gaby Fraifer
                                                                       ❑ Contingent
         720 Airport Blvd #1359                                        ❑ Unliquidated
                                                                       ❑ Disputed
         Austin, TX 78702
                                                                       Basis for the claim: Wage Claim
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.171 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $44,166.65
                                                                       Check all that apply.
         Gary L DeVries
                                                                       ❑ Contingent
         2204 Ashwood Drive                                            ❑ Unliquidated
                                                                       ❑ Disputed
         Aberdeen, SD 57401
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/18/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $20,000.00
3.172                                                                  Check all that apply.
         GDS Group LLC
                                                                       ❑ Contingent
         50 Merrick Road Suite 203                                     ❑ Unliquidated
                                                                       ❑ Disputed
         Rockville Centre, NY 11570
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes




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3.173 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $6,000.00
                                                                       Check all that apply.
         GeoNaidr Pty Ltd
                                                                       ❑ Contingent
         70 Moresby Street,                                            ❑ Unliquidated
                                                                       ❑ Disputed
         Trinity Beach, Cairns, 4879, Queensland, Australia,
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.174 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $4,200.00
                                                                       Check all that apply.
         George Andrew Simons CDP
                                                                       ❑ Contingent
         15b Acacia Lane,                                              ❑ Unliquidated
         Cambridge Road,                                               ❑ Disputed
         Sandys MA 02 Bermuda                                          Basis for the claim: Rev. Share Note
                                                                       Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
                                                                       ❑ Yes

         Date or dates debt was incurred

         Last 4 digits of account number

3.175 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $1,000.00
                                                                       Check all that apply.
         George Mower
                                                                       ❑ Contingent
         14009 E Sage Hills Drive                                      ❑ Unliquidated
                                                                       ❑ Disputed
         Vail, AZ 85641
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $986.00
3.176                                                                  Check all that apply.
         Gic-Owens Fiestan
                                                                       ❑ Contingent
         3153 Asher Rd                                                 ❑ Unliquidated
                                                                       ❑ Disputed
         Ann Arbor, MI 48104
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes




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3.177 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $42,708.22
                                                                       Check all that apply.
         Girish Amin
                                                                       ❑ Contingent
         1419 Sierra Glen Circle                                       ❑ Unliquidated
                                                                       ❑ Disputed
         Apex, NC 27502
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/23/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.178 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $169,333.00
                                                                       Check all that apply.
         Glenn Hunter
                                                                       ❑ Contingent
         80 Forest Drive                                               ❑ Unliquidated
                                                                       ❑ Disputed
         East Northport, NY 11731
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      10/28/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.179 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $169,333.00
                                                                       Check all that apply.
         Glenn Hunter
                                                                       ❑ Contingent
         80 Forest Drive                                               ❑ Unliquidated
                                                                       ❑ Disputed
         East Northport, NY 11731
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $169,333.00
3.180                                                                  Check all that apply.
         Glenn Hunter
                                                                       ❑ Contingent
         80 Forest Drive                                               ❑ Unliquidated
                                                                       ❑ Disputed
         East Northport, NY 11731
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes




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3.181 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $12,000.00
                                                                       Check all that apply.
         Gm Services LLC
                                                                       ❑ Contingent
         2 Shelton road                                                ❑ Unliquidated
                                                                       ❑ Disputed
         Swampscott, MA 01907
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.182 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $32,000.00
                                                                       Check all that apply.
         Graham Brown
                                                                       ❑ Contingent
         1113 N Oaks Lane North                                        ❑ Unliquidated
                                                                       ❑ Disputed
         North Little Rock, AR 72118
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.183 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $7,300.00
                                                                       Check all that apply.
         Grayson Pichon
                                                                       ❑ Contingent
         615 Clifford Drive                                            ❑ Unliquidated
                                                                       ❑ Disputed
         Austin, TX 78745
                                                                       Basis for the claim:
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $45,007.92
3.184                                                                  Check all that apply.
         Green Future Investments LLC
                                                                       ❑ Contingent
         333 Turn Pike Dr.                                             ❑ Unliquidated
                                                                       ❑ Disputed
         Folsom, CA 95630
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      11/10/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number




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3.185 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $2,500.00
                                                                       Check all that apply.
         Gregory Baker
                                                                       ❑ Contingent
         224 Furman Farm Pl.                                           ❑ Unliquidated
                                                                       ❑ Disputed
         Charleston, SC 29492
                                                                       Basis for the claim: Rev. Share Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.186 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $2,408.34
                                                                       Check all that apply.
         Gregory Wilson
                                                                       ❑ Contingent
         15 W 110th St. Apt. 22                                        ❑ Unliquidated
                                                                       ❑ Disputed
         New York, NY 10026
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/15/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.187 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $8,960.00
                                                                       Check all that apply.
         Griffin Hermes
                                                                       ❑ Contingent
         2450 4th Street Apt B                                         ❑ Unliquidated
                                                                       ❑ Disputed
         Santa Monica, CA 90405
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $8,960.00
3.188                                                                  Check all that apply.
         Griffin Hermes
                                                                       ❑ Contingent
         2450 4th Street Apt B                                         ❑ Unliquidated
                                                                       ❑ Disputed
         Santa Monica, CA 90405
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes




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3.189 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $6,000.00
                                                                       Check all that apply.
         GV Correct, LLC
                                                                       ❑ Contingent
         Kalama tee 4, Suurupi kla,                                    ❑ Unliquidated
         Harjumaa, Estonia                                             ❑ Disputed
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number

3.190 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $26,000.00
                                                                       Check all that apply.
         Harold Bishop
                                                                       ❑ Contingent
         3009 S John Redditt Ste E #398                                ❑ Unliquidated
                                                                       ❑ Disputed
         Lufkin, TX 75904
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/23/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.191 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $6,000.00
                                                                       Check all that apply.
         Harper Miller
                                                                       ❑ Contingent
         2355 Westwood Blvd #650                                       ❑ Unliquidated
                                                                       ❑ Disputed
         Los Angeles, CA 90064
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $7,000.00
3.192                                                                  Check all that apply.
         Harrison Lee
                                                                       ❑ Contingent
         1090 Lambton Drive                                            ❑ Unliquidated
                                                                       ❑ Disputed
         Oakville, Ontario L6J 7P3,
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes




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3.193 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $200,000.00
                                                                       Check all that apply.
         Hasan Ugur Koyluoglu
                                                                       ❑ Contingent
         1064 Great Road                                               ❑ Unliquidated
                                                                       ❑ Disputed
         Princeton, NJ 08540
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/31/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.194 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $10,000.00
                                                                       Check all that apply.
         Henry Shao
                                                                       ❑ Contingent
         1955 Junewood Ave.                                            ❑ Unliquidated
                                                                       ❑ Disputed
         San Jose, CA 95132
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/22/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.195 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $5,527.50
                                                                       Check all that apply.
         Hi There Solutions
                                                                       ❑ Contingent
         13780 Del Corso Way Unit 1211                                 ❑ Unliquidated
                                                                       ❑ Disputed
         Broomfield, CO 80020
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $6,000.00
3.196                                                                  Check all that apply.
         Holistic Health COllaborative
                                                                       ❑ Contingent
         128 Pleasant Street                                           ❑ Unliquidated
                                                                       ❑ Disputed
         Marblehead, MA 01945
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes




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3.197 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $5,000.00
                                                                       Check all that apply.
         Horacio Rodriguez Rilo
                                                                       ❑ Contingent
         1414 S Lamar Blvd                                             ❑ Unliquidated
                                                                       ❑ Disputed
         Austin, TX 78704
                                                                       Basis for the claim: Wage Claim
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.198 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $299.75
                                                                       Check all that apply.
         Hudson Horn
                                                                       ❑ Contingent
         2275 Sharon Rd Apt 311                                        ❑ Unliquidated
                                                                       ❑ Disputed
         Menlo Park, CA 94025
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.199 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $10,000.00
                                                                       Check all that apply.
         Hypha Knowledge Intergration Limited
                                                                       ❑ Contingent
         1st Floor, The Brew, Eagle House                              ❑ Unliquidated
                                                                       ❑ Disputed
         London, EC1V 1NR, UK,
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $12,000.00
3.200                                                                  Check all that apply.
         IENAI Space SL
                                                                       ❑ Contingent
         Ave. Gregorio Peces-Barba 1                                   ❑ Unliquidated
                                                                       ❑ Disputed
         28919 Legans, Spain,
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes




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3.201 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $7,500.00
                                                                       Check all that apply.
         illumnifyDx, Inc
                                                                       ❑ Contingent
         13825 Vispo Way                                               ❑ Unliquidated
                                                                       ❑ Disputed
         Broomfield, CO 80020
                                                                       Basis for the claim:
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.202 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $5,000.00
                                                                       Check all that apply.
         Inbal Tubi
                                                                       ❑ Contingent
         Calle 74C #7-52 Apt #305                                      ❑ Unliquidated
                                                                       ❑ Disputed
         Bogata, Colombia 00000,
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.203 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $7,500.00
                                                                       Check all that apply.
         Innovative Wellness Systems Inc
                                                                       ❑ Contingent
         10 Beldon Rd.                                                 ❑ Unliquidated
                                                                       ❑ Disputed
         Dover, MA 02030
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $9,900.00
3.204                                                                  Check all that apply.
         Into the Multiverse Inc
                                                                       ❑ Contingent
         816 California Ave                                            ❑ Unliquidated
                                                                       ❑ Disputed
         Venice, CA 90291
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes




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3.205 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $5,000.00
                                                                       Check all that apply.
         Iryna Zhuravel
                                                                       ❑ Contingent
         8929 Lombard Place                                            ❑ Unliquidated
                                                                       ❑ Disputed
         Apt. 123                                                      Basis for the claim: Investor Note
         San Diego, CA 92122                                           Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Date or dates debt was incurred      08/18/2022

         Last 4 digits of account number

3.206 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $920.00
                                                                       Check all that apply.
         Ivanna Mariel Guerrero Ulloa
                                                                       ❑ Contingent
         8010 Little Deer Xing                                         ❑ Unliquidated
                                                                       ❑ Disputed
         Austin, TX 78736
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.207 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $124,000.00
                                                                       Check all that apply.
         J333 Ventures LLC
                                                                       ❑ Contingent
         1706 Elliot Ranch Rd                                          ❑ Unliquidated
                                                                       ❑ Disputed
         Buda, TX 78610
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      09/15/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $60,000.00
3.208                                                                  Check all that apply.
         Jack Atkin
                                                                       ❑ Contingent
         16 Hamlin Road                                                ❑ Unliquidated
                                                                       ❑ Disputed
         Edison, NJ 08817
                                                                       Basis for the claim: Lender
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/30/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number




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3.209 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $30,000.00
                                                                       Check all that apply.
         Jack Atkin
                                                                       ❑ Contingent
         16 Hamlin Road                                                ❑ Unliquidated
                                                                       ❑ Disputed
         Edison, NJ 08817
                                                                       Basis for the claim: Lender
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      10/31/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.210 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $1,953.00
                                                                       Check all that apply.
         Jack Colletti
                                                                       ❑ Contingent
         2630 Quail Hill Drive                                         ❑ Unliquidated
                                                                       ❑ Disputed
         Pittsburgh, PA 15241
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.211 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $18,669.28
                                                                       Check all that apply.
         Jack P. Hopper
                                                                       ❑ Contingent
         2116 Fordham Ln.                                              ❑ Unliquidated
                                                                       ❑ Disputed
         Austin, TX 78723
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      09/06/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $0.00
3.212                                                                  Check all that apply.
         James Askew
                                                                       ❑ Contingent
         720 Airport Blvd Apt 1143                                     ❑ Unliquidated
                                                                       ❑ Disputed
         Austin, TX 78702
                                                                       Basis for the claim: Wage Claim
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes




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3.213 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $5,629.00
                                                                       Check all that apply.
         James Peery & Mammen & Peery
                                                                       ❑ Contingent
         5610 Conica Court                                             ❑ Unliquidated
                                                                       ❑ Disputed
         Spring, TX 77379
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.214 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $7,500.00
                                                                       Check all that apply.
         James Steele
                                                                       ❑ Contingent
         510 Coffin Alley, PO Box 382                                  ❑ Unliquidated
                                                                       ❑ Disputed
         Portland, PA 18351
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/18/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.215 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $2,100.00
                                                                       Check all that apply.
         Jan Kvita
                                                                       ❑ Contingent
         Ke Krci 1002/24                                               ❑ Unliquidated
         Prague                                                        ❑ Disputed
         Czech Republic                                                Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
                                                                       ❑ Yes

         Date or dates debt was incurred      08/19/2022

         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $7,807.69
3.216                                                                  Check all that apply.
         Jared Alvarado
                                                                       ❑ Contingent
         7502 Vaquer Drive                                             ❑ Unliquidated
                                                                       ❑ Disputed
         Corpus Christi, TX 78414
                                                                       Basis for the claim: Wage Claim
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes




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3.217 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $2,000.00
                                                                       Check all that apply.
         Jared Lucas
                                                                       ❑ Contingent
         6 Pickernell Lane                                             ❑ Unliquidated
                                                                       ❑ Disputed
         Kittery, ME 03904
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.218 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $1,000.00
                                                                       Check all that apply.
         Jaron ("Robert") Glasgow
                                                                       ❑ Contingent
         6960 10th St N Apt. 207                                       ❑ Unliquidated
                                                                       ❑ Disputed
         Oakdale, MN 55128
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/18/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.219 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $2,000.00
                                                                       Check all that apply.
         Jason Croft
                                                                       ❑ Contingent
         28A Parkway Village                                           ❑ Unliquidated
                                                                       ❑ Disputed
         Cranford, NJ 07016
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/16/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $15,220.00
3.220                                                                  Check all that apply.
         Jason D Arnold
                                                                       ❑ Contingent
         1140 Bonanza Drive                                            ❑ Unliquidated
                                                                       ❑ Disputed
         Okemos, MI 48864
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/19/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number




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3.221 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $1,000.00
                                                                       Check all that apply.
         Jason Glasgow
                                                                       ❑ Contingent
         7550 80th Street Unit 415                                     ❑ Unliquidated
                                                                       ❑ Disputed
         Cottage Grove, MN 55016
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.222 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $3,450.00
                                                                       Check all that apply.
         Jason Jacobsohn
                                                                       ❑ Contingent
         285 Danbury Drive                                             ❑ Unliquidated
                                                                       ❑ Disputed
         Vernon Hills, IL 60061
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.223 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $12,660.00
                                                                       Check all that apply.
         Jason Kahle
                                                                       ❑ Contingent
         347 White Fox Run                                             ❑ Unliquidated
                                                                       ❑ Disputed
         Fallbrook, CA 92028
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/12/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $10,000.00
3.224                                                                  Check all that apply.
         Jeff Meyer
                                                                       ❑ Contingent
         33970 Rebecca Rd                                              ❑ Unliquidated
                                                                       ❑ Disputed
         Kingston, IL 60145
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes




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3.225 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $5,500.00
                                                                       Check all that apply.
         Jeffrey Wells
                                                                       ❑ Contingent
         18550 Hatteras St. #2                                         ❑ Unliquidated
                                                                       ❑ Disputed
         Tarzana, CA 91356
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred       08/16/2022              ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.226 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $7,500.00
                                                                       Check all that apply.
         Jennilee Bennett, Mastero Athletics
                                                                       ❑ Contingent
         10217 8th Ave SW                                              ❑ Unliquidated
                                                                       ❑ Disputed
         Seattle, WA 98146
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.227 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $9,800.00
                                                                       Check all that apply.
         Jeremy Greiner
                                                                       ❑ Contingent
         1709 Crestwood Drive                                          ❑ Unliquidated
                                                                       ❑ Disputed
         Alexandria, VA 22302
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred       08/18/2022              ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $12,500.00
3.228                                                                  Check all that apply.
         Jeremy Phillips
                                                                       ❑ Contingent
         211 W Verdugo Ave. #201                                       ❑ Unliquidated
                                                                       ❑ Disputed
         Burbank, CA 91502
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred       08/11/2022              ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number




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3.229 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $33,600.00
                                                                       Check all that apply.
         Joao Carlos Dos Santos Branquinho,
                                                                       ❑ Contingent
         3300 NE 191st Street Apt 1207                                 ❑ Unliquidated
                                                                       ❑ Disputed
         Miami, FL 33180
                                                                       Basis for the claim: Rev. Share Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.230 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $25,000.00
                                                                       Check all that apply.
         Joao Carlos Dos Santos Branquinho,
                                                                       ❑ Contingent
         3300 NE 191st Street Apt 1207                                 ❑ Unliquidated
                                                                       ❑ Disputed
         Miami, FL 33180
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.231 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $7,500.00
                                                                       Check all that apply.
         Joao Carlos Dos Santos Branquinho,
                                                                       ❑ Contingent
         3300 NE 191st Street Apt 1207                                 ❑ Unliquidated
                                                                       ❑ Disputed
         Miami, FL 33180
                                                                       Basis for the claim:
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $5,000.00
3.232                                                                  Check all that apply.
         John Salinas
                                                                       ❑ Contingent
         14429 Ventura Blvd Ste 109                                    ❑ Unliquidated
                                                                       ❑ Disputed
         Sherman Oaks, CA 91423
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes




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3.233 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $10,000.00
                                                                       Check all that apply.
         John W Polomny
                                                                       ❑ Contingent
         1116 Palm Valley Drive E                                      ❑ Unliquidated
                                                                       ❑ Disputed
         Harlingen, TX 78552
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/18/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.234 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $20,000.00
                                                                       Check all that apply.
         Johnny F Evans
                                                                       ❑ Contingent
         234 Bay St. N.W.                                              ❑ Unliquidated
                                                                       ❑ Disputed
         Fort Walton Beach, FL 32548
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/18/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.235 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $10,000.00
                                                                       Check all that apply.
         Johnny F Evans
                                                                       ❑ Contingent
         234 Bay St. N.W.                                              ❑ Unliquidated
                                                                       ❑ Disputed
         Fort Walton Beach, FL 32548
                                                                       Basis for the claim: Money Loaned
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $9,908.23
3.236                                                                  Check all that apply.
         Jon A. Sims
                                                                       ❑ Contingent
         25558 Fitzgerald Ave                                          ❑ Unliquidated
                                                                       ❑ Disputed
         Stevenson Ranch, CA 91381
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/11/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
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3.237 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $20,000.00
                                                                       Check all that apply.
         Jonathan Adams
                                                                       ❑ Contingent
         1535 Crooked Stick                                            ❑ Unliquidated
                                                                       ❑ Disputed
         San Antonio, TX 78260
                                                                       Basis for the claim: Rev. Share Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.238 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $8,482.50
                                                                       Check all that apply.
         Jonathan Boyarsky
                                                                       ❑ Contingent
         130 Dartmouth Street Apt 305                                  ❑ Unliquidated
                                                                       ❑ Disputed
         Boston, MA 02116
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.239 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $5,000.00
                                                                       Check all that apply.
         Jong Yul Kim
                                                                       ❑ Contingent
         11048 SE 31st St.                                             ❑ Unliquidated
                                                                       ❑ Disputed
         Bellevue, WA 98004
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/16/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $8,520.00
3.240                                                                  Check all that apply.
         Jordan Case
                                                                       ❑ Contingent
         302 Pinecrest Pl                                              ❑ Unliquidated
                                                                       ❑ Disputed
         Andover, KS 67002
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/11/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number




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3.241 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $25,500.00
                                                                       Check all that apply.
         Jordan Griffin
                                                                       ❑ Contingent
         912 Pappas Ct.                                                ❑ Unliquidated
                                                                       ❑ Disputed
         Chula Vista, CA 91911
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.242 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $6,250.00
                                                                       Check all that apply.
         Jordan Lund
                                                                       ❑ Contingent
         5452 Aldrich Ave S                                            ❑ Unliquidated
                                                                       ❑ Disputed
         Minneapolis, MN 55419
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/13/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.243 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $5,040.00
                                                                       Check all that apply.
         Jordan Lund
                                                                       ❑ Contingent
         5452 Aldrich Ave S                                            ❑ Unliquidated
                                                                       ❑ Disputed
         Minneapolis, MN 55419
                                                                       Basis for the claim: Rev. Share Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $2,500.00
3.244                                                                  Check all that apply.
         Jose Ceniceros
                                                                       ❑ Contingent
         19621 6th Ave S                                               ❑ Unliquidated
                                                                       ❑ Disputed
         Des Moines, WA 98148
                                                                       Basis for the claim: Rev. Share Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes




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3.245 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $23,000.00
                                                                       Check all that apply.
         Jose Fabian Kabigumila
                                                                       ❑ Contingent
         9 Myrna Dr.                                                   ❑ Unliquidated
                                                                       ❑ Disputed
         Marlborough, CT 06447
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/16/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.246 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $23,000.01
                                                                       Check all that apply.
         Jose Fabian Kabigumila
                                                                       ❑ Contingent
         9 Myrna Dr.                                                   ❑ Unliquidated
                                                                       ❑ Disputed
         Marlborough, CT 06447
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.247 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $1,000.00
                                                                       Check all that apply.
         Joseph Carothers
                                                                       ❑ Contingent
         1813 Honey Hill Rd.                                           ❑ Unliquidated
                                                                       ❑ Disputed
         Hardeeville, KS 66027
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/31/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $2,400.00
3.248                                                                  Check all that apply.
         Juan Carlos Pea
                                                                       ❑ Contingent
         2206 Robert Wynn                                              ❑ Unliquidated
                                                                       ❑ Disputed
         El Paso, TX 79936
                                                                       Basis for the claim: Wage Claim
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes




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3.249 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $6,250.00
                                                                       Check all that apply.
         Juan Jackson
                                                                       ❑ Contingent
         1804 Barksdale Drive                                          ❑ Unliquidated
                                                                       ❑ Disputed
         Lexington, KY 40511
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/12/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.250 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $7,989.30
                                                                       Check all that apply.
         Juan Jackson
                                                                       ❑ Contingent
         1804 Barksdale Drive                                          ❑ Unliquidated
                                                                       ❑ Disputed
         Lexington, KY 40511
                                                                       Basis for the claim: Rev. Share Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.251 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $2,000.00
                                                                       Check all that apply.
         Juan Jackson
                                                                       ❑ Contingent
         1804 Barksdale Drive                                          ❑ Unliquidated
                                                                       ❑ Disputed
         Lexington, KY 40511
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/11/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $2,128.00
3.252                                                                  Check all that apply.
         Juan Jose Simon Ocejo
                                                                       ❑ Contingent
         300 E Riverside Dr Apt 446                                    ❑ Unliquidated
                                                                       ❑ Disputed
         Austin, TX 78704-0182
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes




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3.253 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $1,497.00
                                                                       Check all that apply.
         Julian Torres
                                                                       ❑ Contingent
         115 La mesa Drive                                             ❑ Unliquidated
                                                                       ❑ Disputed
         Burlingame, CA 94010
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.254 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $6,000.00
                                                                       Check all that apply.
         KA! Empathogenics
                                                                       ❑ Contingent
         442 Lorimer St Ste D PMB 5121                                 ❑ Unliquidated
                                                                       ❑ Disputed
         Brooklyn, NY 11206
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.255 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $12,000.00
                                                                       Check all that apply.
         Kanari Holdings Inc
                                                                       ❑ Contingent
         c/o One Business Center                                       ❑ Unliquidated
                                                                       ❑ Disputed
         One JLT, 06-150, Jumeirah Lake Towers                         Basis for the claim: Investor Note
         PO BOX 3338553, Duba, UAE,                                    Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $6,000.00
3.256                                                                  Check all that apply.
         Kboodle, Inc.
                                                                       ❑ Contingent
         PO Box 1426                                                   ❑ Unliquidated
                                                                       ❑ Disputed
         Crystal Bay, NV 89402
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes




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3.257 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $31,449.25
                                                                       Check all that apply.
         Keagan Wernicke
                                                                       ❑ Contingent
         6016 Price Drive                                              ❑ Unliquidated
                                                                       ❑ Disputed
         North Richland Hills, TX 76180
                                                                       Basis for the claim: Wage Claim
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.258 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $21,504.00
                                                                       Check all that apply.
         Kevin Houston
                                                                       ❑ Contingent
         1301 W Fifth Street Unit 342                                  ❑ Unliquidated
                                                                       ❑ Disputed
         Austin, TX 78703
                                                                       Basis for the claim: Wage Claim
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.259 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $39,000.00
                                                                       Check all that apply.
         Kevin Mease
                                                                       ❑ Contingent
         300 S Lamar #207                                              ❑ Unliquidated
                                                                       ❑ Disputed
         Austin, TX 78704
                                                                       Basis for the claim: Investor
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $10,000.00
3.260                                                                  Check all that apply.
         Kishore Anjaneyulu
                                                                       ❑ Contingent
         1204 Yarrow Rd                                                ❑ Unliquidated
                                                                       ❑ Disputed
         Matthews, NC 28104
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/27/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number




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3.261 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $8,000.00
                                                                       Check all that apply.
         Kleiner Device Labs
                                                                       ❑ Contingent
         999 Driver Way                                                ❑ Unliquidated
                                                                       ❑ Disputed
         Incline Village, NV 89451
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.262 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $250.00
                                                                       Check all that apply.
         Kristopher Scott
                                                                       ❑ Contingent
         710 Vista Way Apt 802                                         ❑ Unliquidated
                                                                       ❑ Disputed
         Red Bluff, CA 96080
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.263 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $7,500.00
                                                                       Check all that apply.
         Kwala
                                                                       ❑ Contingent
         432 Waverley Rd Gundy                                         ❑ Unliquidated
         NSW 2337                                                      ❑ Disputed
         Australia                                                     Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
                                                                       ❑ Yes

         Date or dates debt was incurred

         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $753,440.65
3.264                                                                  Check all that apply.
         Kyle Croyle
                                                                       ❑ Contingent
         3812 Wadford St Unit A                                        ❑ Unliquidated
                                                                       ❑ Disputed
         Austin, TX 78704
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes




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3.265 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $7,000.00
                                                                       Check all that apply.
         Lacey Hunter
                                                                       ❑ Contingent
         645 Meadow Drive SE                                           ❑ Unliquidated
                                                                       ❑ Disputed
         North Bend, WA 98045
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.266 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $31,808.00
                                                                       Check all that apply.
         Laurie Cercone
                                                                       ❑ Contingent
         604 Eagle                                                     ❑ Unliquidated
                                                                       ❑ Disputed
         Austin, TX 78734
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      09/03/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number
         Remarks: New Quest Enterprises, LLC

3.267 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $81,422.04
                                                                       Check all that apply.
         Lawrence D. Hutchison
                                                                       ❑ Contingent
         306 Landing Lane                                              ❑ Unliquidated
                                                                       ❑ Disputed
         Chestertown, MD 21620
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/17/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $8,000.00
3.268                                                                  Check all that apply.
         Leeward Security Ltd.
                                                                       ❑ Contingent
         5800 Ambler Drive, Suite 210                                  ❑ Unliquidated
         Mississauga, Ontario                                          ❑ Disputed
         Canada L4W 4J4                                                Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
                                                                       ❑ Yes

         Date or dates debt was incurred

         Last 4 digits of account number




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3.269 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $2,814.00
                                                                       Check all that apply.
         Leonel Andres Barragan Rodriguez
                                                                       ❑ Contingent
         Carrera 111D Bis #78b 19                                      ❑ Unliquidated
                                                                       ❑ Disputed
         Bogota, Colombia,
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.270 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $12,500.00
                                                                       Check all that apply.
         Leonid Mordkovich
                                                                       ❑ Contingent
         1974 Devonshire Ave                                           ❑ Unliquidated
                                                                       ❑ Disputed
         Avon, IN 46123
                                                                       Basis for the claim: Rev. Share Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.271 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $7,500.00
                                                                       Check all that apply.
         Lets Join In Party Ltd
                                                                       ❑ Contingent
         12 Sky Lane Ashburton                                         ❑ Unliquidated
                                                                       ❑ Disputed
         Melbourne, Victoria, Australia, MA 3147,
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $7,500.00
3.272                                                                  Check all that apply.
         Linvest Group, Inc.
                                                                       ❑ Contingent
         c/o Aaron Goldstein                                           ❑ Unliquidated
                                                                       ❑ Disputed
         2401 S Ocean Drive #2102                                      Basis for the claim: Investor Note
         Hollywood, FL 33019                                           Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number




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3.273 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $7,201.56
                                                                       Check all that apply.
         Lithium Networks, LLC
                                                                       ❑ Contingent
         PO Box 2994                                                   ❑ Unliquidated
                                                                       ❑ Disputed
         Austin, TX 78755
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number      1   9   2    0
                                                                       ❑ Yes

3.274 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $20,833.24
                                                                       Check all that apply.
         Local Driver Tech Inc.
                                                                       ❑ Contingent
         33 University Ave.                                            ❑ Unliquidated
         Suite 2704                                                    ❑ Disputed
         Toronto, Ontario M5J2S7, Canada                               Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
                                                                       ❑ Yes

         Date or dates debt was incurred

         Last 4 digits of account number

3.275 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $30,000.00
                                                                       Check all that apply.
         Locoal Charcoal Company
                                                                       ❑ Contingent
         1201 Citation Circle                                          ❑ Unliquidated
                                                                       ❑ Disputed
         Del Valle, TX 78617
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $6,000.00
3.276                                                                  Check all that apply.
         Loglens Insights Private Limited
                                                                       ❑ Contingent
         766 The Executive Zone                                        ❑ Unliquidated
                                                                       ❑ Disputed
         Chennai, Thailand 60000,
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes




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3.277 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $7,500.00
                                                                       Check all that apply.
         Lonch, Inc
                                                                       ❑ Contingent
         60 Feldspar Rdg                                               ❑ Unliquidated
                                                                       ❑ Disputed
         Glastonbury, CT 06033
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.278 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            unknown
                                                                       Check all that apply.
         LOOFT Inc.
                                                                       ❑ Contingent
         260 N Lord St #228                                            ❑ Unliquidated
                                                                       ❑ Disputed
         Brookfield, WI 53045
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.279 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $20,000.00
                                                                       Check all that apply.
         Loopi, Inc.
                                                                       ❑ Contingent
         3802 38th Ave South                                           ❑ Unliquidated
                                                                       ❑ Disputed
         Seattle, WA 98118
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            unknown
3.280                                                                  Check all that apply.
         Lucas Everidge
                                                                       ❑ Contingent
         5700 E Riverside Drive Apt 2112                               ❑ Unliquidated
                                                                       ❑ Disputed
         Austin, TX 78741
                                                                       Basis for the claim: Wage Claim
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes




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3.281 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $3,846.16
                                                                       Check all that apply.
         Luke Marek
                                                                       ❑ Contingent
         1913 Garden Street Unit B                                     ❑ Unliquidated
                                                                       ❑ Disputed
         Austin, TX 78702
                                                                       Basis for the claim: Wage Claim
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.282 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $7,000.00
                                                                       Check all that apply.
         Luso Digital Assets
                                                                       ❑ Contingent
         20L Rua Princesa d. Amelia                                    ❑ Unliquidated
                                                                       ❑ Disputed
         9000-019 Funchal, Portugal,
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.283 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $20,000.00
                                                                       Check all that apply.
         Maana Electric SA
                                                                       ❑ Contingent
         12 Rue de I'Industrie                                         ❑ Unliquidated
         L-3895 Luxembourg                                             ❑ Disputed
         Fabrice Testa                                                 Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
                                                                       ❑ Yes

         Date or dates debt was incurred

         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $6,500.00
3.284                                                                  Check all that apply.
         Makara Insights
                                                                       ❑ Contingent
         80 SW 8th Street Suite 2013                                   ❑ Unliquidated
                                                                       ❑ Disputed
         Miami, FL 33130
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes




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3.285 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $136,988.12
                                                                       Check all that apply.
         Mallory Frick and JM FRICK LLC
                                                                       ❑ Contingent
         328 Ledge Stone drive                                         ❑ Unliquidated
                                                                       ❑ Disputed
         Austin, TX 78737
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/19/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.286 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $3,340.00
                                                                       Check all that apply.
         Manoj Sonje
                                                                       ❑ Contingent
         16303 Chelsea Place Apt. 236                                  ❑ Unliquidated
                                                                       ❑ Disputed
         Selma, TX 78154
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/11/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.287 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $97,265.00
                                                                       Check all that apply.
         Marc Bertrand
                                                                       ❑ Contingent
         P.O. Box 1967                                                 ❑ Unliquidated
                                                                       ❑ Disputed
         New York, NY 10025
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $97,265.00
3.288                                                                  Check all that apply.
         Marc Bertrand
                                                                       ❑ Contingent
         P.O. Box 1967                                                 ❑ Unliquidated
                                                                       ❑ Disputed
         New York, NY 10025
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes




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3.289 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $1,000.00
                                                                       Check all that apply.
         Marc Russell
                                                                       ❑ Contingent
         471 East 4300 North                                           ❑ Unliquidated
                                                                       ❑ Disputed
         Provo, UT 84604
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/13/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.290 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $3,000.00
                                                                       Check all that apply.
         Marco Frabotta
                                                                       ❑ Contingent
         2222 Detroit Ave 1013                                         ❑ Unliquidated
                                                                       ❑ Disputed
         Cleveland, OH 44113
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/11/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.291 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $5,000.00
                                                                       Check all that apply.
         Mark and Candice Gimbel Family Living Trust
                                                                       ❑ Contingent
         13258 N. 79th St.                                             ❑ Unliquidated
                                                                       ❑ Disputed
         Scottsdale, AZ 85260
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/18/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $14,533.34
3.292                                                                  Check all that apply.
         Mark Beauharnois
                                                                       ❑ Contingent
         6867 Amanda Lane                                              ❑ Unliquidated
                                                                       ❑ Disputed
         Lockport, NY 14094
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/17/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number




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3.293 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $1,000.00
                                                                       Check all that apply.
         Martin Duenaz
                                                                       ❑ Contingent
         30280 Prospect Rd                                             ❑ Unliquidated
                                                                       ❑ Disputed
         Nettleton, MS 38858
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/13/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.294 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $10,000.00
                                                                       Check all that apply.
         Martin Wagner
                                                                       ❑ Contingent
         359 Cambridge Drive                                           ❑ Unliquidated
                                                                       ❑ Disputed
         Goleta, CA 93117
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.295 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $694.80
                                                                       Check all that apply.
         Mary Oziemkowski
                                                                       ❑ Contingent
         1961 Bolson Drive                                             ❑ Unliquidated
                                                                       ❑ Disputed
         Downers Grove, IL 60516
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $5,706.58
3.296                                                                  Check all that apply.
         Matthew Hendershot
                                                                       ❑ Contingent
         1841 W Wisteria Dr                                            ❑ Unliquidated
                                                                       ❑ Disputed
         Chandler, AZ 85248
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/23/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number




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3.297 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $5,706.58
                                                                       Check all that apply.
         Matthew Hendershot
                                                                       ❑ Contingent
         1841 W Wisteria Dr                                            ❑ Unliquidated
                                                                       ❑ Disputed
         Chandler, AZ 85248
                                                                       Basis for the claim:
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.298 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $5,000.00
                                                                       Check all that apply.
         Matthew Kuznicki
                                                                       ❑ Contingent
         6312 W Hyacinth Street                                        ❑ Unliquidated
                                                                       ❑ Disputed
         Chicago, IL 60646
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.299 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $750.00
                                                                       Check all that apply.
         Matthew Perlman
                                                                       ❑ Contingent
         720 Airport Blvd Apt 1138                                     ❑ Unliquidated
                                                                       ❑ Disputed
         Austin, TX 78702
                                                                       Basis for the claim: Wage Claim
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $103,832.09
3.300                                                                  Check all that apply.
         Matthew Peter Kelly and Xin Geng Kelly
                                                                       ❑ Contingent
         13190 Burke Rd                                                ❑ Unliquidated
                                                                       ❑ Disputed
         Los Altos, CA 94022
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      09/15/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number




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3.301 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $29,375.00
                                                                       Check all that apply.
         Max Mahan
                                                                       ❑ Contingent
         4479 Vrain St.                                                ❑ Unliquidated
                                                                       ❑ Disputed
         Denver, CO 80212
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/12/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.302 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $34,496.80
                                                                       Check all that apply.
         Melane Rella and Angelo Rella
                                                                       ❑ Contingent
         628 Burno Mountain Road                                       ❑ Unliquidated
                                                                       ❑ Disputed
         Cotopaxi, CO 81223
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/23/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.303 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $0.00
                                                                       Check all that apply.
         Melissa Hector
                                                                       ❑ Contingent
         1080 Cypress Parkway Suite 1187                               ❑ Unliquidated
                                                                       ❑ Disputed
         Kissimmee, FL 34759
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/11/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            unknown
3.304                                                                  Check all that apply.
         Mergeflo Inc
                                                                       ❑ Contingent
         8000 Research Forest Dr Ste 115 No 1026                       ❑ Unliquidated
                                                                       ❑ Disputed
         The Woodlands, TX 77382
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes




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3.305 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $112,883.22
                                                                       Check all that apply.
         Michael Brown
                                                                       ❑ Contingent
         56 Blackberry Ln                                              ❑ Unliquidated
                                                                       ❑ Disputed
         Yarmouth, ME 04096
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      10/29/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.306 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $14,000.00
                                                                       Check all that apply.
         Michael Gallup
                                                                       ❑ Contingent
         84 S Shimmering Aspen Cir                                     ❑ Unliquidated
                                                                       ❑ Disputed
         Spring, TX 77389-4964
                                                                       Basis for the claim:
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.307 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $5,000.00
                                                                       Check all that apply.
         Michael Harrison Jr
                                                                       ❑ Contingent
         136 Cowper St                                                 ❑ Unliquidated
                                                                       ❑ Disputed
         Palo Alto, CA 94301
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/13/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $3,125.00
3.308                                                                  Check all that apply.
         Michael J Frank
                                                                       ❑ Contingent
         15 Oval Road                                                  ❑ Unliquidated
                                                                       ❑ Disputed
         Millburn, NJ 07041-1409
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes




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3.309 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $29,693.59
                                                                       Check all that apply.
         Michael J Frank
                                                                       ❑ Contingent
         15 Oval Road                                                  ❑ Unliquidated
                                                                       ❑ Disputed
         Millburn, NJ 07041-1409
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.310 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $1,370.47
                                                                       Check all that apply.
         Michael J Frank
                                                                       ❑ Contingent
         15 Oval Road                                                  ❑ Unliquidated
                                                                       ❑ Disputed
         Millburn, NJ 07041-1409
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.311 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $7,500.00
                                                                       Check all that apply.
         Michael Michael
                                                                       ❑ Contingent
         333 Turn Pike Dr.                                             ❑ Unliquidated
                                                                       ❑ Disputed
         Folsom, CA 95630
                                                                       Basis for the claim: Rev. Share Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $20,000.00
3.312                                                                  Check all that apply.
         Michael Miracle
                                                                       ❑ Contingent
         14 Chardonnay Drive                                           ❑ Unliquidated
                                                                       ❑ Disputed
         Holmdel, NJ 07733
                                                                       Basis for the claim: Rev. Share Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes




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3.313 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $198.00
                                                                       Check all that apply.
         Michelle Strayhorn
                                                                       ❑ Contingent
         586 Main St #E                                                ❑ Unliquidated
                                                                       ❑ Disputed
         Hackensack, NJ 07601
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.314 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $5,000.00
                                                                       Check all that apply.
         MINIMUM bio
                                                                       ❑ Contingent
         81−83 Campbell St.                                            ❑ Unliquidated
         Surry Hills NSW 2010                                          ❑ Disputed
         AUSTRALIA                                                     Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
                                                                       ❑ Yes

         Date or dates debt was incurred

         Last 4 digits of account number

3.315 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $8,200.00
                                                                       Check all that apply.
         Mitchell McCormick
                                                                       ❑ Contingent
         1125 N Academy Avenue Suite A                                 ❑ Unliquidated
                                                                       ❑ Disputed
         New Braunfels, TX 78130
                                                                       Basis for the claim:
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $5,500.00
3.316                                                                  Check all that apply.
         Moatassem Abdelhaleem
                                                                       ❑ Contingent
         142 Portsaid Street Apt 18                                    ❑ Unliquidated
                                                                       ❑ Disputed
         Alexandria, Egypt 00203-22,
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes




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3.317 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $3,600.00
                                                                       Check all that apply.
         Morana Enterprises LLC
                                                                       ❑ Contingent
         131 Hoffman Avenue                                            ❑ Unliquidated
                                                                       ❑ Disputed
         Dayton, OH 45403
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.318 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $2,900.00
                                                                       Check all that apply.
         Motoblockchain S.L.
                                                                       ❑ Contingent
         via Wagner 67                                                 ❑ Unliquidated
         21100 Varese, Italy                                           ❑ Disputed
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number

3.319 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $0.00
                                                                       Check all that apply.
         Myidfi LLC
                                                                       ❑ Contingent
         141 Sioux Drive                                               ❑ Unliquidated
                                                                       ❑ Disputed
         Hailey, ID 83333
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $12,000.00
3.320                                                                  Check all that apply.
         Myocene
                                                                       ❑ Contingent
         Quai Banning 6                                                ❑ Unliquidated
                                                                       ❑ Disputed
         4000 Lige, Belgium,
                                                                                            We did not get any of the
                                                                                            services (training, pitch
         Date or dates debt was incurred                                                    review, introduction to
                                                                                            investors) we paid this
         Last 4 digits of account number                               Basis for the claim: amount for.
                                                                       Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
                                                                       ❑ Yes




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3.321 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            unknown
                                                                       Check all that apply.
         Nadejda Aseeva
                                                                       ❑ Contingent
         12604 Duckcreek Ct.                                           ❑ Unliquidated
                                                                       ❑ Disputed
         Austin, TX 78729
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.322 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $2,500.00
                                                                       Check all that apply.
         Nageswara Kondraganti
                                                                       ❑ Contingent
         12365 Willowgate Dr.                                          ❑ Unliquidated
                                                                       ❑ Disputed
         Frisco, TX 75035
                                                                       Basis for the claim: Rev. Share Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.323 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $50,000.00
                                                                       Check all that apply.
         Nainesh Patel
                                                                       ❑ Contingent
         23 Nancy St.                                                  ❑ Unliquidated
                                                                       ❑ Disputed
         Kendall Park, NJ 08824
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      10/28/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $5,284.30
3.324                                                                  Check all that apply.
         Naishadh Saraiya
                                                                       ❑ Contingent
         1501 Anglebluff Lane                                          ❑ Unliquidated
                                                                       ❑ Disputed
         Plano, TX 75093
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/16/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number




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3.325 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $6,000.00
                                                                       Check all that apply.
         Nebulai Corp
                                                                       ❑ Contingent
         66 W Flagler St Suite 900                                     ❑ Unliquidated
                                                                       ❑ Disputed
         Miami, FL 33130
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.326 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $19,983.88
                                                                       Check all that apply.
         Nemanja Milosevic
                                                                       ❑ Contingent
         Lange Zeile 12,                                               ❑ Unliquidated
         90419 Nuremberg                                               ❑ Disputed
         Germany                                                       Basis for the claim: Revenue Shareholder
                                                                       Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
                                                                       ❑ Yes

         Date or dates debt was incurred      09/01/2022

         Last 4 digits of account number

3.327 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $7,500.00
                                                                       Check all that apply.
         Nerra Ltd
                                                                       ❑ Contingent
         94 Whitehaven Road                                            ❑ Unliquidated
         Glendowie                                                     ❑ Disputed
         Auckland 1071, New Zealand                                    Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
                                                                       ❑ Yes

         Date or dates debt was incurred

         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $6,000.00
3.328                                                                  Check all that apply.
         Neurologik FZE
                                                                       ❑ Contingent
         Za Obchody 846                                                ❑ Unliquidated
                                                                       ❑ Disputed
         Neratovice 27711 Czech Republic,
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes




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3.329 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $7,000.00
                                                                       Check all that apply.
         NeuroTech Group AI Ltd
                                                                       ❑ Contingent
         5a Bear Lane                                                  ❑ Unliquidated
                                                                       ❑ Disputed
         London SE1 OUH, UK,
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.330 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $6,500.00
                                                                       Check all that apply.
         NeuroTech Group AI Ltd
                                                                       ❑ Contingent
         5a Bear Lane                                                  ❑ Unliquidated
                                                                       ❑ Disputed
         London SE1 OUH, UK,
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.331 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $9,000.00
                                                                       Check all that apply.
         New Growth Brands, Inc.
                                                                       ❑ Contingent
         Attn: Alastair James                                          ❑ Unliquidated
                                                                       ❑ Disputed
         3305 Bellaire Park Ct                                         Basis for the claim: Investor Note
         Fort Worth, TX 76109                                          Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $9,000.00
3.332                                                                  Check all that apply.
         New Growth Brands, Inc.
                                                                       ❑ Contingent
         Attn: Alastair James                                          ❑ Unliquidated
                                                                       ❑ Disputed
         3305 Bellaire Park Ct                                         Basis for the claim: Investor Note
         Fort Worth, TX 76109                                          Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number




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3.333 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $2,500.00
                                                                       Check all that apply.
         Nic Hickox
                                                                       ❑ Contingent
         4301 W. William Cannon Dr. STE B-150 #107                     ❑ Unliquidated
                                                                       ❑ Disputed
         Austin, TX 78749
                                                                       Basis for the claim: Rev. Share Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.334 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $2,500.00
                                                                       Check all that apply.
         Nicholas J Hickox
                                                                       ❑ Contingent
         4301 W William Cannon Drive Suite B-150 #107                  ❑ Unliquidated
                                                                       ❑ Disputed
         Austin, TX 78749
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.335 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $2,500.00
                                                                       Check all that apply.
         Nick Farrenkopf
                                                                       ❑ Contingent
         34904 Oyster Bay Ter                                          ❑ Unliquidated
                                                                       ❑ Disputed
         Fremont, CA 94555
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $6,000.00
3.336                                                                  Check all that apply.
         Niobium LLC
                                                                       ❑ Contingent
         12204 FM 1826                                                 ❑ Unliquidated
                                                                       ❑ Disputed
         Austin, TX 78737
                                                                       Basis for the claim:
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes




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3.337 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $5,000.00
                                                                       Check all that apply.
         Nirmalbhai C Patel
                                                                       ❑ Contingent
         52 Meadow Brook Rd.                                           ❑ Unliquidated
                                                                       ❑ Disputed
         Edison, NJ 08837
                                                                       Basis for the claim: 8400Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      09/01/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.338 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $7,500.00
                                                                       Check all that apply.
         Novogiene Inc
                                                                       ❑ Contingent
         226 Mira Vista                                                ❑ Unliquidated
                                                                       ❑ Disputed
         Santa Cruz, CA 95060
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.339 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $6,000.00
                                                                       Check all that apply.
         NSure Labs Ltd
                                                                       ❑ Contingent
         15 HaZvi                                                      ❑ Unliquidated
                                                                       ❑ Disputed
         Jerusalem, Israel 9438622,
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $7,500.00
3.340                                                                  Check all that apply.
         Nvzn Augmented Reality Corp
                                                                       ❑ Contingent
         PO Box 10024                                                  ❑ Unliquidated
                                                                       ❑ Disputed
         Deerfield, IL 60015
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes




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3.341 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $7,500.00
                                                                       Check all that apply.
         Obbrey Makundi
                                                                       ❑ Contingent
         PO Box 6954                                                   ❑ Unliquidated
                                                                       ❑ Disputed
         Msasani,
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.342 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $5,000.00
                                                                       Check all that apply.
         OffWeGo Inc
                                                                       ❑ Contingent
         201 N. Union Street Suite 110 #19995                          ❑ Unliquidated
                                                                       ❑ Disputed
         Alexandria, VA 22314
                                                                       Basis for the claim:
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.343 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $6,000.00
                                                                       Check all that apply.
         Ok Away Pty Ltd
                                                                       ❑ Contingent
         Level 21, 55 Collins Street                                   ❑ Unliquidated
                                                                       ❑ Disputed
         Melbourne, Victoria, Australia, MA 3147,
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $8,000.00
3.344                                                                  Check all that apply.
         Olivia Kim
                                                                       ❑ Contingent
         2748 Bayberry Way                                             ❑ Unliquidated
                                                                       ❑ Disputed
         Fullerton, CA 92833
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes




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3.345 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $7,500.00
                                                                       Check all that apply.
         Optifold
                                                                       ❑ Contingent
         5900 Yonge Street Suite 807                                   ❑ Unliquidated
                                                                       ❑ Disputed
         North York, Ontario, M2M 3T8, Canada,
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.346 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $7,500.00
                                                                       Check all that apply.
         ORDEREZ PTE LTD
                                                                       ❑ Contingent
         PO Box 93169                                                  ❑ Unliquidated
                                                                       ❑ Disputed
         Omaha, NE 68154
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.347 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $7,500.00
                                                                       Check all that apply.
         Our Watch Leads - OWL, Lda
                                                                       ❑ Contingent
         Rua Pedro Nunes                                               ❑ Unliquidated
         Incubadora IPN Block C                                        ❑ Disputed
         3030-199 Coimbra, Portugal                                    Basis for the claim: Investor Note
         Pedro Resende
                                                                       Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
                                                                       ❑ Yes


         Date or dates debt was incurred

         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $10,000.00
3.348                                                                  Check all that apply.
         Paul and Mary Wilcox
                                                                       ❑ Contingent
         380 Columbus Ave. #1                                          ❑ Unliquidated
                                                                       ❑ Disputed
         Boston, MA 02116
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/11/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number




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3.349 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $5,000.00
                                                                       Check all that apply.
         Paul and Mary Wilcox
                                                                       ❑ Contingent
         380 Columbus Ave. #1                                          ❑ Unliquidated
                                                                       ❑ Disputed
         Boston, MA 02116
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.350 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $2,000.00
                                                                       Check all that apply.
         Paul Curbo
                                                                       ❑ Contingent
         3702 Crestline Road                                           ❑ Unliquidated
                                                                       ❑ Disputed
         Fort Worth, TX 76107
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.351 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $5,000.00
                                                                       Check all that apply.
         Paul Kellam
                                                                       ❑ Contingent
         112 Pinnacle Road                                             ❑ Unliquidated
                                                                       ❑ Disputed
         Ellington, CT 06029
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $20,000.00
3.352                                                                  Check all that apply.
         Pebble Labs Inc
                                                                       ❑ Contingent
         c/o Steve Ofstehage                                           ❑ Unliquidated
                                                                       ❑ Disputed
         100 Entrada Drive                                             Basis for the claim: Investor Note
         Los Alamos, NM 87544                                          Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Date or dates debt was incurred

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3.353 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $272.50
                                                                       Check all that apply.
         Peeyush Shrivastava
                                                                       ❑ Contingent
         975 Manhattan Blvd Apartment 3311                             ❑ Unliquidated
                                                                       ❑ Disputed
         Dayton, KY 41074
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.354 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $1,000.00
                                                                       Check all that apply.
         Petr Zaytsev
                                                                       ❑ Contingent
         3632 Carlisle Dr                                              ❑ Unliquidated
                                                                       ❑ Disputed
         Durham, NC 27707
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/11/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.355 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $10,000.00
                                                                       Check all that apply.
         Petr Zaytsev
                                                                       ❑ Contingent
         3632 Carlisle Dr                                              ❑ Unliquidated
                                                                       ❑ Disputed
         Durham, NC 27707
                                                                       Basis for the claim: Rev. Share Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $6,000.00
3.356                                                                  Check all that apply.
         Pigee Inc
                                                                       ❑ Contingent
         8 The Green Suite #13419                                      ❑ Unliquidated
                                                                       ❑ Disputed
         Dover, DE 19901
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes




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3.357 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $7,985.00
                                                                       Check all that apply.
         Pipra AG
                                                                       ❑ Contingent
         c/o Bluelion                                                  ❑ Unliquidated
                                                                       ❑ Disputed
         219 Josefstrasse                                              Basis for the claim: Investor Note
         8005 Zurich, Switzerland,                                     Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number

3.358 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $8,000.00
                                                                       Check all that apply.
         PixelFree Studio
                                                                       ❑ Contingent
         c/o Solomon Hartmann                                          ❑ Unliquidated
                                                                       ❑ Disputed
         8018 Laurel Ridge Court                                       Basis for the claim: Investor Note
         Delray Beach, FL 33446                                        Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number

3.359 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $20,000.00
                                                                       Check all that apply.
         Plant People PBC
                                                                       ❑ Contingent
         406 South Park Ave                                            ❑ Unliquidated
                                                                       ❑ Disputed
         Austin, TX 78704
                                                                       Basis for the claim: Investments
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $12,000.00
3.360                                                                  Check all that apply.
         Pneumeric, Inc.
                                                                       ❑ Contingent
         ATTN: Johnathon Aho                                           ❑ Unliquidated
                                                                       ❑ Disputed
         823 4th St SW                                                 Basis for the claim: Investor Note
         Rochester, MN 55902                                           Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Date or dates debt was incurred

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3.361 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $7,500.00
                                                                       Check all that apply.
         Prismatext Inc
                                                                       ❑ Contingent
         800 W 10th Avenue                                             ❑ Unliquidated
                                                                       ❑ Disputed
         Anchorage, AK 99501
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.362 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $9,000.00
                                                                       Check all that apply.
         Proc12 Inc
                                                                       ❑ Contingent
         9601 Ridge Walk Court                                         ❑ Unliquidated
                                                                       ❑ Disputed
         Fort Lauderdale, FL 33328
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.363 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $20,000.00
                                                                       Check all that apply.
         Protein Fluidics Inc
                                                                       ❑ Contingent
         875_B Cowan Rd                                                ❑ Unliquidated
                                                                       ❑ Disputed
         Burlingame, CA 94010
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $12,000.00
3.364                                                                  Check all that apply.
         Qliktag Software Inc.
                                                                       ❑ Contingent
         120 Newport Center Drive Suite 100                            ❑ Unliquidated
                                                                       ❑ Disputed
         Newport Beach, CA 92660
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes




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3.365 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $7,500.00
                                                                       Check all that apply.
         QRerve LLC
                                                                       ❑ Contingent
         6416 Wynkoop Street                                           ❑ Unliquidated
                                                                       ❑ Disputed
         Los Angeles, CA 90045
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.366 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $3,000.00
                                                                       Check all that apply.
         Quest Mock
                                                                       ❑ Contingent
         5629 N Lamar Blvd Apt 340                                     ❑ Unliquidated
                                                                       ❑ Disputed
         Austin, TX 78751
                                                                       Basis for the claim: Wage Claim
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.367 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $9,000.00
                                                                       Check all that apply.
         Raise a Hood, Inc
                                                                       ❑ Contingent
         Attn: Michael Petersen                                        ❑ Unliquidated
                                                                       ❑ Disputed
         19275 Walden Trail                                            Basis for the claim: Investor Note
         Wayzata, MN 55391                                             Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $2,500.00
3.368                                                                  Check all that apply.
         Rajamani Ganesh
                                                                       ❑ Contingent
         13895 Clatsop Way                                             ❑ Unliquidated
                                                                       ❑ Disputed
         San Diego, CA 92129
                                                                       Basis for the claim: Rev. Share Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes




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3.369 Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:            $1,000.00
                                                                         Check all that apply.
         Rakesh Bhimaraddi Sasvihalli
                                                                         ❑ Contingent
         #132, SRIGANDHA, VINAYAK COLONY,                                ❑ Unliquidated
         VIDYANAGAR                                                      ❑ Disputed
         HUBLI, 580031                                                   Basis for the claim: Lender
                                                                         Is the claim subject to offset?
                                                                         ✔ No
                                                                         ❑
                                                                         ❑ Yes

         Date or dates debt was incurred         08/23/2022

         Last 4 digits of account number

3.370 Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:            $10,000.00
                                                                         Check all that apply.
         Ralph J Ehrman
                                                                         ❑ Contingent
         1862 Marne Road                                                 ❑ Unliquidated
                                                                         ❑ Disputed
         Bolingbrook, IL 60490
                                                                         Basis for the claim: Investor Note
                                                                         Is the claim subject to offset?
         Date or dates debt was incurred                                 ✔ No
                                                                         ❑
         Last 4 digits of account number
                                                                         ❑ Yes

3.371 Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:            $8,000.00
                                                                         Check all that apply.
         Ranui Samuels
                                                                         ❑ Contingent
         20 Cook St,                                                     ❑ Unliquidated
         Gate Pa Tauranga 3112                                           ❑ Disputed
         New Zealand                                                     Basis for the claim: Investor Note
                                                                         Is the claim subject to offset?
                                                                         ✔ No
                                                                         ❑
                                                                         ❑ Yes

         Date or dates debt was incurred

         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:            $12,000.00
3.372                                                                    Check all that apply.
         Ravi Kiran Goli
                                                                         ❑ Contingent
         31-7-26/1A, 2nd Floor, Rajaji Sgtreet                           ❑ Unliquidated
                                                                         ❑ Disputed
         Kakinada, India,
                                                                         Basis for the claim: Investor Note
                                                                         Is the claim subject to offset?
         Date or dates debt was incurred                                 ✔ No
                                                                         ❑
         Last 4 digits of account number
                                                                         ❑ Yes




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3.373 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $7,500.00
                                                                       Check all that apply.
         RenewIT360
                                                                       ❑ Contingent
         3 Via Apuesto                                                 ❑ Unliquidated
                                                                       ❑ Disputed
         San Clemente, CA 92673
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.374 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $8,000.00
                                                                       Check all that apply.
         Resolute Future
                                                                       ❑ Contingent
         4070 Clover Lane                                              ❑ Unliquidated
                                                                       ❑ Disputed
         Dallas, TX 75220
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.375 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $7,500.00
                                                                       Check all that apply.
         Retentacle Inc.
                                                                       ❑ Contingent
         525 Pine Ridge Rd                                             ❑ Unliquidated
                                                                       ❑ Disputed
         Pickering, Ontario L1W 2M6 Canada,
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $7,000.00
3.376                                                                  Check all that apply.
         Revitalive s.r.o.
                                                                       ❑ Contingent
         Svejcarovo namesti 5                                          ❑ Unliquidated
         155 00, Prague                                                ❑ Disputed
         Czech Republic                                                Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
                                                                       ❑ Yes

         Date or dates debt was incurred

         Last 4 digits of account number




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3.377 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $25,000.00
                                                                       Check all that apply.
         Richard Ditter
                                                                       ❑ Contingent
         9449 Poplar Ave                                               ❑ Unliquidated
                                                                       ❑ Disputed
         Germantown, TN 38138
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/18/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.378 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $4,803.84
                                                                       Check all that apply.
         Richard Litzky
                                                                       ❑ Contingent
         5158 Forest Brook Pkwy                                        ❑ Unliquidated
                                                                       ❑ Disputed
         Marietta, GA 30068
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/23/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.379 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $4,000.00
                                                                       Check all that apply.
         Richard Nilsson
                                                                       ❑ Contingent
         Gran Via 577, BX2                                             ❑ Unliquidated
                                                                       ❑ Disputed
         Barcelona 08011, Spain,
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $10,000.00
3.380                                                                  Check all that apply.
         Richard Pottin
                                                                       ❑ Contingent
         312 - 6380 Buswell Street                                     ❑ Unliquidated
         Richmond, BC                                                  ❑ Disputed
         V6Y 2G2                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
                                                                       ❑ Yes

         Date or dates debt was incurred      08/19/2022

         Last 4 digits of account number




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3.381 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $10,000.00
                                                                       Check all that apply.
         Richard Pottin
                                                                       ❑ Contingent
         312 - 6380 Buswell Street                                     ❑ Unliquidated
         Richmond, BC                                                  ❑ Disputed
         V6Y 2G2                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
                                                                       ❑ Yes

         Date or dates debt was incurred      11/08/2022

         Last 4 digits of account number

3.382 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $3,000.00
                                                                       Check all that apply.
         Richard S Mackin Jr
                                                                       ❑ Contingent
         1639 Glasgo Rd.                                               ❑ Unliquidated
                                                                       ❑ Disputed
         Griswold, CT 06351
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/30/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.383 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $2,500.00
                                                                       Check all that apply.
         Robert A Faubion
                                                                       ❑ Contingent
         4801 Springdale Road #2108                                    ❑ Unliquidated
                                                                       ❑ Disputed
         Austin, TX 78723
                                                                       Basis for the claim: Services Performed
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $15,000.00
3.384                                                                  Check all that apply.
         Robert Bruce
                                                                       ❑ Contingent
         7077 N Mason Ave.                                             ❑ Unliquidated
                                                                       ❑ Disputed
         Chicago, IL 60646
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      11/05/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number




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3.385 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $6,000.00
                                                                       Check all that apply.
         Robert Casinover (The Build)
                                                                       ❑ Contingent
         2 Hidden Pond                                                 ❑ Unliquidated
                                                                       ❑ Disputed
         Glen Head, NY 11545
                                                                       Basis for the claim:
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.386 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $3,725.00
                                                                       Check all that apply.
         Robert DaLee
                                                                       ❑ Contingent
         1388 Al Seier Road                                            ❑ Unliquidated
                                                                       ❑ Disputed
         Birmingham, AL 35226
                                                                       Basis for the claim: Wage Claim
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.387 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $6,000.00
                                                                       Check all that apply.
         Rohit Augustus D'Silva
                                                                       ❑ Contingent
         13-14952 58 Avenue                                            ❑ Unliquidated
                                                                       ❑ Disputed
         Surrey, BC V3S 9J2 Canada,
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $42,285.64
3.388                                                                  Check all that apply.
         Roosevelt Scott
                                                                       ❑ Contingent
         802 Hawk View Court                                           ❑ Unliquidated
                                                                       ❑ Disputed
         Fairview Heights, IL 62208
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/11/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number




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3.389 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $2,005.40
                                                                       Check all that apply.
         Ross Wigle
                                                                       ❑ Contingent
         168 Charterhouse Cres.                                        ❑ Unliquidated
         Ancaster, ON                                                  ❑ Disputed
         Canada L9G 4M5                                                Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
                                                                       ❑ Yes

         Date or dates debt was incurred      08/16/2022

         Last 4 digits of account number

3.390 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $10,000.00
                                                                       Check all that apply.
         Rushi Ukani
                                                                       ❑ Contingent
         8 Koster Blvd. Apt. 6A                                        ❑ Unliquidated
                                                                       ❑ Disputed
         Edison, NJ 08837
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/31/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.391 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $3,000.00
                                                                       Check all that apply.
         Ruth Griffith and Anthony Griffith
                                                                       ❑ Contingent
         96 Puunoa Pl.                                                 ❑ Unliquidated
                                                                       ❑ Disputed
         Lahaina, HI 96761
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/11/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $2,500.00
3.392                                                                  Check all that apply.
         Ruth Griffith and Anthony Griffith
                                                                       ❑ Contingent
         96 Puunoa Pl.                                                 ❑ Unliquidated
                                                                       ❑ Disputed
         Lahaina, HI 96761
                                                                       Basis for the claim: Rev. Share Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes




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3.393 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $3,000.00
                                                                       Check all that apply.
         Ryan Burt
                                                                       ❑ Contingent
         18115 59th Ave N.                                             ❑ Unliquidated
                                                                       ❑ Disputed
         Minneapolis, MN 55446
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      09/02/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.394 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $2,000.00
                                                                       Check all that apply.
         Ryan Burt
                                                                       ❑ Contingent
         18115 59th Ave N.                                             ❑ Unliquidated
                                                                       ❑ Disputed
         Minneapolis, MN 55446
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/27/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.395 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $7,500.00
                                                                       Check all that apply.
         Ryan Burt
                                                                       ❑ Contingent
         18115 59th Ave N.                                             ❑ Unliquidated
                                                                       ❑ Disputed
         Minneapolis, MN 55446
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      11/23/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $2,500.00
3.396                                                                  Check all that apply.
         Ryan Hall
                                                                       ❑ Contingent
         6053 Big Pond Trl                                             ❑ Unliquidated
                                                                       ❑ Disputed
         Grovetown, GA 30813
                                                                       Basis for the claim: Rev. Share Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes




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3.397 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $4,315.00
                                                                       Check all that apply.
         Ryan McCarthy
                                                                       ❑ Contingent
         4801 S Congress Ave #B5                                       ❑ Unliquidated
                                                                       ❑ Disputed
         Austin, TX 78745
                                                                       Basis for the claim: Wage Claim
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.398 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $2,333.33
                                                                       Check all that apply.
         Ryan Stewart
                                                                       ❑ Contingent
         2 Mill Falls Road                                             ❑ Unliquidated
                                                                       ❑ Disputed
         Suncook, NH 03275
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.399 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $2,500.00
                                                                       Check all that apply.
         S. Joseph Margle IV
                                                                       ❑ Contingent
         25 Waters Edge Circle Apt #935                                ❑ Unliquidated
                                                                       ❑ Disputed
         Georgetown, TX 78626
                                                                       Basis for the claim: Wage Claim
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $24,600.00
3.400                                                                  Check all that apply.
         Saifon Chang
                                                                       ❑ Contingent
         5822 E. Wildrose Dr.                                          ❑ Unliquidated
                                                                       ❑ Disputed
         Orange, CA 92867
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/30/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
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3.401 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $38,795.00
                                                                       Check all that apply.
         Salvatore Pepe
                                                                       ❑ Contingent
         1011 Schindler Dr.                                            ❑ Unliquidated
                                                                       ❑ Disputed
         Silver Spring, MD 20903
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/18/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.402 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $2,000.00
                                                                       Check all that apply.
         Sam Simonovich
                                                                       ❑ Contingent
         128 Prince St #35                                             ❑ Unliquidated
                                                                       ❑ Disputed
         Tappahannock, VA 22560
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.403 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $17,500.00
                                                                       Check all that apply.
         Samuel Egwu
                                                                       ❑ Contingent
         NO 45 Anite Street                                            ❑ Unliquidated
                                                                       ❑ Disputed
         Okota Isolo, Lago, LA 10000-45,
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $3,000.00
3.404                                                                  Check all that apply.
         Samuel Esau Goldman
                                                                       ❑ Contingent
         2129 Grand Oaks Ave.                                          ❑ Unliquidated
                                                                       ❑ Disputed
         Altadena, CA 91001
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/12/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
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3.405 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $1,500.00
                                                                       Check all that apply.
         Sanjay Pinnock
                                                                       ❑ Contingent
         7275 Leonard Street                                           ❑ Unliquidated
                                                                       ❑ Disputed
         Philadelphia, PA 19149
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/12/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.406 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $15,000.00
                                                                       Check all that apply.
         Sanjay V Patel
                                                                       ❑ Contingent
         17199 Carrotwood Dr.                                          ❑ Unliquidated
                                                                       ❑ Disputed
         Riverside, CA 92503
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/11/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.407 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $10,000.00
                                                                       Check all that apply.
         Sarah Bailey
                                                                       ❑ Contingent
         866 SW 180th Terrace                                          ❑ Unliquidated
                                                                       ❑ Disputed
         Hollywood, FL 33029
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $2,500.00
3.408                                                                  Check all that apply.
         Sedjin Alka
                                                                       ❑ Contingent
         203 West Sealy Ave.                                           ❑ Unliquidated
                                                                       ❑ Disputed
         Alvin, TX 77511
                                                                       Basis for the claim: Rev. Share Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes




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3.409 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $486,318.88
                                                                       Check all that apply.
         Shaila Patel
                                                                       ❑ Contingent
         1110 Windsor Park Ct                                          ❑ Unliquidated
                                                                       ❑ Disputed
         Englewood, NJ 07631
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.410 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $4,200.00
                                                                       Check all that apply.
         Shankar Narayanan Shankar Ganpathy
                                                                       ❑ Contingent
         6820 Preston Road Apt. 225                                    ❑ Unliquidated
                                                                       ❑ Disputed
         Plano, TX 75024
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/12/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.411 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $6,000.00
                                                                       Check all that apply.
         Shark Ai Capital Corporation
                                                                       ❑ Contingent
         2309 Noriega Street #86                                       ❑ Unliquidated
                                                                       ❑ Disputed
         San Francisco, CA 94122
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $2,888.00
3.412                                                                  Check all that apply.
         Sheyla Felix
                                                                       ❑ Contingent
         31 Avenue Lonard de Vinci                                     ❑ Unliquidated
                                                                       ❑ Disputed
         Courbevoie 92400,
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes




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3.413 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $7,000.00
                                                                       Check all that apply.
         Sleep Easy Technology Inc
                                                                       ❑ Contingent
         PO Box 160                                                    ❑ Unliquidated
                                                                       ❑ Disputed
         South Bend, IN 46617
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.414 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $12,000.00
                                                                       Check all that apply.
         SmartBreast Corp
                                                                       ❑ Contingent
         14930 Ventura Blvd Ste 325                                    ❑ Unliquidated
                                                                       ❑ Disputed
         Sherman Oaks, CA 91403
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.415 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $18,676.32
                                                                       Check all that apply.
         SoftDsk, LLC
                                                                       ❑ Contingent
         PO Box 5963                                                   ❑ Unliquidated
                                                                       ❑ Disputed
         Plant City, FL 33563
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/18/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $5,000.00
3.416                                                                  Check all that apply.
         Spencer Diner
                                                                       ❑ Contingent
         4261 South Pearl Street                                       ❑ Unliquidated
                                                                       ❑ Disputed
         Englewood, CO 80013
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/12/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number




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3.417 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $7,500.00
                                                                       Check all that apply.
         SRIYA DXI LLC
                                                                       ❑ Contingent
         7975 Inverness Way                                            ❑ Unliquidated
                                                                       ❑ Disputed
         Duluth, GA 30097
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.418 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $42,708.22
                                                                       Check all that apply.
         Stephen Berger
                                                                       ❑ Contingent
         64 Northland Rd                                               ❑ Unliquidated
                                                                       ❑ Disputed
         Windham, NH 03087
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/22/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.419 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            unknown
                                                                       Check all that apply.
         Steven Deane-Shinbrot
                                                                       ❑ Contingent
         21 NE 22nd Street Apt 614                                     ❑ Unliquidated
                                                                       ❑ Disputed
         Miami, FL 33137
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $4,100.00
3.420                                                                  Check all that apply.
         Steven Keyser
                                                                       ❑ Contingent
         106 Beeston Court                                             ❑ Unliquidated
                                                                       ❑ Disputed
         Cary, NC 27519
                                                                       Basis for the claim: Services Performed
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes




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3.421 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $162,318.00
                                                                       Check all that apply.
         Stripe Capital
                                                                       ❑ Contingent
         185 Berry St. #550                                            ❑ Unliquidated
                                                                       ❑ Disputed
         San Francisco, CA 94107
                                                                       Basis for the claim: A/R
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      8/27/2020                ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.422 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $6,000.00
                                                                       Check all that apply.
         Style Konsult Inc
                                                                       ❑ Contingent
         31 W. 34th St 7Fl                                             ❑ Unliquidated
                                                                       ❑ Disputed
         New York, NY 10001
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.423 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $6,000.00
                                                                       Check all that apply.
         Superbutler Limited
                                                                       ❑ Contingent
         Reception A                                                   ❑ Unliquidated
                                                                       ❑ Disputed
         Aston Seedbed Centre Avenue Road                              Basis for the claim: Investor Note
         B7 4NT, Birmingham, UK,                                       Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $5,000.00
3.424                                                                  Check all that apply.
         Surajkumar Virendra Gupta
                                                                       ❑ Contingent
         Flat Number 1002, Building 3, Atlanta Residency               ❑ Unliquidated
                                                                       ❑ Disputed
         Anjurphata, Bhiwandi, Thane, Maharashtra, India,
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes




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3.425 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $375,000.00
                                                                       Check all that apply.
         Surrounded In Austin, LLC
                                                                       ❑ Contingent
         161 Brighton Lane                                             ❑ Unliquidated
                                                                       ❑ Disputed
         Austin, TX 78737
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.426 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $1,000.00
                                                                       Check all that apply.
         Talent Dube
                                                                       ❑ Contingent
         8/100 Wittenoom Rd.                                           ❑ Unliquidated
         High Wycombe, WA 6057                                         ❑ Disputed
         (Perth, Australia)                                            Basis for the claim: Lender
                                                                       Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
                                                                       ❑ Yes

         Date or dates debt was incurred      08/13/2022

         Last 4 digits of account number

3.427 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $26,800.00
                                                                       Check all that apply.
         Tammy Hong
                                                                       ❑ Contingent
         12407 Bexley Dr.                                              ❑ Unliquidated
                                                                       ❑ Disputed
         Houston, TX 77099
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/30/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $7,500.00
3.428                                                                  Check all that apply.
         Tappr App Pty Ltd
                                                                       ❑ Contingent
         53 Jacaranda Drive                                            ❑ Unliquidated
                                                                       ❑ Disputed
         Mooloolaba, Queensland, 4557, Australia,
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes




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3.429 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $8,000.00
                                                                       Check all that apply.
         Target Mobility GMBH
                                                                       ❑ Contingent
         Eiderstedter Weg 5B                                           ❑ Unliquidated
                                                                       ❑ Disputed
         Berlin, Germany 14129,
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.430 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $40,853.00
                                                                       Check all that apply.
         Tarunkumar Patel
                                                                       ❑ Contingent
         10 Dillion Court                                              ❑ Unliquidated
                                                                       ❑ Disputed
         Exton, PA 19341
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.431 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $59,166.66
                                                                       Check all that apply.
         The Hochman Family Trust
                                                                       ❑ Contingent
         6104 Sierra Arbor Ct.                                         ❑ Unliquidated
                                                                       ❑ Disputed
         Austin, TX 78759
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/23/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $6,000.00
3.432                                                                  Check all that apply.
         The Wholesome Bowl Pty Ltd
                                                                       ❑ Contingent
         26 Cambanora Place                                            ❑ Unliquidated
                                                                       ❑ Disputed
         Mooroobool 4870, Queensland, Australia,
                                                                       Basis for the claim:
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes




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3.433 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $52,117.48
                                                                       Check all that apply.
         Thomas Dolezal
                                                                       ❑ Contingent
         1166 Pitkin Ave.                                              ❑ Unliquidated
                                                                       ❑ Disputed
         Akron, OH 44310
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/11/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.434 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $10,000.00
                                                                       Check all that apply.
         Thomas E. Canty
                                                                       ❑ Contingent
         7592 Mona Ln.                                                 ❑ Unliquidated
                                                                       ❑ Disputed
         San Diego, CA 92130
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/12/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.435 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $3,500.00
                                                                       Check all that apply.
         Thomas Kinne
                                                                       ❑ Contingent
         10500 S I-35 Frontage Road Apt 6207                           ❑ Unliquidated
                                                                       ❑ Disputed
         Austin, TX 78748
                                                                       Basis for the claim: Wage Claim
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $5,458.00
3.436                                                                  Check all that apply.
         Thomas Mueller
                                                                       ❑ Contingent
         9571 Crestwood Lane                                           ❑ Unliquidated
                                                                       ❑ Disputed
         Anaheim, CA 92804
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/23/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number      1   0   9    5




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3.437 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $2,500.00
                                                                       Check all that apply.
         Thomas Mueller
                                                                       ❑ Contingent
         9571 Crestwood Lane                                           ❑ Unliquidated
                                                                       ❑ Disputed
         Anaheim, CA 92804
                                                                       Basis for the claim: Rev. Share Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.438 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $50,000.00
                                                                       Check all that apply.
         Timothy C. Taylor, Sr
                                                                       ❑ Contingent
         P.O. Box 5371                                                 ❑ Unliquidated
                                                                       ❑ Disputed
         Austin, TX 78763
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/11/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.439 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $15,220.00
                                                                       Check all that apply.
         Trent Gifford dba LGCC, LLC
                                                                       ❑ Contingent
         7545 Valley Point Trail                                       ❑ Unliquidated
                                                                       ❑ Disputed
         Nisswa, MN 56468
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $1,500.00
3.440                                                                  Check all that apply.
         Trevor Byrum
                                                                       ❑ Contingent
         10221 Mayfield Rd                                             ❑ Unliquidated
                                                                       ❑ Disputed
         Houston, TX 77043
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes




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3.441 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $2,715.00
                                                                       Check all that apply.
         Trey Griffin
                                                                       ❑ Contingent
         224 Shirley Drive                                             ❑ Unliquidated
                                                                       ❑ Disputed
         Buda, TX 78610
                                                                       Basis for the claim: Wage Claim
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.442 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $53,163.46
                                                                       Check all that apply.
         Trey Griffin
                                                                       ❑ Contingent
         224 Shirley Drive                                             ❑ Unliquidated
                                                                       ❑ Disputed
         Buda, TX 78610
                                                                                            Shares in Astralabs
                                                                       Basis for the claim: (3,493)
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes
3.443 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $500,000.00
                                                                       Check all that apply.
         U.S. Small Business Administration
                                                                       ❑ Contingent
         1545 Hawkins Blvd 202                                         ❑ Unliquidated
                                                                       ❑ Disputed
         El Paso, TX 79925
                                                                       Basis for the claim: EIDL Loan
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      12/20/2021               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number      7   4   0    4

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $20,000.00
3.444                                                                  Check all that apply.
         UCROP.IT LLC
                                                                       ❑ Contingent
         16192 Coastal Highway                                         ❑ Unliquidated
                                                                       ❑ Disputed
         Lewes, DE 19958
                                                                       Basis for the claim:
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes




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3.445 Nonpriority creditor’s name and mailing address                     As of the petition filing date, the claim is:            $2,738.56
                                                                          Check all that apply.
         Vaidehi Tembhekar
                                                                          ❑ Contingent
         6012 Tallow Lane                                                 ❑ Unliquidated
                                                                          ❑ Disputed
         Frisco, TX 75036
                                                                          Basis for the claim: Investor Note
                                                                          Is the claim subject to offset?
         Date or dates debt was incurred                                  ✔ No
                                                                          ❑
         Last 4 digits of account number
                                                                          ❑ Yes

3.446 Nonpriority creditor’s name and mailing address                     As of the petition filing date, the claim is:            $10,000.00
                                                                          Check all that apply.
         Verbato Inc
                                                                          ❑ Contingent
         1116 Chelsea Avenue Unit 6                                       ❑ Unliquidated
                                                                          ❑ Disputed
         Santa Monica, CA 90403
                                                                          Basis for the claim: Investor Note
                                                                          Is the claim subject to offset?
         Date or dates debt was incurred                                  ✔ No
                                                                          ❑
         Last 4 digits of account number
                                                                          ❑ Yes

3.447 Nonpriority creditor’s name and mailing address                     As of the petition filing date, the claim is:            $10,000.00
                                                                          Check all that apply.
         Victoria Lerner, Trustee, Lerner Living Trust
                                                                          ❑ Contingent
         11758 Crescenda Street                                           ❑ Unliquidated
                                                                          ❑ Disputed
         Los Angeles, CA 90049
                                                                          Basis for the claim: Investor Note
                                                                          Is the claim subject to offset?
         Date or dates debt was incurred      08/31/2022                  ✔ No
                                                                          ❑
                                                                          ❑ Yes
         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $1,100.00
3.448                                                                     Check all that apply.
         Vikas O'Reilly-Shah
                                                                          ❑ Contingent
         4118 42nd Ave NE                                                 ❑ Unliquidated
                                                                          ❑ Disputed
         Seattle, WA 98105
                                                                          Basis for the claim: Investor Note
                                                                          Is the claim subject to offset?
         Date or dates debt was incurred                                  ✔ No
                                                                          ❑
         Last 4 digits of account number
                                                                          ❑ Yes




Official Form 206E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                 page 113 of 121
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Debtor      ASTRALABS Inc                                                                              Case number (if known)        23-10164
            Name




 Part 2: Additional Page

3.449 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $10,000.00
                                                                       Check all that apply.
         Vincent Goveas
                                                                       ❑ Contingent
         1251 Weathersfield Way                                        ❑ Unliquidated
                                                                       ❑ Disputed
         San Jose, CA 95118
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/30/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.450 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $5,000.00
                                                                       Check all that apply.
         Vincent Mach
                                                                       ❑ Contingent
         950 Windsong Court                                            ❑ Unliquidated
                                                                       ❑ Disputed
         Diamond Bar, CA 91765
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/18/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.451 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $1,000.00
                                                                       Check all that apply.
         Virgilio Yabut
                                                                       ❑ Contingent
         A & F Guaranteed Service, LLC                                 ❑ Unliquidated
                                                                       ❑ Disputed
         2 Meadow Lark Lane                                            Basis for the claim: Investor Note
         Franklin Park, NJ 08823                                       Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Date or dates debt was incurred      08/12/2022

         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $7,500.00
3.452                                                                  Check all that apply.
         WeConcile Inc
                                                                       ❑ Contingent
         PO Box 507                                                    ❑ Unliquidated
                                                                       ❑ Disputed
         Olga, WA 98279
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes




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Debtor      ASTRALABS Inc                                                                              Case number (if known)        23-10164
            Name




 Part 2: Additional Page

3.453 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $2,500.00
                                                                       Check all that apply.
         Wesley Kotcher
                                                                       ❑ Contingent
         39 S Main St.                                                 ❑ Unliquidated
                                                                       ❑ Disputed
         Rosedale, IN 47874
                                                                       Basis for the claim: Rev. Share Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.454 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $10,000.00
                                                                       Check all that apply.
         Wilfrid Jean-Francois
                                                                       ❑ Contingent
         2144 Oakwood Place                                            ❑ Unliquidated
                                                                       ❑ Disputed
         Elmont, NY 11003
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/21/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.455 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $7,981.05
                                                                       Check all that apply.
         William Adams
                                                                       ❑ Contingent
         11732 Reva Dr.                                                ❑ Unliquidated
                                                                       ❑ Disputed
         Garden Grove, CA 92840
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/12/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $2,000.00
3.456                                                                  Check all that apply.
         William P Daly III
                                                                       ❑ Contingent
         907 Lakewood Ct S                                             ❑ Unliquidated
                                                                       ❑ Disputed
         Maplewood, MN 55119
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/24/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number




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Debtor      ASTRALABS Inc                                                                              Case number (if known)        23-10164
            Name




 Part 2: Additional Page

3.457 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $110.00
                                                                       Check all that apply.
         William T Malley
                                                                       ❑ Contingent
         3 Nelson Road                                                 ❑ Unliquidated
                                                                       ❑ Disputed
         Rockland, MA 02370
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.458 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $5,000.00
                                                                       Check all that apply.
         WMW Partners Inc dba Metapyxl
                                                                       ❑ Contingent
         1720 Dekalb Ave                                               ❑ Unliquidated
                                                                       ❑ Disputed
         Brooklyn, NY 11237
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.459 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $12,000.00
                                                                       Check all that apply.
         Wofo Ltd
                                                                       ❑ Contingent
         155 Princes Street                                            ❑ Unliquidated
                                                                       ❑ Disputed
         Dunedin, New Zealand 9013,
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $25,000.00
3.460                                                                  Check all that apply.
         Yatinkumar Dodia
                                                                       ❑ Contingent
         1539 Streams Way                                              ❑ Unliquidated
                                                                       ❑ Disputed
         Allen, TX 75002
                                                                       Basis for the claim: Investor
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes




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            Name




 Part 2: Additional Page

3.461 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $500.00
                                                                       Check all that apply.
         Yemi Taiwo
                                                                       ❑ Contingent
         2931 Arbor Lane                                               ❑ Unliquidated
                                                                       ❑ Disputed
         Aurora, IL 60502
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.462 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $9,000.00
                                                                       Check all that apply.
         Yeshaya A Koblick
                                                                       ❑ Contingent
         11 Garden Street                                              ❑ Unliquidated
                                                                       ❑ Disputed
         Sharon, MA 02067
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.463 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $2,500.00
                                                                       Check all that apply.
         Yindjin Genggam Bersama
                                                                       ❑ Contingent
         Kota Kasablanca Office                                        ❑ Unliquidated
                                                                       ❑ Disputed
         88 Tebet, Jakarta, Selatan, Indonesia,
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $15,000.00
3.464                                                                  Check all that apply.
         York gin USA, Inc
                                                                       ❑ Contingent
         779 Oak Lane                                                  ❑ Unliquidated
                                                                       ❑ Disputed
         Sonoma, CA 95476
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes




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            Name




 Part 2: Additional Page

3.465 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $10,000.00
                                                                       Check all that apply.
         Zabel M. Miracle and Micheal J Miracle
                                                                       ❑ Contingent
         14 Chardonnay Drive                                           ❑ Unliquidated
                                                                       ❑ Disputed
         Holmdel, NJ 07733
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/19/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.466 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $55,967.62
                                                                       Check all that apply.
         Zachary Fuchs
                                                                       ❑ Contingent
         41 Glenbrook Rd.                                              ❑ Unliquidated
                                                                       ❑ Disputed
         Monsey, NY 10952
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/18/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.467 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $20,000.00
                                                                       Check all that apply.
         Zachary Fuchs
                                                                       ❑ Contingent
         41 Glenbrook Rd.                                              ❑ Unliquidated
                                                                       ❑ Disputed
         Monsey, NY 10952
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      10/31/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $15,563.46
3.468                                                                  Check all that apply.
         Zachary Potvin
                                                                       ❑ Contingent
         1016 Enchantment Rd.                                          ❑ Unliquidated
                                                                       ❑ Disputed
         Rapid City, SD 57701
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/11/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number




Official Form 206E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                 page 118 of 121
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Debtor      ASTRALABS Inc                                                                           Case number (if known)        23-10164
            Name




 Part 2: Additional Page

3.469 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $15,563.46
                                                                    Check all that apply.
         Zachary Potvin
                                                                    ❑ Contingent
         1016 Enchantment Rd.                                       ❑ Unliquidated
                                                                    ❑ Disputed
         Rapid City, SD 57701
                                                                    Basis for the claim: Investor Note
                                                                    Is the claim subject to offset?
         Date or dates debt was incurred                            ✔ No
                                                                    ❑
         Last 4 digits of account number
                                                                    ❑ Yes

3.470 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $20,000.00
                                                                    Check all that apply.
         Zachary Potvin
                                                                    ❑ Contingent
         1016 Enchantment Rd.                                       ❑ Unliquidated
                                                                    ❑ Disputed
         Rapid City, SD 57701
                                                                    Basis for the claim: Investor Note
                                                                    Is the claim subject to offset?
         Date or dates debt was incurred                            ✔ No
                                                                    ❑
         Last 4 digits of account number
                                                                    ❑ Yes

3.471 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $2,139.28
                                                                    Check all that apply.
         Zev Stampfer
                                                                    ❑ Contingent
         302 W 35th Street                                          ❑ Unliquidated
                                                                    ❑ Disputed
         Austin, TX 78705
                                                                    Basis for the claim: Wage Claim
                                                                    Is the claim subject to offset?
         Date or dates debt was incurred                            ✔ No
                                                                    ❑
         Last 4 digits of account number
                                                                    ❑ Yes




Official Form 206E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                 page 119 of 121
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Debtor        ASTRALABS Inc                                                                                   Case number (if known)              23-10164
              Name

 Part 3: List Others to Be Notified About Unsecured Claims

 4.     List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection
        agencies, assignees of claims listed above, and attorneys for unsecured creditors.
      If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.


          Name and mailing address                                                     On which line in Part 1 or Part 2 is the related         Last 4 digits of
                                                                                       creditor (if any) listed?                                account number,
                                                                                                                                                if any

 4.1     Bootstrap Servicing, Inc.                                                   Line 3.421

         510 Townsend Street                                                         ❑ Not listed. Explain
         San Francisco, CA 94103

 4.2     Celtic Bank                                                                 Line 3.421

         268 South State Street Suite 300                                            ❑ Not listed. Explain
         Salt Lake City, UT 84111

 4.3     Clearco                                                                     Line 3.102

         Pavilion House,                                                             ❑ Not listed. Explain
         31 Fitzwilliam Square,
         Dublin 2, Ireland




Official Form 206E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                         page 120 of 121
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            Name

 Part 4: Total Amounts of the Priority and Nonpriority Unsecured Claims


  5.     Add the amounts of priority and nonpriority unsecured claims.


                                                                                                   Total of claim amounts



  5a. Total claims from Part 1                                                     5a.              $97.17




  5b. Total claims from Part 2                                                     5b.              $24,240,383.63
                                                                                          +

  5c. Total of Parts 1 and 2                                                       5c.              $24,240,480.80
      Lines 5a + 5b = 5c.




Official Form 206E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                       page 121 of 121
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 Fill in this information to identify the case:

 Debtor name                                ASTRALABS Inc

 United States Bankruptcy Court for the:
                                Western District of Texas

 Case number (if known):                23-10164               Chapter    7                                                       ✔ Check if this is an
                                                                                                                                  ❑
                                                                                                                                     amended filing

Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                           12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries
consecutively.
 1.    Does the debtor have any executory contracts or unexpired leases?
       ❑ No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.
       ✔ Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official Form
       ❑
       206A/B).
 2. List all contracts and unexpired leases                                               State the name and mailing address for all other parties with whom the
                                                                                          debtor has an executory contract or unexpired lease

       State what the contract or            979 Springdale Rd, Unit 123, Austin, TX      3423 Holdings, LLC
2.1    lease is for and the nature
       of the debtor’s interest              Contract to be ASSUMED                       4811 E 7th Street
                                                                                          Austin, TX 78702
       State the term remaining              46 months

       List the contract number of
       any government contract

       State what the contract or            Corporate Housing                            Barrero, Martha A.
2.2    lease is for and the nature
       of the debtor’s interest              Contract to be REJECTED                      2121 Lohman's Crossing Road 504-426
                                                                                          Austin, TX 78734
       State the term remaining              5 months

       List the contract number of
       any government contract

       State what the contract or            Corporate Housing                            Mease, Kevin
2.3    lease is for and the nature
       of the debtor’s interest              Contract to be REJECTED                      300 S. Lamar 207
                                                                                          Austin, TX 78704
       State the term remaining              6 months

       List the contract number of
       any government contract

       State what the contract or
2.4    lease is for and the nature
       of the debtor’s interest

       State the term remaining

       List the contract number of
       any government contract




Official Form 206G                                       Schedule G: Executory Contracts and Unexpired Leases                                             page 1 of 1
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 Fill in this information to identify the case:

  Debtor name          ASTRALABS Inc


  United States Bankruptcy Court for the:               Western              District of             Texas

                                                                                                                                        ✔ Check if this is an
                                                                                                                                        ❑
                                                                                           (State)
  Case number (If known):            23-10164
                                                                                                                                            amended filing


Official Form 206H
Schedule H: Codebtors                                                                                                                                        12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively.
Attach the Additional Page to this page.


  1.    Does the debtor have any codebtors?
        ❑ No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
        ✔ Yes
        ❑
  2.    In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of creditors,
        Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule on which the
        creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

         Column 1: Codebtor                                                                                  Column 2: Creditor

                                                                                                                                        Check all schedules
         Name                               Mailing address                                                  Name
                                                                                                                                        that apply:

 2.1     Nihar Patel                        979 Springdale Rd. Suite #123                                    Iruka Capital               ✔D
                                                                                                                                         ❑
                                            Street                                                                                       ❑ E/F
                                             979 Springdale Rd. Suite #123                                                               ❑G
                                            Austin, TX 78723
                                                                                                             Apex Funding Source, LLC    ✔D
                                                                                                                                         ❑
                                            City                    State                   ZIP Code                                     ❑ E/F
                                                                                                                                         ❑G
 2.2     Ryan, Andrew                       979 Springdale Rd. Suite #123                                    Iruka Capital               ✔D
                                                                                                                                         ❑
                                            Street                                                                                       ❑ E/F
                                                                                                                                         ❑G
                                            Austin, TX 78723                                                 Apex Funding Source, LLC    ✔D
                                                                                                                                         ❑
                                            City                    State                   ZIP Code                                     ❑ E/F
                                                                                                                                         ❑G
 2.3                                                                                                                                     ❑D
                                            Street                                                                                       ❑ E/F
                                                                                                                                         ❑G

                                            City                    State                   ZIP Code

 2.4                                                                                                                                     ❑D
                                            Street                                                                                       ❑ E/F
                                                                                                                                         ❑G

                                            City                    State                   ZIP Code




Official Form 206H                                                    Schedule H: Codebtors                                                      page 1 of    2
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            Name


                 Additional Page if Debtor Has More Codebtors

                Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

         Column 1: Codebtor                                                                     Column 2: Creditor

                                                                                                                             Check all schedules
         Name                         Mailing address                                           Name
                                                                                                                             that apply:

 2.5                                                                                                                         ❑D
                                      Street                                                                                 ❑ E/F
                                                                                                                             ❑G

                                      City                   State             ZIP Code

 2.6                                                                                                                         ❑D
                                      Street                                                                                 ❑ E/F
                                                                                                                             ❑G

                                      City                   State             ZIP Code




Official Form 206H                                             Schedule H: Codebtors                                             page   2   of     2
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 Fill in this information to identify the case:

 Debtor name                                                ASTRALABS Inc

 United States Bankruptcy Court for the:
                                            Western District of Texas

 Case number (if known):                              23-10164                           Chapter            7                                                                                     ✔ Check if this is an
                                                                                                                                                                                                  ❑
                                                                                                                                                                                                      amended filing

Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                                         12/15

 Part 1: Summary of Assets



 1. Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

    1a. Real Property:
           Copy line 88 from Schedule A/B........................................................................................................................................                                             $0.00


    1b. Total personal property:
           Copy line 91A from Schedule A/B......................................................................................................................................                                       $1,312,966.96

    1c. Total of all property:
           Copy line 92 from Schedule A/B.........................................................................................................................................
                                                                                                                                                                                                                       $1,312,966.96




  Part 2: Summary of Liabilities




 2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
    Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D.................                                                                                                       $1,898,224.25



 3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

    3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F....................................................................................                                                                $97.17


    3b. Total amount of claims of non-priority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F......................................................                                                           +       $24,240,383.63




 4. Total liabilities..............................................................................................................................................................................                $26,138,705.05

    Lines 2 + 3a + 3b




Official Form 206Sum                                                                           Summary of Assets and Liabilities for Non-Individuals                                                                            page 1
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 Fill in this information to identify the case:

 Debtor name                                 ASTRALABS Inc

 United States Bankruptcy Court for the:
                                   Western District of Texas

 Case number (if known):                 23-10164                                                                              ✔ Check if this is an
                                                                                                                               ❑
                                                                                                                                   amended filing

Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                  04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s
name and case number (if known).



 Part 1: Income


 1.     Gross revenue from business

         ❑ None
        Identify the beginning and ending dates of the debtor’s fiscal year, which         Sources of revenue                 Gross revenue
        may be a calendar year                                                             Check all that apply               (before deductions and
                                                                                                                              exclusions)

       From the beginning of the                                                         ✔ Operating a business
                                                                                         ❑                                                   $3,207,568.00
                                                                                         ❑ Other
       fiscal year to filing date:        From 01/01/2023         to    Filing date
                                                  MM/ DD/ YYYY


       For prior year:                    From 01/01/2022         to    12/31/2022       ✔ Operating a business
                                                                                         ❑                                                  $19,882,980.00
                                                  MM/ DD/ YYYY            MM/ DD/ YYYY
                                                                                         ❑ Other

       For the year before that:          From 01/01/2021         to    12/31/2021       ✔ Operating a business
                                                                                         ❑                                                  $10,057,994.00
                                                  MM/ DD/ YYYY            MM/ DD/ YYYY
                                                                                         ❑ Other


 2.     Non-business revenue
         Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits, and
         royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

         ✔ None
         ❑
                                                                                         Description of sources of revenue    Gross revenue from each
                                                                                                                              source
                                                                                                                              (before deductions and
                                                                                                                              exclusions)

      From the beginning of the
      fiscal year to filing date:       From 01/01/2023          to    Filing date
                                                  MM/ DD/ YYYY


      For prior year:                   From 01/01/2022          to    12/31/2022
                                                  MM/ DD/ YYYY           MM/ DD/ YYYY


      For the year before that:         From 01/01/2021          to    12/31/2021
                                                  MM/ DD/ YYYY           MM/ DD/ YYYY




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 Part 2: List Certain Transfers Made Before Filing for Bankruptcy
 3.     Certain payments or transfers to creditors within 90 days before filing this case
        List payments or transfers—including expense reimbursements—to any creditor, other than regular employee compensation, within 90 days before filing
        this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25 and every 3
        years after that with respect to cases filed on or after the date of adjustment.)

        ❑ None
         Creditor’s name and address                     Dates             Total amount or value          Reasons for payment or transfer
                                                                                                          Check all that apply

 3.1.   Iruka Capital                                    12/20/2022                 $372,177.00           ❑ Secured debt
        Creditor's name                                                                                   ✔ Unsecured loan repayments
                                                                                                          ❑
        162 Elmora Ave #211
        Street
                                                         12/27/2022
                                                                                                          ❑ Suppliers or vendors
                                                         01/03/2023                                       ❑ Services
                                                                                                          ❑ Other
        Elizabeth, NJ 07202                              01/10/2023
        City                       State    ZIP Code
                                                         01/17/2023

                                                         01/24/2023

                                                         01/31/2023

                                                         02/07/2023

                                                         02/14/2023

                                                         02/21/2023

                                                         02/28/2023

                                                         03/07/2023

                                                         03/14/2023

 3.2.   3423 Holdings, LLC                               01/03/2023                 $151,127.56           ❑ Secured debt
        Creditor's name
                                                                                                          ❑ Unsecured loan repayments
        4811 E 7th Street
        Street
                                                         02/02/2023
                                                                                                          ❑ Suppliers or vendors
                                                         03/02/2023                                       ❑ Services
                                                                                                          ✔ Other Building Lease
                                                                                                          ❑
        Austin, TX 78702
        City                       State    ZIP Code

 3.3.   Barrero, Martha A.                               01/04/2023                  $19,500.00           ❑ Secured debt
        Creditor's name
                                                                                                          ❑ Unsecured loan repayments
        2121 Lohman's Crossing Road 504-426
        Street
                                                         02/03/2023
                                                                                                          ❑ Suppliers or vendors
                                                         03/02/2023                                       ❑ Services
                                                                                                          ✔ Other Corporate Housing
                                                                                                          ❑
        Austin, TX 78734
        City                       State    ZIP Code




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 3.4.   Apex Funding Source, LLC                            02/03/2023                  $153,000.00            ❑ Secured debt
        Creditor's name                                                                                        ✔ Unsecured loan repayments
                                                                                                               ❑
        3050 Biscayne Blvd Suite 502
        Street
                                                            02/10/2023
                                                                                                               ❑ Suppliers or vendors
                                                            02/17/2023                                         ❑ Services
                                                                                                               ❑ Other
        Miami, FL 33137                                     02/24/2023
        City                        State    ZIP Code
                                                            03/03/2023

                                                            03/10/2023

 3.5.   Mease, Kevin                                        01/04/2023                   $19,500.00            ❑ Secured debt
        Creditor's name
                                                                                                               ❑ Unsecured loan repayments
        300 S. Lamar 207
        Street
                                                            02/03/2023
                                                                                                               ❑ Suppliers or vendors
                                                            03/08/2023                                         ❑ Services
                                                                                                               ✔ Other Corporate Housing
                                                                                                               ❑
        Austin, TX 78704
        City                        State    ZIP Code



 4.     Payments or other transfers of property made within 1 year before filing this case that benefited any insider
        List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed or
        co-signed by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount may be
        adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments listed in line 3.
        Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership debtor and their
        relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).
        ✔ None
        ❑
         Insider’s name and address                         Dates              Total amount or value           Reasons for payment or transfer


 4.1.
        Creditor's name


        Street




        City                        State    ZIP Code

         Relationship to debtor




 5.     Repossessions, foreclosures, and returns
        List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at a
        foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.
        ✔ None
        ❑
         Creditor’s name and address                        Description of the property                               Date                    Value of property


 5.1.
        Creditor's name


        Street




        City                        State    ZIP Code




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 6.     Setoffs
        List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account of the
        debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a debt.
        ✔ None
        ❑
         Creditor’s name and address                        Description of the action creditor took                      Date action was       Amount
                                                                                                                         taken

 6.1.
        Creditor's name
                                                             XXXX–
        Street




        City                        State     ZIP Code




 Part 3: Legal Actions or Assignments
 7.     Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
        List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved in any
        capacity—within 1 year before filing this case.
        ❑ None
 7.1.    Case title                              Nature of case                          Court or agency's name and address                    Status of case

        Ms. Sara Wadud vs Astralabs,            Charge of Discrimination in             Texas Workforce Commission on Civil Rights            ✔ Pending
                                                                                                                                              ❑
        Inc.                                    Workplace Complaint                     Division
                                                                                        Name                                                  ❑ On appeal
                                                                                        117 Trinity St 144-T                                  ❑ Concluded
         Case number                                                                    Street

        451-2022-01622
                                                                                        Austin, TX 78701
                                                                                        City                           State   ZIP Code



 8.     Assignments and receivership
        List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
        receiver, custodian, or other court-appointed officer within 1 year before filing this case.
        ✔ None
        ❑
 8.1.    Custodian’s name and address                      Description of the property                           Value


        Custodian’s name
                                                           Case title                                            Court name and address
        Street
                                                                                                                Name

                                                           Case number                                          Street
        City                        State     ZIP Code



                                                           Date of order or assignment                          City                         State    ZIP Code




 Part 4: Certain Gifts and Charitable Contributions
 9.     List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of the gifts
        to that recipient is less than $1,000
        ✔ None
        ❑
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 9.1.     Recipient’s name and address                      Description of the gifts or contributions                 Dates given           Value


         Recipient’s name


         Street




         City                        State     ZIP Code


          Recipient’s relationship to debtor




 Part 5: Certain Losses
 10. All losses from fire, theft, or other casualty within 1 year before filing this case.
         ✔ None
         ❑
           Description of the property lost and how the         Amount of payments received for the loss                     Date of loss      Value of property
           loss occurred                                        If you have received payments to cover the loss, for                           lost
                                                                example, from insurance, government compensation,
                                                                or tort liability, list the total received.
                                                                List unpaid claims on Official Form 106A/B (Schedule
                                                                A/B: Assets – Real and Personal Property).


 10.1.




 Part 6: Certain Payments or Transfers
 11. Payments related to bankruptcy
         List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing of this
         case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy relief, or filing a
         bankruptcy case.
         ❑ None
 11.1.    Who was paid or who received the transfer?             If not money, describe any property transferred           Dates               Total amount or
                                                                                                                                               value

         The Lane Law Firm                                                                                                3/08/2023                    $10,000.00


          Address                                                                                                         03/15/2023                   $10,000.00

         6200 Savoy Dr Ste 1150
         Street


         Houston, TX 77036-3369
         City                        State     ZIP Code


          Email or website address

         billing@lanelaw.com

          Who made the payment, if not debtor?




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 12. Self-settled trusts of which the debtor is a beneficiary
         List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case to a
         self-settled trust or similar device.
         Do not include transfers already listed on this statement.
         ✔ None
         ❑
 12.1.     Name of trust or device                            Describe any property transferred                        Dates transfers       Total amount or
                                                                                                                       were made             value




           Trustee




 13. Transfers not already listed on this statement
         List any transfers of money or other property—by sale, trade, or any other means—made by the debtor or a person acting on behalf of the debtor within 2
         years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include both
         outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.
         ✔ None
         ❑
 13.1.    Who received the transfer?                         Description of property transferred or payments            Date transfer       Total amount or
                                                             received or debts paid in exchange                         was made            value




          Address


         Street




         City                        State    ZIP Code


          Relationship to debtor




 Part 7: Previous Locations
 14. Previous addresses
         List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.
         ✔ Does not apply
         ❑
          Address                                                                                           Dates of occupancy

 14.1.                                                                                                     From                       To
         Street




         City                        State    ZIP Code




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 Part 8: Health Care Bankruptcies
 15. Health Care bankruptcies
         Is the debtor primarily engaged in offering services and facilities for:
          —diagnosing or treating injury, deformity, or disease, or
          —providing any surgical, psychiatric, drug treatment, or obstetric care?
         ✔ No. Go to Part 9.
         ❑
         ❑ Yes. Fill in the information below.
          Facility name and address                       Nature of the business operation, including type of services the         If debtor provides meals
                                                          debtor provides                                                          and housing, number of
                                                                                                                                   patients in debtor’s care

 15.1.
         Facility name


         Street
                                                          Location where patient records are maintained(if different from          How are records kept?
                                                          facility address). If electronic, identify any service provider.
         City                     State   ZIP Code                                                                                Check all that apply:
                                                                                                                                  ❑ Electronically
                                                                                                                                  ❑ Paper


 Part 9: Personally Identifiable Information

 16. Does the debtor collect and retain personally identifiable information of customers?
         ❑ No.
         ✔ Yes. State the nature of the information collected and retained. Names, addresses for Customer Lists
         ❑
                  Does the debtor have a privacy policy about that information?
                  ❑ No
                  ✔ Yes
                  ❑
 17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b) or other pension or profit-
     sharing plan made available by the debtor as an employee benefit?
         ❑ No. Go to Part 10.
         ✔ Yes. Does the debtor serve as plan administrator?
         ❑
                ❑ No. Go to Part 10.
                ✔ Yes. Fill in below:
                ❑
                         Name of plan                                                                 Employer identification number of the plan

                         Astralabs 401K                                                              EIN:        –

                          Has the plan been terminated?
                          ✔ No
                          ❑
                          ❑ Yes


 Part 10: Certain Financial Accounts, Safe Deposit Boxes, and Storage Units
 18. Closed financial accounts
         Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold, moved,
         or transferred?
         Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
         cooperatives, associations, and other financial institutions.
         ✔ None
         ❑
          Financial institution name and address            Last 4 digits of account     Type of account             Date account was          Last balance
                                                            number                                                   closed, sold, moved,      before closing
                                                                                                                     or transferred            or transfer



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 18.1                                                     XXXX–                         ❑ Checking
        Name
                                                                                        ❑ Savings
        Street
                                                                                        ❑ Money market
                                                                                        ❑ Brokerage
                                                                                        ❑ Other
        City                      State     ZIP Code
 19. Safe deposit boxes
        List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this case.
        ✔ None
        ❑
 19.1    Depository institution name and address          Names of anyone with access to it            Description of the contents                Does debtor
                                                                                                                                                  still have it?

                                                                                                                                                 ❑ No
                                                                                                                                                 ❑ Yes
        Name


        Street

                                                          Address

        City                      State     ZIP Code


 20. Off-premises storage
        List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in which the
        debtor does business.
        ✔ None
        ❑
 20.1    Facility name and address                        Names of anyone with access to it            Description of the contents                Does debtor
                                                                                                                                                  still have it?

                                                                                                                                                 ❑ No
                                                                                                                                                 ❑ Yes
        Name


        Street

                                                          Address

        City                      State     ZIP Code




 Part 11: Property the Debtor Holds or Controls That the Debtor Does Not Own
 21. Property held for another
        List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do not list
        leased or rented property.
        ✔ None
        ❑
         Owner’s name and address                                Location of the property                     Description of the property                 Value


        Name


        Street




        City                        State     ZIP Code




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 Part 12: Details About Environmental Information


 For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).
     Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
     owned, operated, or utilized.
     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a similarly
     harmful substance.

 Report all notices, releases, and proceedings known, regardless of when they occurred.

 22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.
      ✔ No
      ❑
      ❑ Yes. Provide details below.
         Case title                                Court or agency name and address                       Nature of the case                          Status of case

                                                                                                                                                     ❑ Pending
         Case number
                                                  Name
                                                                                                                                                     ❑ On appeal
                                                  Street
                                                                                                                                                     ❑ Concluded


                                                  City                         State   ZIP Code

 23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
     environmental law?
      ✔ No
      ❑
      ❑ Yes. Provide details below.
         Site name and address                     Governmental unit name and address                     Environmental law, if known                 Date of notice


      Name                                        Name


      Street                                      Street




      City                  State   ZIP Code      City                         State   ZIP Code

 24. Has the debtor notified any governmental unit of any release of hazardous material?
      ✔ No
      ❑
      ❑ Yes. Provide details below.
         Site name and address                     Governmental unit name and address                     Environmental law, if known                 Date of notice


      Name                                        Name


      Street                                      Street




      City                  State   ZIP Code      City                         State   ZIP Code




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Part 13: Details About the Debtor’s Business or Connections to Any Business


25. Other businesses in which the debtor has or has had an interest
        List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case. Include this
        information even if already listed in the Schedules.
        ❑ None
         Business name and address                  Describe the nature of the business                          Employer Identification number
                                                                                                                 Do not include Social Security number or ITIN.
25.1.
        Newchip LLC                                Unused Business - Never Operated                            EIN:        –
        Name
        979 Springdale Rd.                                                                                       Dates business existed
        Street
                                                                                                               From                  To

        Austin, TX 78723
        City                 State   ZIP Code


         Business name and address                  Describe the nature of the business                          Employer Identification number
                                                                                                                 Do not include Social Security number or ITIN.
25.2.
        Newchip Fund III LLC                       Unused Business - Never Operated                            EIN:        –
        Name
        979 Springdale Road                                                                                      Dates business existed
        Street
                                                                                                               From                  To

        Austin, TX 78702
        City                 State   ZIP Code


         Business name and address                  Describe the nature of the business                          Employer Identification number
                                                                                                                 Do not include Social Security number or ITIN.
25.3.
        Journey Venture Partners                   Created in anticipation of merger that never                EIN:        –
        Name                                       happened - never operated.
        979 Springdale Rd.                                                                                       Dates business existed
        Street
                                                                                                               From                  To

        Austin, TX 78723
        City                 State   ZIP Code


         Business name and address                  Describe the nature of the business                          Employer Identification number
                                                                                                                 Do not include Social Security number or ITIN.
25.4.
        Sofos LLC                                  Created in anticipation of merger that never                EIN:        –
        Name                                       happened - never operated.
        979 Springdale Rd.                                                                                       Dates business existed
        Street
                                                                                                               From                  To

        Austin, TX 78723
        City                 State   ZIP Code


         Business name and address                  Describe the nature of the business                          Employer Identification number
                                                                                                                 Do not include Social Security number or ITIN.
25.5.
        Newchip Labs LLC                           Unused Business - Never Operated                            EIN:        –
        Name
        979 Springdale Rd.                                                                                       Dates business existed
        Street
                                                                                                               From                  To

        Austin, TX 78723
        City                 State   ZIP Code


26. Books, records, and financial statements
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 26a.     List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
          ❑None
           Name and address                                                                                Dates of service

 26a.1. The Financial Interior LLP                                                                        From 2016           To 2022
          Name
          2618 Kramer Ln 7075
          Street



          Austin, TX 78758
          City                                      State                  ZIP Code


 26b.     List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial
          statement within 2 years before filing this case.
          ❑None
           Name and address                                                                                Dates of service

 26b.1. Jack Cartwright                                                                                   From 10/31/2022     To Current
          Name
          979 Springdale Road 123
          Street



          Austin, TX 78702
          City                                      State                  ZIP Code

           Name and address                                                                                Dates of service

 26b.2. Keiter CPA
                                                                                                          From                To
          Name
          4401 Dominion Blvd
          Street



          Glen Allen, VA 23060
          City                                      State                  ZIP Code


 26c.     List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.
          ✔None
          ❑
           Name and address                                                                                If any books of account and records are
                                                                                                           unavailable, explain why
 26c.1.


          Name


          Street




          City                                      State                  ZIP Code

 26d.   List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
        statement within 2 years before filing this case.
        ✔None
        ❑




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           Name and address

 26d.1.
          Name


          Street




          City                                              State                  ZIP Code


 27. Inventories
         Have any inventories of the debtor’s property been taken within 2 years before filing this case?
         ✔ No
         ❑
         ❑ Yes. Give the details about the two most recent inventories.
          Name of the person who supervised the taking of the inventory                           Date of             The dollar amount and basis (cost, market, or
                                                                                                  inventory           other basis) of each inventory




          Name and address of the person who has possession of inventory records

 27.1.
         Name


         Street




         City                                       State               ZIP Code

 28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people in
     control of the debtor at the time of the filing of this case.
          Name                            Address                                                          Position and nature of any          % of interest, if any
                                                                                                           interest

         Ryan, Andrew                    979 Springdale Rd. Suite #123 Austin, TX 78723                CEO, Owner                                           40.39%

         Nihar Patel                     979 Springdale Rd. Suite #123 Austin, TX 78723                Co-Founder,                                           2.19%

         Johan Uddman with                                                                             ,                                                     6.21%
         CashBUS

         Polymath Inc                                                                                  ,                                                     5.59%

         Stephen Berger                                                                                ,                                                     3.36%

         Alfredo del Barrio III                                                                        ,                                                     2.34%

         Joshua Lawton-                                                                                ,                                                     2.32%
         Belous/Lawton
         Management LLC

         Bo Shen of Fenbushi                                                                           ,                                                     2.04%
         Investment Fund LP

         Armando Vera Carvajal                                                                         ,                                                     1.40%

         David Johnston of                                                                             ,                                                     1.38%
         Yeomans Capital

         Joep Meijer                                                                                   ,                                                     1.32%

         Joe Merrill/Sputnik ATX                                                                       ,                                                     1.24%
         Summar 2018 LLC

         Youbi Capital/Youbi Capital                                                                   ,                                                     1.24%
         Cayman GP



Official Form 207                               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                       page 12
Debtor
             23-10164-smr
              ASTRALABS Inc
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                                                                         Case number (if known)
                                                                                                    153
                                                                                                23-10164
              Name                                   of 210
      Jeffrey Andreski/Jeffrey B                                                                       ,                                                  1.18%
      Andreski LLC

      Keagan Wernicke                 6016 Price Drive North Richland Hills, TX 76180                  ,                                                  1.06%

      Baroon Krisendat                                                                                 ,                                                  1.04%

 29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in control of
     the debtor, or shareholders in control of the debtor who no longer hold these positions?
      ✔ No
      ❑
      ❑ Yes. Identify below.
         Name                          Address                                                       Position and nature of any       Period during which
                                                                                                     interest                         position or interest was
                                                                                                                                      held

                                                                                                 ,                                     From
                                                                                                                                       To

 30. Payments, distributions, or withdrawals credited or given to insiders
      Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses, loans,
      credits on loans, stock redemptions, and options exercised?
      ❑ No
      ✔ Yes. Identify below.
      ❑
         Name and address of recipient                                      Amount of money or description              Dates                 Reason for providing
                                                                            and value of property                                             the value


 30.1. Ryan, Andrew                                                              $284,269.00 - for last 12 months      03/17/2023
      Name
      979 Springdale Rd. Suite #123
      Street



      Austin, TX 78723
      City                                     State        ZIP Code


         Relationship to debtor

      CEO
         Name and address of recipient                                      Amount of money or description              Dates                 Reason for providing
                                                                            and value of property                                             the value


 30.2. Jack Cartwright                                                               $93,750.00 - Last 12 Months       03/17/2023
      Name                                                                                             Payments

      Street




      City                                     State        ZIP Code


         Relationship to debtor

      CFO




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                                                                         Case number (if known)
                                                                                                    154
                                                                                                23-10164
              Name                                   of 210
         Name and address of recipient                                     Amount of money or description           Dates             Reason for providing
                                                                           and value of property                                      the value


 30.3. VP Sales                                                                    $31,250.00 - Last 12 Months     03/17/2023
      Name                                                                                           Payments

      Street




      City                                     State        ZIP Code


         Relationship to debtor

      VP of Sales
         Name and address of recipient                                     Amount of money or description           Dates             Reason for providing
                                                                           and value of property                                      the value


 30.4. Aly O'Desky                                                                 $58,333.00 - Last 12 Months     03/17/2023
      Name                                                                                           Payments

      Street




      City                                     State        ZIP Code


         Relationship to debtor

      General Counsel
         Name and address of recipient                                     Amount of money or description           Dates             Reason for providing
                                                                           and value of property                                      the value


 30.5. Nihar Patel                                                                $137,500.00 - Last 12 Months     03/17/2023        Gross Wages
      Name                                                                                           Payments
      979 Springdale Rd. Suite #123
      Street
      979 Springdale Rd. Suite #123
      Austin, TX 78723
      City                                     State        ZIP Code


         Relationship to debtor

      Co-Founder

 31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?
      ✔ No
      ❑
      ❑ Yes. Identify below.
             Name of the parent corporation                                                    Employer Identification number of the parent corporation

                                                                                              EIN:        –


 32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?
      ✔ No
      ❑
      ❑ Yes. Identify below.
             Name of the pension fund                                                          Employer Identification number of the pension fund

                                                                                              EIN:        –




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                                                                       Case number (if known)
                                                                                                  155
                                                                                              23-10164
            Name                                   of 210
 Part 14: Signature and Declaration


    WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in connection with a
    bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


    I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true and
    correct.


    I declare under penalty of perjury that the foregoing is true and correct.


    Executed on          07/27/2023
                     MM/ DD/ YYYY




    ✘ /s/ Nihar Patel                                                    Printed name                        Nihar Patel
         Signature of individual signing on behalf of the debtor



      Position or relationship to debtor       Debtor Representative




    Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
    ✔ No
    ❑
    ❑ Yes




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                              page 15
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1000 SOLANO DRIVE
1000 SOLANO DRIVE
AUSTIN, TX 78750




2938 WESTLAKE COVE DR
2938 WESTLAKE COVE DR
AUSTIN, TX 78746




3423 HOLDINGS, LLC
4811 E 7TH STREET
AUSTIN, TX 78702




360X MUSIC AG
REVALER STRASSE 99
10245 BERLIN, GERMANY




3COMMON INC.
46 SUNSET BLVD
WINNIPEG, MANITOBA
CANADA, R2M0X4



AARON WILLIAM NAFT
4306 N QUINLAN PARK ROAD APT 3201
AUSTIN, TX 78732




ABDELKADER HAMDOUNE
373 BELMONT STREET #4
OAKLAND, CA 94610




ACTIVARMOR
2828 GRANADA BLVD
PUEBLO, CO 81005
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ADAM PERLMAN
220 NORTH WIND CT
PONTE VEDRA BEACH, FL 32082




ADAM YOKE
1541 FORD AVENUE
REDONDO BEACH, CA 90278




ADDISON JACOBY
1011 E 5TH STREET UNIT 1526
AUSTIN, TX 78702




ADRIANNA BERTOIA
4701 WALNUT STREET
OAKLAND, CA 94619




ADVENTURELAND TOY
EMPORIUM LLC
1344 CARROLL AVE
LOS ANGELES, CA 90026



ADWAIT MUTHAL
7 WAINWRIGHT RD UNIT 80
WINCHESTER, MA 01890-2381




AIDLT GLOBAL LIMITED
30 DREDGE COURT
MILTON, ONTARIO, CANADA L9T8T1




AKA EXCHANGE LTD.
9 RUE DE MAUPERTUIS
ST CLEMENT
JE2 6NG
UNITED KINGDOM
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ALBERT BALADY
208 ACKERMAN AVE
HO HO KUS, NJ 07423-1006




ALDO DE JONG
299 GLENALAKE AVE #2301
TORONTO, ON M6P4A6 CANADA




ALEXANDER CLARENCE
MCINTOSH
1047 EAST SPAZIER AVE. APT. # L
BURBANK, CA 91502



ALEXANDER MONSELL
4489 E FLORIDA AVE
DENVER, CO 80222




ALEXANDER SEERY
925 ROLFE PLACE
ALEXANDRIA, VA 22314




ALEXANDRA CHERWA AKA
JONATHAN CHERWA
15907 91ST AVE CT E
PUYALLUP, WA 98375



ALEXANDRE SYLVESTRE
609 TOWER DR.
EDGEWATER, NJ 07020




ALIJAH PACINA
3216 LASKER AVENUE
WACO, TX 76707
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ALLADIN AMMOURI
2445 AVIS STREET
MESQUITE, TX 75149




ALTELIUM LTD
OFFICE 4, PERCH STUDIOS, WESLEY
LANE
BICESTER, UNITED KINGDOM, OX26 6JU



ALYVE MEDICAL INC
600 S CHERRY STREET SUITE 115
DENVER, CO 80246




AMALFI JETS INC.
30851 AGOURA ROAD SUITE 305
AGOURA HILLS, CA 91301




ANDREW MANIACI
3905 BLACK GRANITE DRIVE
AUSTIN, TX 78744




ANDREW RYAN
C/O RON SATIJA
HAYWARD PLLC
7600 BURNET RD SUITE 530
AUSTIN, TX 78757


ANDROMEDA360
6001 W PARMER LANE SUITE 370 897
AUSTIN, TX 78727




ANGEL JOHNSON
2220 LEESBOROUGH DRIVE
SILVER SPRING, MD 20902
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ANTHONY ESEAU FLORES
KUFFO
91 RED RIVER STREET
AUSTIN, TX 78701



ANTHONY RUNNELS
12024 ROCK CREEK CT.
HAWTHORNE, CA 90250




ANTHONY VELOSO
730 MASON ROAD
JEFFERSON, MA 01522




ANTONELLO LODDO
205 RIDGE AVE
GETTYSBURG, PA 17325




ANU SANTHANAGOPAL
12 BRITTANY WAY
KENDALL PARK, NJ 08824




ANUJ JAIN AKA ANMOL JAIN
620 W 42N ST APT S06G
NEW YORK, NY 10036




APEX FUNDING SOURCE, LLC
3050 BISCAYNE BLVD SUITE 502
MIAMI, FL 33137




ARAMARK REFRESHMENTS
SERVICES, LLC
ATTN: HAWLEY TROXELL ENNIS &
HAWLEY LLP
PO BOX 1617
BOISE, ID 83701
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ARCHILYSE AG
C/O MATTHIAS STANDFEST
FLELASTRASSE 31B
8047 ZURICH, SWITZERLAND



ARIANNA VIOLANTE
7203 BASSETT COURT
AUSTIN, TX 78704




ARIK PARAN
866 HELENA DR.
SUNNYVALE, CA 94087




ARTURO BENEDICTO LLANO
10 JUAN LUNA, UP CAMPUS
DILIMAN, QUEZON CITY, PHILIPPINES
1101-00



ARTURO BENEDICTO M.
LLANO
10 JUAN LUNA, UP CAMPUS,
DILIMAN, QUEZON CITY,
METRO MANILA


ARUN KOTTE
3905 IDLEBROOK DRIVE
FRISCO, TX 75034




ASTRALABS INC
979 SPRINGDALE RD.
SUITE #123
979 SPRINGDALE RD. SUITE #123
AUSTIN, TX 78723


ASTRALABS INC
979 SPRINGDALE RD. SUITE #123
AUSTIN, TX 78723
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ASTRALABS INC
979 SPRINGDALE ROAD SUITE #123
AUSTIN, TX 78723




ATHLETES TO ATHLETES
C/O THE LOTT FIRM, PLLC
501 CONGRESS AVE SUITE 150
AUSTIN, TX 78701



AUSTIN CROWDER
1200 TREADWELL STREET APT 219
AUSTIN, TX 78704




AUSTIN LORTIE
11978 SUNSHINE PARK DRIVE N
WILLIS, TX 77318




AVINASH REDDY DESIREDDY
16304 FM 1325 APT 7315
AUSTIN, TX 78728




BAIPING GUO
8 MOONEY STREET
LANE COVE NORTH NSW 2066
AUSTRALIA



MARTHA A. BARRERO
2121 LOHMAN'S CROSSING ROAD
504-426
AUSTIN, TX 78734



BEAU HORNER
12604 DUCKCREEK CT.
AUSTIN, TX 78729
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BELOFTE INTERNATIONAL
INC
27 ALTAMAWR AVENUE
LAWRENCE TOWNSHIP, NJ 08648



BENJAMIN SLACK
6289 RIVERSTONE DR
COLUMBUS, OH 43228




BILLY JACK LINSLEY
16 BODINE STREET
WELLSBORO, PA 16901




BONNE ET FILOU INC
1178 BROADWAY 3RD FLOOR #1390
NEW YORK, NY 10001




BOOTSTRAP SERVICING, INC.
510 TOWNSEND STREET
SAN FRANCISCO, CA 94103




BRADFORD CHAN
2540 WEXFORD AVE.
SOUTH SAN FRANCISCO, CA 94080




BRADLEY G KESSLER /
KESSLER REALTY HOLDINGS
INC.
1621 NORTHLAND AVE
LAKEWOOD, OH 44107


BRADLEY ROBERTSON
550 OAK GROVE AVE. UNIT 122
MENLO PARK, CA 94025
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BRANDON GREENBURG
865 WEST END AVENUE 5E
NEW YORK, NY 10025




BRIAN KLICK
15010 WHITETAIL WAY
GAITHERSBURG, MD 20878




BRIAN LEE
3760 N FREMONT UNIT 1
CHICAGO, IL 60613




BRUCE MASTERSON
944 ENFIELD
NORTHBROOK, IL 60062




BRYAN FINKS
4011 BRIONES STREET
AUSTIN, TX 78723




B-SCIENCE.NET GMBH
TRAENKEBACHSTRASSE 38
8712 STAEFA, CANTON ZURICH,
SWITZERLAND



BSDCD LIMITED
13/F CHEONG SUN TOWER
118 WING LOK ST, SHEUNG WAN
HONG KONG



CALVIN GREEN
108 S MUSTANG AVENUE
CEDAR PARK, TX 78613
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CAMERON RESNICK
870 NORTH 28TH STREET 101
PHILADELPHIA, PA 19130




CAMILO ANDRES CLAVIJO
VANEGAS
17787 ADRIFT ROAD
WINTER GARDEN, FL 34787



CAMPY BV
238 KLOKGEBOUW 5617AC EINDHOVEN
THE NETHERLANDS




CAPITOL VENDING AND
COFFEE COMPANY
C/O CLEVELAND R BURKE
HOLLAND & KNIGHT LLP
100 CONGRESS AVE SUITE 1800
AUSTIN, TX 78701


CAREY WALKER
PO BOX 54966
TULSA, OK 74155-4966




CARIBOU INC.
172 CREEK PATH AVE
OAKVILLE, ONTARIO, CANADA, L6L 6T5




CARL LUMMA
367 LOS GATOS BLVD
LOS GATOS, CA 95032




CARL RUSSO
707 WILLOW AVE. UNIT #2
HOBOKEN, NJ 07030
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CARMEANNA EBERLY
828 E 47TH PLACE
CHICAGO, IL 60615




CASEY MELCHER
1635 N WATER ST. APT 602
MILWAUKEE, WI 53202




CASSIDEE COLLIER
3 STUYVESANT OVAL APT 10H
NEW YORK, NY 10009




CELTIC BANK
268 SOUTH STATE STREET SUITE 300
SALT LAKE CITY, UT 84111




CENPORTS COMMERCE INC
2530 BERRYESSA RD #332
SAN JOSE, CA 95132




CESAR ANTONIO VALENCIA
14888 SW 104 STREET UNIT 17
MIAMI, FL 33196




CFT CLEAR FINANCE
TECHNOLOGY CORP.
1200-33 YONGE STREET,
TORONTO, ONTARIO,
M5E 1G4, CANADA


CHAD DOYLE
3450 CRESTMOOR DR.
SAN BRUNO, CA 94066
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CHAGIT PRODUCTIONS INC
591 CONSTITUTION AVE SUITE B
CAMARILLO, CA 93012




CHAISSON-BROWNE LLC
35 FIDDLEHEAD RD
OXFORD, CT 06478




CHANG TING ZOU
48 WOODVIEW DR.
BREWSTER, MA 02631




CHEKRITE
6013/6 PARKLAND BLVD
BRISBANE, QLD 4000, AUSTRALIA




CHRISTINA HONG
12407 BEXLEY
HOUSTON, TX 77099




CHRISTOPHER FAST
45 MERIAM STREET
WAKEFIELD, MA 01880




CHRISTOPHER FONTAINE
7814 BRADENTON DRIVE
CHARLOTTE, NC 28210




CHRISTOPHER SEABOLT
3404 TREE SUMMIT PARKWAY
DULUTH, GA 30096
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CLAC DES DOIGTS
128 RUE LA BOETIE,
PARIS, FRANCE




CLEARCO
PAVILION HOUSE,
31 FITZWILLIAM SQUARE,
DUBLIN 2, IRELAND



CLIFFORD LOCKS
33 OLD FIELD HILL ROAD UNIT # 12
SOUTHBURY, CT 06488




CLINETIC, INC.
630 DAVIS DRIVE
MORRISVILLE, NC 27560




CMT SCANNER
1/19 VIRGINIA STREET
GEEBUNG, QLD 4034, AUSTRALIA




CODY PAHALAD
352 BRIGHTON AVE APT 203
SAN FRANCISCO, CA 94112




CONSTANTINE TRIKAS
840 FULTON STREET APT. 704
BROOKLYN, NY 11238




CORDTZ TUATOO
417 SWIFT FOX RUN
CRESTVIEW, FL 32536
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COVENTRY CAPITAL
PARTNERS, LLC
306 LANDING LANE
CHESTERTOWN, MD 21620



CRC INSURANCE SERVICES
1 METROPLEX DRIVE SUITE 400
BIRMINGHAM, AL 35209




CRISTIAN I CRISAN
15408 FISHER ISLAND DR.
AUSTIN, TX 78717




CRYSTLE RAUCH
6701 LAKEWOOD RD
STANWOOD, WA 98292




CURT BROMM
5785 OPEN FIELDS DRIVE
WHITESTOWN, IN 46075




CYNTHIA OCHOA
600 E FM 1626 #9208
AUSTIN, TX 78748




DAN SMITH
8021 N PADOVA PL.
TUCSON, AZ 85741




DANIEL ANGUIANO
252 MULBERRY LANE
ROCKWALL, TX 75032
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DARYL W CAMPBELL
3353 RIVER VALLEY DR.
RICHLAND, WA 99354




DAVID CLARK
13022 REATA RIDGE DR
PARKER, CO 80134




DAVID FISHER
832 KRISTIN LN
WILLIAMSTOWN, NJ 08094




DAVID HUIE
842 HARBOR ISLAND DR.
NEWPORT BEACH, CA 92660




DAWN AUDIO LLC
3035 ST ANN STREET APT A
NEW ORLEANS, LA 70119




DHRUV PATEL
1401 ART DILLY DRIVE APT #355
AUSTIN, TX 78702




DHRUV SAMPAT
301 GOUGH STREET APT #1
SAN FRANCISCO, CA 94102




DIEGO MAURO COGNO
65B CROMFORD ROAD
SW18 1PA,
LONDON, UK
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DKMC, INC.
1435 YELLOWHEART WAY
HOLLYWOOD, FL 33019




DMITRY GOZMAN
228 PARK AVENUE S. STE 25520
NEW YORK, NY 10003




DOMUNUS
655 EAST 14TH STREET APT. 9A
NEW YORK, NY 10009




DROPSHOP TECHNOLOGIES
INC
320 E 57 ST APT 4E
NEW YORK, NY 10022



DYLAN MULROONEY
1217 TUDOR HOUSE RD
PFLUGERVILLE, TX 78660




DYSLEXIMEDIA LLC
414 NASSAU PARKWAY
OCEANSIDE, NY 11572




EBONEE MILLER
7176 W OROMIA WAY
WEST VALLEY CITY, UT 84128




EDWARD WEI
3318 CLOVERDALE STREET
HOUSTON, TX 77025
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ELI M BLATT
PO BOX 61473
NORTH MIAMI BEACH, FL 33160




EMILIJA DIMITROVSKI
LANGE ZEILE 12,
90419 NUREMBERG
GERMANY



ENDAVU GROUP APS
STURLASGADE 12B
2300 COPENHAGEN
DENMARK



EQUIVESTO INC
7945 OLDFIELD ROAD UNIT 19
NIAGRA FALLS, ONTARIO, CANADA
L2G0Z4



ERIC LEE
6620 WICKLIFF TRAIL
PLANO, TX 75023




ERIC STEINLICHT
736 WEST BEL ESPRIT CIRCLE
SAN MARCOS, CA 92069




ERLEADX PTE LTD
BLK #856 TAMPINES ST 82 #09-269
SINGAPORE 520856




ERWIN M ARNOLD
155 SCHIESSHAUSSTRASSE
NEUBERG, GERMANY 86633
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ETHAN BRANDT
301 E 4TH ST
HUXLEY, IA 50124




EVAN JOHNSON AND
EJOHNSON RD LLC
3 REVERE DRIVE
RIDGEFIELD, CT 06877



EVENTUALL, INC.
6515 W SUNSET BLVD SUITE 430
LOS ANGELES, CA 90028




EXCEPTIONAL HEROES, LLC
560 N BULLARD AVE SUITE 49
GOODYEAR, AZ 85338




FAN FAIR INC
4316 NE 119TH STREET
OKLAHOMA CITY, OK 73131




FASHION CONSTELLATE
P.O. BOX 6
LAKE JUNALUSKA, NC 28745




FERNANDO MORENO
CORTINA
2401 ALDRICH ST APT 367
AUSTIN, TX 78723



FILIPE PEERALLY
8820 THERIOT RD
PEYTON, CO 80831
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FRANSHESCA CASTORIA
2 HEARTHWOOD COURT
MANAHAWKIN, NJ 08050




FREDERIC W. CORWIN III
26 BOSWELL RD.
READING, MA 01867




FRIDA ELIZABETH RAMOS
MARTINEZ
RINCONADA DEL ACUEDUCTO 265
EL PALOMAR, TLAJOMULCO DE ZUIGA,
JALISCO, MEXICO


FUNDREAM SRL
VIALE FRANCIA N.30 -
71122 FOGGIA ITALY




FYREFISH TECHNOLOGIES
LTD
13 GRENFELL CRES
MARKHAM, ON, CANADA
L3P1S6


GABY FRAIFER
720 AIRPORT BLVD #1359
AUSTIN, TX 78702




GARY L DEVRIES
2204 ASHWOOD DRIVE
ABERDEEN, SD 57401




GDS GROUP LLC
50 MERRICK ROAD SUITE 203
ROCKVILLE CENTRE, NY 11570
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GEONAIDR PTY LTD
70 MORESBY STREET,
TRINITY BEACH, CAIRNS, 4879,
QUEENSLAND, AUSTRALIA



GEORGE ANDREW SIMONS
CDP
15B ACACIA LANE,
CAMBRIDGE ROAD,
SANDYS MA 02 BERMUDA


GEORGE MOWER
14009 E SAGE HILLS DRIVE
VAIL, AZ 85641




GIC-OWENS FIESTAN
3153 ASHER RD
ANN ARBOR, MI 48104




GIRISH AMIN
1419 SIERRA GLEN CIRCLE
APEX, NC 27502




GLENN HUNTER
80 FOREST DRIVE
EAST NORTHPORT, NY 11731




GM SERVICES LLC
2 SHELTON ROAD
SWAMPSCOTT, MA 01907




GRAHAM BROWN
1113 N OAKS LANE NORTH
NORTH LITTLE ROCK, AR 72118
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GRAYSON PICHON
615 CLIFFORD DRIVE
AUSTIN, TX 78745




GREEN FUTURE INVESTMENTS
LLC
333 TURN PIKE DR.
FOLSOM, CA 95630



GREGORY BAKER
224 FURMAN FARM PL.
CHARLESTON, SC 29492




GREGORY WILSON
15 W 110TH ST. APT. 22
NEW YORK, NY 10026




GRIFFIN HERMES
2450 4TH STREET APT B
SANTA MONICA, CA 90405




GV CORRECT, LLC
KALAMA TEE 4, SUURUPI KLA,
HARJUMAA, ESTONIA




HAROLD BISHOP
3009 S JOHN REDDITT STE E #398
LUFKIN, TX 75904




HARPER MILLER
2355 WESTWOOD BLVD #650
LOS ANGELES, CA 90064
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HARRISON LEE
1090 LAMBTON DRIVE
OAKVILLE, ONTARIO L6J 7P3




HASAN UGUR KOYLUOGLU
1064 GREAT ROAD
PRINCETON, NJ 08540




HENRY SHAO
1955 JUNEWOOD AVE.
SAN JOSE, CA 95132




HI THERE SOLUTIONS
13780 DEL CORSO WAY UNIT 1211
BROOMFIELD, CO 80020




HOLISTIC HEALTH
COLLABORATIVE
128 PLEASANT STREET
MARBLEHEAD, MA 01945



HORACIO RODRIGUEZ RILO
1414 S LAMAR BLVD
AUSTIN, TX 78704




HUDSON HORN
2275 SHARON RD APT 311
MENLO PARK, CA 94025




HYPHA KNOWLEDGE
INTERGRATION LIMITED
1ST FLOOR, THE BREW, EAGLE HOUSE
LONDON, EC1V 1NR, UK
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IENAI SPACE SL
AVE. GREGORIO PECES-BARBA 1
28919 LEGANS, SPAIN




ILLUMNIFYDX, INC
13825 VISPO WAY
BROOMFIELD, CO 80020




INBAL TUBI
CALLE 74C #7-52 APT #305
BOGATA, COLOMBIA 00000




INNOVATIVE WELLNESS
SYSTEMS INC
10 BELDON RD.
DOVER, MA 02030



INTO THE MULTIVERSE INC
816 CALIFORNIA AVE
VENICE, CA 90291




IRUKA CAPITAL
162 ELMORA AVE #211
ELIZABETH, NJ 07202




IRYNA ZHURAVEL
8929 LOMBARD PLACE
APT. 123
SAN DIEGO, CA 92122



IVANNA MARIEL GUERRERO
ULLOA
8010 LITTLE DEER XING
AUSTIN, TX 78736
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J333 VENTURES LLC
1706 ELLIOT RANCH RD
BUDA, TX 78610




JACK ATKIN
16 HAMLIN ROAD
EDISON, NJ 08817




JACK COLLETTI
2630 QUAIL HILL DRIVE
PITTSBURGH, PA 15241




JACK P. HOPPER
2116 FORDHAM LN.
AUSTIN, TX 78723




JAMES ASKEW
720 AIRPORT BLVD APT 1143
AUSTIN, TX 78702




JAMES PEERY & MAMMEN &
PEERY
5610 CONICA COURT
SPRING, TX 77379



JAMES STEELE
510 COFFIN ALLEY, PO BOX 382
PORTLAND, PA 18351




JAN KVITA
KE KRCI 1002/24
PRAGUE
CZECH REPUBLIC
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JARED ALVARADO
7502 VAQUER DRIVE
CORPUS CHRISTI, TX 78414




JARED LUCAS
6 PICKERNELL LANE
KITTERY, ME 03904




JARON ("ROBERT") GLASGOW
6960 10TH ST N APT. 207
OAKDALE, MN 55128




JASON CROFT
28A PARKWAY VILLAGE
CRANFORD, NJ 07016




JASON D ARNOLD
1140 BONANZA DRIVE
OKEMOS, MI 48864




JASON GLASGOW
7550 80TH STREET UNIT 415
COTTAGE GROVE, MN 55016




JASON JACOBSOHN
285 DANBURY DRIVE
VERNON HILLS, IL 60061




JASON KAHLE
347 WHITE FOX RUN
FALLBROOK, CA 92028
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JEFF MEYER
33970 REBECCA RD
KINGSTON, IL 60145




JEFFREY WELLS
18550 HATTERAS ST. #2
TARZANA, CA 91356




JENNILEE BENNETT,
MASTERO ATHLETICS
10217 8TH AVE SW
SEATTLE, WA 98146



JEREMY GREINER
1709 CRESTWOOD DRIVE
ALEXANDRIA, VA 22302




JEREMY PHILLIPS
211 W VERDUGO AVE. #201
BURBANK, CA 91502




JOAO CARLOS DOS SANTOS
BRANQUINHO,
3300 NE 191ST STREET APT 1207
MIAMI, FL 33180



JOHN SALINAS
14429 VENTURA BLVD STE 109
SHERMAN OAKS, CA 91423




JOHN W POLOMNY
1116 PALM VALLEY DRIVE E
HARLINGEN, TX 78552
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JOHNNY F EVANS
234 BAY ST. N.W.
FORT WALTON BEACH, FL 32548




JON A. SIMS
25558 FITZGERALD AVE
STEVENSON RANCH, CA 91381




JONATHAN ADAMS
1535 CROOKED STICK
SAN ANTONIO, TX 78260




JONATHAN BOYARSKY
130 DARTMOUTH STREET APT 305
BOSTON, MA 02116




JONG YUL KIM
11048 SE 31ST ST.
BELLEVUE, WA 98004




JORDAN CASE
302 PINECREST PL
ANDOVER, KS 67002




JORDAN GRIFFIN
912 PAPPAS CT.
CHULA VISTA, CA 91911




JORDAN LUND
5452 ALDRICH AVE S
MINNEAPOLIS, MN 55419
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JOSE CENICEROS
19621 6TH AVE S
DES MOINES, WA 98148




JOSE FABIAN KABIGUMILA
9 MYRNA DR.
MARLBOROUGH, CT 06447




JOSEPH CAROTHERS
1813 HONEY HILL RD.
HARDEEVILLE, KS 66027




JUAN CARLOS PEA
2206 ROBERT WYNN
EL PASO, TX 79936




JUAN JACKSON
1804 BARKSDALE DRIVE
LEXINGTON, KY 40511




JUAN JOSE SIMON OCEJO
300 E RIVERSIDE DR APT 446
AUSTIN, TX 78704-0182




JULIAN TORRES
115 LA MESA DRIVE
BURLINGAME, CA 94010




KA! EMPATHOGENICS
442 LORIMER ST STE D PMB 5121
BROOKLYN, NY 11206
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KANARI HOLDINGS INC
C/O ONE BUSINESS CENTER
ONE JLT, 06-150, JUMEIRAH LAKE
TOWERS
PO BOX 3338553, DUBA, UAE


KBOODLE, INC.
PO BOX 1426
CRYSTAL BAY, NV 89402




KEAGAN WERNICKE
6016 PRICE DRIVE
NORTH RICHLAND HILLS, TX 76180




KEVIN HOUSTON
1301 W FIFTH STREET UNIT 342
AUSTIN, TX 78703




KEVIN MEASE
300 S LAMAR #207
AUSTIN, TX 78704




KISHORE ANJANEYULU
1204 YARROW RD
MATTHEWS, NC 28104




KLEINER DEVICE LABS
999 DRIVER WAY
INCLINE VILLAGE, NV 89451




KRISTOPHER SCOTT
710 VISTA WAY APT 802
RED BLUFF, CA 96080
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KWALA
432 WAVERLEY RD GUNDY
NSW 2337
AUSTRALIA



KYLE CROYLE
3812 WADFORD ST UNIT A
AUSTIN, TX 78704




LACEY HUNTER
645 MEADOW DRIVE SE
NORTH BEND, WA 98045




LAURIE CERCONE
604 EAGLE
AUSTIN, TX 78734




LAWRENCE D. HUTCHISON
306 LANDING LANE
CHESTERTOWN, MD 21620




LEEWARD SECURITY LTD.
5800 AMBLER DRIVE, SUITE 210
MISSISSAUGA, ONTARIO
CANADA L4W 4J4



LEONEL ANDRES BARRAGAN
RODRIGUEZ
CARRERA 111D BIS #78B 19
BOGOTA, COLOMBIA



LEONID MORDKOVICH
1974 DEVONSHIRE AVE
AVON, IN 46123
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LETS JOIN IN PARTY LTD
12 SKY LANE ASHBURTON
MELBOURNE, VICTORIA, AUSTRALIA, MA
3147



LINVEST GROUP, INC.
C/O AARON GOLDSTEIN
2401 S OCEAN DRIVE #2102
HOLLYWOOD, FL 33019



LITHIUM NETWORKS, LLC
PO BOX 2994
AUSTIN, TX 78755




LOCAL DRIVER TECH INC.
33 UNIVERSITY AVE.
SUITE 2704
TORONTO, ONTARIO M5J2S7, CANADA



LOCOAL CHARCOAL COMPANY
1201 CITATION CIRCLE
DEL VALLE, TX 78617




LOGLENS INSIGHTS PRIVATE
LIMITED
766 THE EXECUTIVE ZONE
CHENNAI, THAILAND 60000



LONCH, INC
60 FELDSPAR RDG
GLASTONBURY, CT 06033




LOOFT INC.
260 N LORD ST #228
BROOKFIELD, WI 53045
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LOOPI, INC.
3802 38TH AVE SOUTH
SEATTLE, WA 98118




LUCAS EVERIDGE
5700 E RIVERSIDE DRIVE APT 2112
AUSTIN, TX 78741




LUKE MAREK
1913 GARDEN STREET UNIT B
AUSTIN, TX 78702




LUSO DIGITAL ASSETS
20L RUA PRINCESA D. AMELIA
9000-019 FUNCHAL, PORTUGAL




MAANA ELECTRIC SA
12 RUE DE I'INDUSTRIE
L-3895 LUXEMBOURG
FABRICE TESTA



MAKARA INSIGHTS
80 SW 8TH STREET SUITE 2013
MIAMI, FL 33130




MALLORY FRICK AND JM
FRICK LLC
328 LEDGE STONE DRIVE
AUSTIN, TX 78737



MANOJ SONJE
16303 CHELSEA PLACE APT. 236
SELMA, TX 78154
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MARC BERTRAND
P.O. BOX 1967
NEW YORK, NY 10025




MARC RUSSELL
471 EAST 4300 NORTH
PROVO, UT 84604




MARCO FRABOTTA
2222 DETROIT AVE 1013
CLEVELAND, OH 44113




MARK AND CANDICE GIMBEL
FAMILY LIVING TRUST
13258 N. 79TH ST.
SCOTTSDALE, AZ 85260



MARK BEAUHARNOIS
6867 AMANDA LANE
LOCKPORT, NY 14094




MARTIN DUENAZ
30280 PROSPECT RD
NETTLETON, MS 38858




MARTIN WAGNER
359 CAMBRIDGE DRIVE
GOLETA, CA 93117




MARY OZIEMKOWSKI
1961 BOLSON DRIVE
DOWNERS GROVE, IL 60516
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MASSACHUSETTS
DEPARTMENT OF REVENUE
PO BOX 7090
BOSTON, MA 02204-7090



MATTHEW HENDERSHOT
1841 W WISTERIA DR
CHANDLER, AZ 85248




MATTHEW KUZNICKI
6312 W HYACINTH STREET
CHICAGO, IL 60646




MATTHEW PERLMAN
720 AIRPORT BLVD APT 1138
AUSTIN, TX 78702




MATTHEW PETER KELLY AND
XIN GENG KELLY
13190 BURKE RD
LOS ALTOS, CA 94022



MAX MAHAN
4479 VRAIN ST.
DENVER, CO 80212




KEVIN MEASE
300 S. LAMAR 207
AUSTIN, TX 78704




MELANE RELLA AND ANGELO
RELLA
628 BURNO MOUNTAIN ROAD
COTOPAXI, CO 81223
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MELISSA HECTOR
1080 CYPRESS PARKWAY SUITE 1187
KISSIMMEE, FL 34759




MERGEFLO INC
8000 RESEARCH FOREST DR STE 115 NO
1026
THE WOODLANDS, TX 77382



MICHAEL BROWN
56 BLACKBERRY LN
YARMOUTH, ME 04096




MICHAEL GALLUP
84 S SHIMMERING ASPEN CIR
SPRING, TX 77389-4964




MICHAEL HARRISON JR
136 COWPER ST
PALO ALTO, CA 94301




MICHAEL J FRANK
15 OVAL ROAD
MILLBURN, NJ 07041-1409




MICHAEL MICHAEL
333 TURN PIKE DR.
FOLSOM, CA 95630




MICHAEL MIRACLE
14 CHARDONNAY DRIVE
HOLMDEL, NJ 07733
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MICHELLE STRAYHORN
586 MAIN ST #E
HACKENSACK, NJ 07601




MINIMUM BIO
81−83 CAMPBELL ST.
SURRY HILLS NSW 2010
AUSTRALIA



MITCHELL MCCORMICK
1125 N ACADEMY AVENUE SUITE A
NEW BRAUNFELS, TX 78130




MOATASSEM ABDELHALEEM
142 PORTSAID STREET APT 18
ALEXANDRIA, EGYPT 00203-22




MORANA ENTERPRISES LLC
131 HOFFMAN AVENUE
DAYTON, OH 45403




MOTOBLOCKCHAIN S.L.
VIA WAGNER 67
21100 VARESE, ITALY




MYIDFI LLC
141 SIOUX DRIVE
HAILEY, ID 83333




MYOCENE
QUAI BANNING 6
4000 LIGE, BELGIUM
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NADEJDA ASEEVA
12604 DUCKCREEK CT.
AUSTIN, TX 78729




NAGESWARA KONDRAGANTI
12365 WILLOWGATE DR.
FRISCO, TX 75035




NAINESH PATEL
23 NANCY ST.
KENDALL PARK, NJ 08824




NAISHADH SARAIYA
1501 ANGLEBLUFF LANE
PLANO, TX 75093




NEBULAI CORP
66 W FLAGLER ST SUITE 900
MIAMI, FL 33130




NEMANJA MILOSEVIC
LANGE ZEILE 12,
90419 NUREMBERG
GERMANY



NERRA LTD
94 WHITEHAVEN ROAD
GLENDOWIE
AUCKLAND 1071, NEW ZEALAND



NEUROLOGIK FZE
ZA OBCHODY 846
NERATOVICE 27711 CZECH REPUBLIC
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NEUROTECH GROUP AI LTD
5A BEAR LANE
LONDON SE1 OUH, UK




NEW GROWTH BRANDS, INC.
ATTN: ALASTAIR JAMES
3305 BELLAIRE PARK CT
FORT WORTH, TX 76109



NIC HICKOX
4301 W. WILLIAM CANNON DR. STE
B-150 #107
AUSTIN, TX 78749



NICHOLAS J HICKOX
4301 W WILLIAM CANNON DRIVE SUITE
B-150 #107
AUSTIN, TX 78749



NICK FARRENKOPF
34904 OYSTER BAY TER
FREMONT, CA 94555




NIHAR PATEL
979 SPRINGDALE RD.
SUITE #123
979 SPRINGDALE RD. SUITE #123
AUSTIN, TX 78723


NIOBIUM LLC
12204 FM 1826
AUSTIN, TX 78737




NIRMALBHAI C PATEL
52 MEADOW BROOK RD.
EDISON, NJ 08837
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NOVOGIENE INC
226 MIRA VISTA
SANTA CRUZ, CA 95060




NSURE LABS LTD
15 HAZVI
JERUSALEM, ISRAEL 9438622




NVZN AUGMENTED REALITY
CORP
PO BOX 10024
DEERFIELD, IL 60015



OBBREY MAKUNDI
PO BOX 6954
MSASANI




OFFWEGO INC
201 N. UNION STREET SUITE 110
#19995
ALEXANDRIA, VA 22314



OK AWAY PTY LTD
LEVEL 21, 55 COLLINS STREET
MELBOURNE, VICTORIA, AUSTRALIA, MA
3147



OLIVIA KIM
2748 BAYBERRY WAY
FULLERTON, CA 92833




OPTIFOLD
5900 YONGE STREET SUITE 807
NORTH YORK, ONTARIO, M2M 3T8,
CANADA
      23-10164-smr Doc#209 Filed 07/27/23 Entered 07/27/23 13:09:04 Main Document Pg 195
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ORDEREZ PTE LTD
PO BOX 93169
OMAHA, NE 68154




OUR WATCH LEADS - OWL,
LDA
RUA PEDRO NUNES
INCUBADORA IPN BLOCK C
3030-199 COIMBRA, PORTUGAL
PEDRO RESENDE


PAUL AND MARY WILCOX
380 COLUMBUS AVE. #1
BOSTON, MA 02116




PAUL CURBO
3702 CRESTLINE ROAD
FORT WORTH, TX 76107




PAUL KELLAM
112 PINNACLE ROAD
ELLINGTON, CT 06029




PEBBLE LABS INC
C/O STEVE OFSTEHAGE
100 ENTRADA DRIVE
LOS ALAMOS, NM 87544



PEEYUSH SHRIVASTAVA
975 MANHATTAN BLVD APARTMENT 3311
DAYTON, KY 41074




PETR ZAYTSEV
3632 CARLISLE DR
DURHAM, NC 27707
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PIGEE INC
8 THE GREEN SUITE #13419
DOVER, DE 19901




PIPRA AG
C/O BLUELION
219 JOSEFSTRASSE
8005 ZURICH, SWITZERLAND



PIXELFREE STUDIO
C/O SOLOMON HARTMANN
8018 LAUREL RIDGE COURT
DELRAY BEACH, FL 33446



PLANT PEOPLE PBC
406 SOUTH PARK AVE
AUSTIN, TX 78704




PNEUMERIC, INC.
ATTN: JOHNATHON AHO
823 4TH ST SW
ROCHESTER, MN 55902



PRISMATEXT INC
800 W 10TH AVENUE
ANCHORAGE, AK 99501




PROC12 INC
9601 RIDGE WALK COURT
FORT LAUDERDALE, FL 33328




PROTEIN FLUIDICS INC
875_B COWAN RD
BURLINGAME, CA 94010
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QLIKTAG SOFTWARE INC.
120 NEWPORT CENTER DRIVE SUITE 100
NEWPORT BEACH, CA 92660




QRERVE LLC
6416 WYNKOOP STREET
LOS ANGELES, CA 90045




QUEST MOCK
5629 N LAMAR BLVD APT 340
AUSTIN, TX 78751




RAISE A HOOD, INC
ATTN: MICHAEL PETERSEN
19275 WALDEN TRAIL
WAYZATA, MN 55391



RAJAMANI GANESH
13895 CLATSOP WAY
SAN DIEGO, CA 92129




RAKESH BHIMARADDI
SASVIHALLI
#132, SRIGANDHA, VINAYAK COLONY,
VIDYANAGAR
HUBLI, 580031


RALPH J EHRMAN
1862 MARNE ROAD
BOLINGBROOK, IL 60490




RANUI SAMUELS
20 COOK ST,
GATE PA TAURANGA 3112
NEW ZEALAND
      23-10164-smr Doc#209 Filed 07/27/23 Entered 07/27/23 13:09:04 Main Document Pg 198
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RAVI KIRAN GOLI
31-7-26/1A, 2ND FLOOR, RAJAJI
SGTREET
KAKINADA, INDIA



RENEWIT360
3 VIA APUESTO
SAN CLEMENTE, CA 92673




RESOLUTE FUTURE
4070 CLOVER LANE
DALLAS, TX 75220




RETENTACLE INC.
525 PINE RIDGE RD
PICKERING, ONTARIO L1W 2M6 CANADA




REVITALIVE S.R.O.
SVEJCAROVO NAMESTI 5
155 00, PRAGUE
CZECH REPUBLIC



RICHARD DITTER
9449 POPLAR AVE
GERMANTOWN, TN 38138




RICHARD LITZKY
5158 FOREST BROOK PKWY
MARIETTA, GA 30068




RICHARD NILSSON
GRAN VIA 577, BX2
BARCELONA 08011, SPAIN
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RICHARD POTTIN
312 - 6380 BUSWELL STREET
RICHMOND, BC
V6Y 2G2



RICHARD S MACKIN JR
1639 GLASGO RD.
GRISWOLD, CT 06351




ROBERT A FAUBION
4801 SPRINGDALE ROAD #2108
AUSTIN, TX 78723




ROBERT BRUCE
7077 N MASON AVE.
CHICAGO, IL 60646




ROBERT CASINOVER (THE
BUILD)
2 HIDDEN POND
GLEN HEAD, NY 11545



ROBERT DALEE
1388 AL SEIER ROAD
BIRMINGHAM, AL 35226




ROHIT AUGUSTUS D'SILVA
13-14952 58 AVENUE
SURREY, BC V3S 9J2 CANADA




ROOSEVELT SCOTT
802 HAWK VIEW COURT
FAIRVIEW HEIGHTS, IL 62208
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ROSS WIGLE
168 CHARTERHOUSE CRES.
ANCASTER, ON
CANADA L9G 4M5



RUSHI UKANI
8 KOSTER BLVD. APT. 6A
EDISON, NJ 08837




RUTH GRIFFITH AND
ANTHONY GRIFFITH
96 PUUNOA PL.
LAHAINA, HI 96761



RYAN BURT
18115 59TH AVE N.
MINNEAPOLIS, MN 55446




RYAN HALL
6053 BIG POND TRL
GROVETOWN, GA 30813




RYAN MCCARTHY
4801 S CONGRESS AVE #B5
AUSTIN, TX 78745




RYAN STEWART
2 MILL FALLS ROAD
SUNCOOK, NH 03275




ANDREW RYAN
979 SPRINGDALE RD. SUITE #123
AUSTIN, TX 78723
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S. JOSEPH MARGLE IV
25 WATERS EDGE CIRCLE APT #935
GEORGETOWN, TX 78626




SAIFON CHANG
5822 E. WILDROSE DR.
ORANGE, CA 92867




SALVATORE PEPE
1011 SCHINDLER DR.
SILVER SPRING, MD 20903




SAM SIMONOVICH
128 PRINCE ST #35
TAPPAHANNOCK, VA 22560




SAMUEL EGWU
NO 45 ANITE STREET
OKOTA ISOLO, LAGO, LA 10000-45




SAMUEL ESAU GOLDMAN
2129 GRAND OAKS AVE.
ALTADENA, CA 91001




SANJAY PINNOCK
7275 LEONARD STREET
PHILADELPHIA, PA 19149




SANJAY V PATEL
17199 CARROTWOOD DR.
RIVERSIDE, CA 92503
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SARAH BAILEY
866 SW 180TH TERRACE
HOLLYWOOD, FL 33029




SEDJIN ALKA
203 WEST SEALY AVE.
ALVIN, TX 77511




SHAILA PATEL
1110 WINDSOR PARK CT
ENGLEWOOD, NJ 07631




SHANKAR NARAYANAN
SHANKAR GANPATHY
6820 PRESTON ROAD APT. 225
PLANO, TX 75024



SHARK AI CAPITAL
CORPORATION
2309 NORIEGA STREET #86
SAN FRANCISCO, CA 94122



SHEYLA FELIX
31 AVENUE LONARD DE VINCI
COURBEVOIE 92400




SLEEP EASY TECHNOLOGY
INC
PO BOX 160
SOUTH BEND, IN 46617



SMARTBREAST CORP
14930 VENTURA BLVD STE 325
SHERMAN OAKS, CA 91403
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SOFTDSK, LLC
PO BOX 5963
PLANT CITY, FL 33563




SPENCER DINER
4261 SOUTH PEARL STREET
ENGLEWOOD, CO 80013




SRIYA DXI LLC
7975 INVERNESS WAY
DULUTH, GA 30097




STEPHEN BERGER
64 NORTHLAND RD
WINDHAM, NH 03087




STEVEN DEANE-SHINBROT
21 NE 22ND STREET APT 614
MIAMI, FL 33137




STEVEN KEYSER
106 BEESTON COURT
CARY, NC 27519




STRIPE CAPITAL
185 BERRY ST. #550
SAN FRANCISCO, CA 94107




STYLE KONSULT INC
31 W. 34TH ST 7FL
NEW YORK, NY 10001
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SUPERBUTLER LIMITED
RECEPTION A
ASTON SEEDBED CENTRE AVENUE ROAD
B7 4NT, BIRMINGHAM, UK



SURAJKUMAR VIRENDRA
GUPTA
FLAT NUMBER 1002, BUILDING 3,
ATLANTA RESIDENCY
ANJURPHATA, BHIWANDI, THANE,
MAHARASHTRA, INDIA


SURROUNDED IN AUSTIN, LLC
161 BRIGHTON LANE
AUSTIN, TX 78737




TALENT DUBE
8/100 WITTENOOM RD.
HIGH WYCOMBE, WA 6057
(PERTH, AUSTRALIA)



TAMMY HONG
12407 BEXLEY DR.
HOUSTON, TX 77099




TAPPR APP PTY LTD
53 JACARANDA DRIVE
MOOLOOLABA, QUEENSLAND, 4557,
AUSTRALIA



TARGET MOBILITY GMBH
EIDERSTEDTER WEG 5B
BERLIN, GERMANY 14129




TARUNKUMAR PATEL
10 DILLION COURT
EXTON, PA 19341
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THE HOCHMAN FAMILY TRUST
6104 SIERRA ARBOR CT.
AUSTIN, TX 78759




THE LANE LAW FIRM
6200 SAVOY DR STE 1150
HOUSTON, TX 77036-3369




THE WHOLESOME BOWL PTY
LTD
26 CAMBANORA PLACE
MOOROOBOOL 4870, QUEENSLAND,
AUSTRALIA


THOMAS DOLEZAL
1166 PITKIN AVE.
AKRON, OH 44310




THOMAS E. CANTY
7592 MONA LN.
SAN DIEGO, CA 92130




THOMAS KINNE
10500 S I-35 FRONTAGE ROAD APT 6207
AUSTIN, TX 78748




THOMAS MUELLER
9571 CRESTWOOD LANE
ANAHEIM, CA 92804




TIMOTHY C. TAYLOR, SR
P.O. BOX 5371
AUSTIN, TX 78763
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TRENT GIFFORD DBA LGCC,
LLC
7545 VALLEY POINT TRAIL
NISSWA, MN 56468



TREVOR BYRUM
10221 MAYFIELD RD
HOUSTON, TX 77043




TREY GRIFFIN
224 SHIRLEY DRIVE
BUDA, TX 78610




U.S. SMALL BUSINESS
ADMINISTRATION
1545 HAWKINS BLVD 202
EL PASO, TX 79925



U.S. SMALL BUSINESS
ADMINISTRATION
200 W. SANTA ANA BLVD 740
SANTA ANA, CA 92701



UCROP.IT LLC
16192 COASTAL HIGHWAY
LEWES, DE 19958




VAIDEHI TEMBHEKAR
6012 TALLOW LANE
FRISCO, TX 75036




VERBATO INC
1116 CHELSEA AVENUE UNIT 6
SANTA MONICA, CA 90403
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VICTORIA LERNER, TRUSTEE,
LERNER LIVING TRUST
11758 CRESCENDA STREET
LOS ANGELES, CA 90049



VIKAS O'REILLY-SHAH
4118 42ND AVE NE
SEATTLE, WA 98105




VINCENT GOVEAS
1251 WEATHERSFIELD WAY
SAN JOSE, CA 95118




VINCENT MACH
950 WINDSONG COURT
DIAMOND BAR, CA 91765




VIRGILIO YABUT
A & F GUARANTEED SERVICE, LLC
2 MEADOW LARK LANE
FRANKLIN PARK, NJ 08823



WECONCILE INC
PO BOX 507
OLGA, WA 98279




WESLEY KOTCHER
39 S MAIN ST.
ROSEDALE, IN 47874




WILFRID JEAN-FRANCOIS
2144 OAKWOOD PLACE
ELMONT, NY 11003
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WILLIAM ADAMS
11732 REVA DR.
GARDEN GROVE, CA 92840




WILLIAM P DALY III
907 LAKEWOOD CT S
MAPLEWOOD, MN 55119




WILLIAM T MALLEY
3 NELSON ROAD
ROCKLAND, MA 02370




WMW PARTNERS INC DBA
METAPYXL
1720 DEKALB AVE
BROOKLYN, NY 11237



WOFO LTD
155 PRINCES STREET
DUNEDIN, NEW ZEALAND 9013




YATINKUMAR DODIA
1539 STREAMS WAY
ALLEN, TX 75002




YEMI TAIWO
2931 ARBOR LANE
AURORA, IL 60502




YESHAYA A KOBLICK
11 GARDEN STREET
SHARON, MA 02067
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YINDJIN GENGGAM BERSAMA
KOTA KASABLANCA OFFICE
88 TEBET, JAKARTA, SELATAN,
INDONESIA



YORK GIN USA, INC
779 OAK LANE
SONOMA, CA 95476




ZABEL M. MIRACLE AND
MICHEAL J MIRACLE
14 CHARDONNAY DRIVE
HOLMDEL, NJ 07733



ZACHARY FUCHS
41 GLENBROOK RD.
MONSEY, NY 10952




ZACHARY POTVIN
1016 ENCHANTMENT RD.
RAPID CITY, SD 57701




ZEV STAMPFER
302 W 35TH STREET
AUSTIN, TX 78705
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                                                IN THE UNITED STATES BANKRUPTCY COURT
                                                       WESTERN DISTRICT OF TEXAS
                                                             AUSTIN DIVISION

IN RE: ASTRALABS Inc                                                                  CASE NO 23-10164

                                                                                      CHAPTER 7




                                                                  AMENDED

                                                  VERIFICATION OF CREDITOR MATRIX

 The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.


Date      07/27/2023            Signature                                   /s/ Nihar Patel
                                                                    Nihar Patel, Debtor Representative
